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                       Exhibit A
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STATE OF MINNESOTA                                          DISTRICT COURT

COUNTY OF HENNEPIN                               FOURTH JUDICIAL DISTRICT


Susan 'lift Betty Lees; Linda Cobb; Nancy
Lawrence; Patricia Johnson; Gwenneth Larson;                     Court File No.
Patricia Noel; Sharifah Doyle-El; and
HOME Line, a Minnesota Nonprofit                        Case Type: Other Civil /
Corporation, on behalf of themselves and all               Consumer Protection
others similarly situated,

                  Plaintiffs,

        V.
                                                    SUMMONS
Dominium Management Services, LLC; St.
Anthony Leased Housing Development II,
LLC; St. Anthony Leased Housing Associates
11, Limited Partnership; St. Anthony Leased
Housing Associates II, LLC; Coon Rapids
Leased Housing Development IV, LLC; Coon
Rapids Leased Housing Associates IV, LLLP;
Coon Rapids Leased Housing Associates IV,
LLC; St. Paul Leased Housing Development
VI, LLC; St. Paul Leased Housing Associates
VI, LLLP; St. Paul Leased Housing Associates
VI, LLC; Crystal Leased Housing
Development I, LLC; Crystal Leased Housing
Associates I, LLLP; Crystal Leased Housing
Associates 1, LLC; Cottage Grove Leased
Housing Development 1, LLC; Cottage Grove
Leased Housing Associates I, LLLP; Cottage
Grove Leased Housing Associates 1, LLC;
Woodbury Leased Housing Development II,
LLC; Woodbury Leased Housing Associates
II, LLLP; Woodbury Leased Housing
Associates II, LLC; Minneapolis Leased
Housing Development IX, LLC; Minneapolis
Leased Housing Associates IX, LLLP;
Minneapolis Leased Housing Associates IX,
LLC; Minneapolis Leased Housing
Development IV, LLC; Minneapolis Leased
Housing Associates IV, Limited Partnership;
Minneapolis Leased Housing Associates IV,
LLC; St. Paul Leased Housing Development
IX, LLC; St. Paul Leased Housing Associates


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IX, LLLP; St. Paul Leased Housing Associates
IX, LLC; St. Paul Leased Housing
Development X, LLC; St. Paul Leased
Housing Associates X, LLLP; St. Paul Leased
Housing Associates X, LLC; St. Paul Leased
Housing Development VIII, LLC; St. Paul
Leased Housing Associates VIII, LLLP; St.
Paul Leased Housing Associates VIII, LLC;
Champlin Leased Housing Development IV,
LLC; Champlin Leased Housing Associates
IV, LLLP; Champlin Leased Housing
Associates IV, LLC; Columbia Heights Leased
Housing Development III, LLC; Columbia
Heights Leased Housing Associates III, LLLP;
Columbia Heights Leased Housing Associates
III, LLC; Lexington Leased Housing
Development I, LLC; Lexington Leased
Housing Associates I, LLLP; Lexington
Leased Housing Associates I, LLC; Blaine
Leased Housing Development III, LLC; Blaine
Leased Housing Associates III, LLLP; Blaine
Leased Housing Associates III, LLC; Spring
Lake Park Leased Housing Development I,
LLC; Spring Lake Park Leased Housing
Associates I, LLLP; Spring Lake Park Leased
Housing Associates I, LLC; Minnetonka
Leased Housing Development H, LLC;
Minnetonka Leased Housing Associates II,
LLLP; Minnetonka Leased Housing Associates
II, LLC; St. Cloud Leased Housing
Development HI, LLC; St. Cloud Leased
Housing Associates III, LLLP; St. Cloud
•Leased Housing Associates Ill, LLC;
Dominium Development & Acquisition, LLC;
Dominium, Inc., Dominium Holdings I, LLC;
and Dominium Holdings II, LLC,

                  Defendants.



THIS SUMMONS IS DIRECTED TO: St. Paul Leased Housing Associates VI, LLLP, via Dan
Bolles, individual contact for Registered Agent St. Paul Leased Housing Associates Vi LLC, at
2905 Northwest Blvd, Suite 150, Plymouth, M.N 55441.

1.      You are being sued. The Plaintiffs have started a lawsuit against you. The Complaint is
attached to this Summons. Do not throw these papers away. They are official papers that start a

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lawsuit and affect your legal rights, even if nothing has been filed with the court and even if
there is no court file number on this Summons.
2.      You must reply, in writing, AND get a copy of your reply to the person/business who
is suing you within 21 days to protect your rights. Your reply is called an Answer. Getting
your reply to the Plaintiff is called service. You must serve a copy of your Answer or Answer
and Counterclaim (Answer) within 21 days from the date you received the Summons and
Complaint.
        ANSWER: You can find the Answer form and instructions on the MN Judicial Branch
website at www.inncourts.2ov/forms under the "Civil" category. The instructions will explain in
detail how to fill out the Answer form.

3.     You must respond to each claim. The Answer is your written response to the
Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with each
paragraph of the Complaint. If you think the Plaintiff should not be given everything they
asked for in the Complaint, you must say that in your Answer.
4.      SERVICE: You may lose your case if you do not send a written response to the
Plaintiff. If you do not serve a written Answer within 21 days, you may lose this case by default.
You will not get to tell your side of the story. If you choose not to respond, the Plaintiff may be
awarded everything they asked for in their Complaint. If you agree with the claims stated in the
Complaint, you don't need to respond. A default judgment can than be entered against you
for what the Plaintiff asked for in the Complaint.
       To protect your rights, you must serve a copy of your Answer on the person who signed
this Summons in person or by mail at this address:
                  Craig S. Coleman
                  Faegre Drinker Biddle & Reath LLP
                  2200 Wells Fargo Center
                  90 South 7th Street
                  Minneapolis, MN 55402
5.       Carefully read the Instructions (CIV301) for the Answer for your next steps.
6.      Legal Assistance. You may wish to get legal help from an attorney. If you do not have
an attorney and would like legal help:
     •    Visit www.mncourts.goviseltlielp and click on the "Legal Advice Clinics- tab to get
          more information about legal clinics in each Minnesota county.
     •    Court Administration may have information about places where you can get legal
          assistance.
NOTE: Even if you cannot get legal help, you must still serve a written Answer to protect
your rights or you may lose the case.


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7.      Alternative Dispute Resolution (ADR). The parties may agree to or be ordered to
participate in an ADR process under Rule 114 of the Minnesota Rules of Practice. You must still
serve your written Answer, even if you expect to use ADR.



Dated: February 4,2021                          FAEGRE DRINKER BIDDLE & REATH LLP



                                                s/Craig S. Coleman
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                                                HOUSING JUSTICE CENTER



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STATE OF MINNESOTA                                            DISTRICT COURT

COUNTY OF HENNEPIN                                 FOU R1 I JUDICIAL DISTRICT


Susan Iliff; Betty Lees; Linda Cobb; Nancy
Lawrence; Patricia Johnson; Gwenneth Larson;                       Court File No.
Patricia Noel; Sharifah Doyle-El; and
HOME Line, a Minnesota Nonprofit                          Case Type: Other Civil /
Corporation, on behalf of themselves and all                 Consumer Protection
others similarly situated,

                 Plaintiffs,
                                               CLASS ACTION COMPLAINT
      V.

Dominium Management Services, LLC; St.
Anthony Leased Housing Development II,
LLC; St. Anthony Leased Housing Associates
II, Limited Partnership; St. Anthony Leased
Housing Associates II, LLC; Coon Rapids
Leased Housing Development IV, LLC; Coon
Rapids Leased Housing Associates IV, LLLP;
Coon Rapids Leased Housing Associates W,
LLC; St. Paul Leased Housing Development
VI, LLC; St. Paul Leased Housing Associates
VI, LLLP; St. Paul Leased Housing Associates
VI, LLC; Crystal Leased Housing
Development I, LLC; Crystal Leased Housing
Associates I, LLLP; Crystal Leased Housing
Associates I, LLC; Cottage Grove Leased
Housing Development I, LLC; Cottage Grove
Leased Housing Associates I, LLLP; Cottage
Grove Leased Housing Associates I, LLC;
Woodbury Leased Housing Development II,
LLC; Woodbury Leased Housing Associates
II, LLLP; Woodbury Leased Housing
Associates II, LLC; Minneapolis Leased
Housing Development IX, LLC; Minneapolis
Leased Housing Associates IX, LLLP;
Minneapolis Leased Housing Associates IX,
LLC; Minneapolis Leased Housing
Development IV, LLC; Minneapolis Leased
Housing Associates IV, Limited Partnership;
Minneapolis Leased Housing Associates IV,
LLC; St. Paul Leased Housing Development
IX, LLC; St. Paul Leased Housing Associates
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IX, LLLP; St. Paul Leased Housing Associates
IX, LLC; St. Paul Leased Housing
Development X, LLC; St. Paul Leased
Housing Associates X, LLLP; St. Paul Leased
Housing Associates X, LLC; St. Paul Leased
Housing Development VIII, LLC; St. Paul
Leased Housing Associates VIII, LLLP; St.
Paul Leased Housing Associates VIII, LLC;
Champlin Leased Housing Development IV,
LLC; Champlin Leased Housing Associates
IV, LLLP; Champlin Leased Housing
Associates IV, LLC; Columbia Heights Leased
Housing Development III, LLC; Columbia
Heights Leased Housing Associates III, LLLP;
Columbia Heights Leased Housing Associates
III, LLC;' Lexington Leased Housing
Development I, LLC; Lexington Leased
Housing Associates I, LLLP; Lexington
Leased Housing Associates I, LLC; Blaine
Leased Housing Development III, LLC; Blaine
Leased Housing Associates III, LLLP; Blaine
Leased Housing Associates III, LLC; Spring
Lake Park Leased Housing Development I,
LLC; Spring Lake Park Leased Housing
Associates I, LLLP; Spring Lake Park Leased
Housing Associates I, LLC; Minnetonka
Leased Housing Development II, LLC;
Minnetonka Leased Housing Associates II,
LLLP; Minnetonka Leased Housing Associates
II, LLC; St. Cloud Leased Housing
Development III, LLC; St. Cloud Leased
Housing Associates III, LLLP; St. Cloud
Leased Housing Associates III, LLC;
Dominium Development & Acquisition, LLC;
Dominium, Inc.; Dominium Holdings I, LLC;
and Dominium Holdings II, LLC,

                  Defendants.



       Plaintiffs Susan Iliff, Betty Lees, Linda Cobb, Nancy Lawrence, Patricia Johnson,

Gwenneth Larson, Patricia Noel, and Sharifah Doyle-El, on behalf of themselves and all others

similarly situated, along with HOME Line, allege as follows:



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                                        INTRODUCTION

        I.     This class action is intended to redress Defendants fraudulent and illegal business

model that diverts millions of dollars earmarked for affordable housing into corporate profits,.

thereby cheating tenants and taxpayers of millions of dollars.

       2.      Defendants are a constellation of affiliated companies owned and/or controlled by

a common enterprise and operated by the same individuals, referred to collectively herein as

"Dominium." Dominium is one of the largest developers and providers of low-income housing in

the country. One of Dominium's primary target populations is senior citizens, and many of its

Minnesota properties focus on renting to seniors. For example, in marketing its "Legends" brand

of affordable housing for seniors, Dominium promotes the availability of underground heated

parking that is highly desirable to Minnesotans senior citizens because of the state's extreme

winters: "Dominium senior apartments set the new benchmark for quality and affordability,

offering the freedoms of maintenance-free living combined with luxurious amenities such as

granite counters, a built-in washer/dryer in every apartment, and underground heated parking."

       3.      Dominium's business model depends on at least two sources of public funding,

both of which impose significant regulatory obligations. First, Dominium regularly applies for and

receives Low-Income Housing Tax Credits ("LIH.TC") to help finance the development or

acquisition of low-income housing. Second, Dominium charges its low-income tenants rent based

on their income and then receives additional rent based on government established formulas in the

form of federal and/or state rent subsidies. Both sources of funding are highly regulated and subject

to complex sets of rules. Dom in ium promises to its to tenants in its standard lease addendum that

it is and will operate the premises "in accordance with the requirements of the low-income housing


  Dominium - Twin Cities Senior Living, haps://www.dominiumapartments.com/find-apartment.html
(last visited Feb. 3, 2021).


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credit program under Section 42 of the Internal Revenue Code of 1986, as amended (the

'Program')." (Exhibit A, Dom ini um Lease Agreement at 14.)

       4.      LIHTC are federal income tax credits awarded to developers by state and local

"allocator" agencies ("Allocators"), in a process pursuant to Section 42 of the Internal Revenue

Code and requirements established by the internal Revenue Service ("IRS").

       5.      The amount of LIHTC available to an applicant selected by the A llocator to receive

LIHTC is based primarily on a project's "eligible basis," which is the amount spent for

constructing or acquiring and rehabilitating low-income housing. The higher the eligible basis, the

more LIHTC a project may be awarded. The eligible basis is generally calculated using costs

associated with acquisition, construction, and/or rehabilitation, including eligible "soft" costs. This

process creates the public benefit of increasing the supply of affordable housing.

       6.      When it cornes to construction or acquisition costs associated with parking spaces

or structures in Minnesota, LIHTC applicants have a simple but unavoidable choice (see 26 U.S.C.

§ 42(d)(4)(B) and applicable law):

            a. exclude parking costs from the eligible basis, in which case tenants Ley be

               separately charged for parking; or

            b. include parking costs in the eligible basis, in which case tenants may not be

               separately charged for parking.

       7.      Developers must choose one option or the other. They cannot "double dip" when

financing parking costs. A developer may receive LINK'. to subsidize the construction,

acquisition, or rehabilitation of parking structures that will be made available for tenant use as part

of their base rent. Alternatively, developers may forego receiving LIHTC subsidies for parking

improvements and charge tenants separately for parking. Thus, a developer may choose to finance




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its parking costs with either L11-ITC or separate tenant charges—hut not both. -[his choice is

fundamental to the LIHTC system because the government confers LIHTC to make parking

available at no cost to low-income tenants.

        8.        To avoid making this fundamental choice, Dominium has instead engaged in

fraudulent misrepresentations in order to receive LIHTC for parking construction costs while

collecting rent for parking spaces from tenants. Dominium engages in impermissible double-

dipping by simultaneously obtaining tax credits and. charging low-income tenants for the parking

those credits were designed to provide at no additional cost to tenants. Dominium accomplishes

this scheme by misrepresenting its eligible cost basis so that approximately 90% of its parking

costs are financed by LIHTC while it still makes tenants pay monthly rent for parking. Dominium

does this by significantly under-reporting its costs related to the parking construction and

improvements to .AIlocators. Dominium thereby has engaged in fraud and deception and has been

unjustly enriched.

       9.         Dominium has misrepresented the costs related to parking construction and

improvements at the following Minnesota affordable housing properties that it developed, owns,

and manages, and for which it applied and was awarded LIHTC (together, the "Dominium

Properties"):

             a. The Legends at Silver Lake Village, 2500 38th Ave NW, St. Anthony, MN 55421;

             b. River North, 10940 Crooked Lake Blvd NW, Coon Rapids, MN 55433;

             c. The Cambric, 720 East 7th Street, St. Paul, MN 55106;

             d. The Cavanagh, 5401 51' Ave N, Crystal, MN 55429;

             e. The Legends of Cottage Grove, 6999 East Point Douglas Road S, Cottage Grove,
                MN 55016;

             f.   The Legends of Woodbury, 570 Settlers Ridge Parkway, Woodbury, MN 55129;



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              g. 1500 Nicoilei 1500 Nicollet Ave S, Minneapolis, MN 55403;

              h. A-Mill Artist Lofts, 315 Main Street SE, Minneapolis, MN 55414;

              I.   The Legends at Berry, 777 Berry Street, St. Paul, MN, 55114;

              j.   Millberry Apartments, 778 Berry Street, St. Paul, MN, 55114;

              k. Union Flats, 787 'Hampden Ave, St. Paul, MN, 5511.4;

              1.   Legends of Champlin, 11635 Theatre Drive, Champlin, MN 55316;

              m. Grand Central Flats/Lofts (FKA Columbia Heights Workforce), 1069 Grandview
                 Way NE, Columbia Heights, MN 55421;

              n. Landings of Lexington, 9400 Lexington Ave, Lexington, MN 55014;

              o. Legends of Blaine, 10826 Austin Street NE, Blaine, MN 55449;

              p. Legends of Spring Lake Park, 1066 Co Hwy 10 NE, Spring Lake Park, MN 55432;

              q. Preserve at Shady Oak, 10987 Bren Road E, Minnetonka, MN 55343; and

              r.   The Bluffs at Liberty Glen, 1075 24th Street SE, St. Cloud, MN 56304.

This list is not exhaustive, and Plaintiffs have reason to believe that Dominium's misconduct

extends to other properties.

        10.        To redress this misconduct. Plaintiffs hereby file this class action on behalf of

tenants from whom Dominium has unlawfully collected millions of dollars. Plaintiffs seek a

permanent injunction prohibiting Defendants from continuing to violate the law. In addition,

because parking charges were a material term of the affected tenants' leases, Plaintiffs seek to

disgorge all rent and other charges collected from such tenants or, at the very least, all parking

charges and profits Dominium wrongfully received from such tenants.




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                                           PARTIES

                                            Plaintiffs

       11.     Plaintiff Susan lliff is 64-years-old and resides in Dominium's River North

complex in Coon Rapids, Minnesota. Ms. Iliff has lived at River North since the building opened

in 2016 and has paid $75 per month for a parking space since she moved in. Due to her

emphysema and cystic lung disease, secure, heated, covered parking was integral for Ms. Iliff

when she sought affordable housing. As a 64-year-old disabled woman, she needs security and

added protection from the elements during the winter months when accessing her vehicle.

       12.    Plaintiff Betty Lees is a 78-year-old retiree who resides in Dominium's River

North complex in Coon Rapids, Minnesota. Ms. Lees has lived at River North since on or about

July 1, 2017, and she has paid $75 per month for a parking space since she moved in. Having

secure, heated, underground parking was an important consideration for Ms. Lees when she

sought affordable housing. She values security and protection from the elements during the

winter months, making underground parking a necessity.

       13.    Plaintiff Linda Cobb is a 67-year-old retiree who resides in Dominium's Legends

at Silver Lake Village complex in St. Anthony, Minnesota. Ms. Cobb has lived at Legends at

Silver Lake since on or about June 2015, and she has paid $80 per month for a parking space

since she moved in. Having covered parking is very important to Ms. Cobb because she

frequently uses her car and needs protection from inclement weather, especially sleet and snow

in the wintertime in Minnesota. Covered parking was important to Ms. Cobb when she sought

affordable housing in 2015.

       14.    Plaintiff Nancy Lawrence is a 74-year-old retiree who resides in Dominium's

River North complex in Coon Rapids, Minnesota. Ms. Lawrence has lived at River North since




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on or about January 2017. and she has paid $75 per month for a parking space since she moved

in. Because Ms. Lawrence did not have covered parking, in her prior living arrangement, having

covered parking was an extremely important consideration for her when seeking affordable

housing and ultimately choosing to live at River North for safety and protection from the

elements during the winter months.

        15.    Plaintiff Patricia Johnson is a 69-year-old retiree who resides in Dominium's

River North complex in Coon Rapids, Minnesota. Ms. Johnson has lived at River North since on

or about January 2017, and she has paid $75 per month for a parking space since she moved in.

Having covered parking is very important for Ms. Johnson and was an important consideration

when Ms. Johnson. chose sought affordable housing and. decided to live at River North.

       16.     Plaintiff Gwenneth Larson is a 79-year-old retiree who resides in Dominium's

River North complex in Coon Rapids, Minnesota. Ms. Larson has lived at River North since on

or about July 2017, and has paid $75 per month for a parking space sipce she moved in. Having

secure and covered parking was an important consideration for Ms. Larson when she sought

affordable housing in 2017. As a 79-year-old woman who works as a crossing guard for an

elementary school during the week, she values security and protection from the elements during,

the winter months in part to ensure she makes it to her crossing duties on time.

       17.     Plaintiff Patricia Noel is a 78-year-old retiree who resides in Dominium's

Legends of Champlin complex in Champlin, Minnesota. Ms. Noel has lived at Legends of

Champlin since on or about April 2018, and has paid $75 per month for a parking space since

she moved in. Having secure, covered parking was an important consideration. for Ms. Noel

when she sought affordable housing in 2018. She values security and protection from the

elements during the winter months.




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        18.    Plaintiff Sharifah Doyle-El is a 38-year-old single mother of four who resides in

Dominium's 1500 Nicollet complex in Minneapolis, Minnesota. Ms. Doyle-El has lived at 1500

Nicollet since on or about December 2019. She paid $140 per month for a parking space since

she moved in until on or about December 2020, and has since paid $145 per month for a parking

space. Having secure, covered parking in her apartment complex was a necessity for Ms. Doyle-

El when she sought housing in 2019. She needed a reserved space so that she did not have to

locate daily street parking downtown Minneapolis, which she has found to be inconsistent,

unsafe, and overall cost prohibitive due to the time limitations of parking meters. A reserved

parking space provides her security, consistency, and accessibility, in addition to protection from

the elements during the winter months, all of which are extremely important to Ms. Doyle-El.

Covered parking with a reserved space was an important consideration for Ms. Doyle-El when

choosing affordable housing in 2019.

        19.    Plaintiff HOME Line is a non-profit tenant advocacy organization headquartered

in Bloomington, Minnesota. Among other services, HOME Line operates a hotline for tenants to

address rental housing problems. HOME Line advocates for affordable-housing tenants, seeks to

expand the supply of affordable housing, and works to improve the quality of affordable housing.

HOME Line also provides education and training programs designed to promote fair and

affordable housing.

                                            .Defendants

       20.     Defendants are all Dominium entities headquartered at the same address in

Plymouth, Minnesota. The Dominium entities include a connected web of developers, owners,

project sponsors, parent companies, and guarantors who have submitted fraudulent L1HTC

applications to the government for the Dominium Properties. The Dominium enterprise also




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includes an overarching management company that manages all Dom in iuin Properties and enters

into fraudulent lease agreements with residents of the Dom inium Properties on behalf of the

Dominium owners. All Defendants are co-conspirators of the illegal and fraudulent conduct

described in this complaint.

       21.      Dom inium entities operate as part of a common enterprise controlled by the same

individuals and operated for their profit. Dominium's business practices indicate that the named

Defendants do not maintain formally independent operations and are not separately operated.

Defendants function as alter egos of one another and use separate corporate structures as a fiction

for the sole purpose of avoiding liability while Dominium's managers and operators commit the

illegal and fraudulent practices described in this complaint. Upon information and belief,

Defendants are insufficiently capitalized, fail to observe corporate formalities, have non-

functioning officers and directors, lack corporate records, and are a façade for the illegal and

fraudulent practices described in this complaint.

       22.      Piercing the corporate veil of Defendants is necessary to avoid injustice and

fundamental unfairness. Allowing Defendants to adhere to the fiction of a separate, independently-

operated corporate entities would sanction a fraud, promote injustice, and promote inequitable

consequences.

       The Legends at Silver Lake Village — Developer & Owner

       23.      Defendant St. Anthony Leased Housing Development II, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. St. Anthony Leased Housing Development II, LLC is the

developer of The Legends at Silver Lake Village.




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        24.    Defendant St. Anthony Leased Housing Associates II, Limited Partnership is a

Minnesota limited partnership with its principal place of business at 2905 Northwest Boulevard,

Suite 150, Plymouth, Minnesota 55441. St. Anthony Leased Housing Associates 11, Limited

Partnership is the owner of The Legends at Silver Lake Village.

        25.    Defendant St. Anthony Leased Housing Associates 11, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Anthony Leased Housing Associates II, LLC is the registered

agent and general partner of Defendant St. Anthony Leased Housing Associates II, Limited

Partnership. As general partner of the limited partnership, it is jointly and severally liable for all

obligations of St. Anthony Leased Housing Associates II, Limited Partnership under Min. Stat. §

321.0404.

       River North    Developer & Owner

       26.     Defendant Coon Rapids Leased Housing Development IV, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Coon Rapids Leased Housing Development IV, LLC is the

developer of River North.

       27.     Defendant Coon Rapids Leased Housing Associates IV, LLLP is a Minnesota

limited liability limited partnership with its principal place of business at 2905 Northwest

Boulevard, Suite 150, Plymouth, Minnesota 55441. Coon Rapids Leased Housing Associates IV,

LLLP is the owner of River North.

       28.     Defendant Coon Rapids Leased Housing Associates IV, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Coon Rapids Leased Housing Associates IV, LLC is the




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registered agent and general partner of Defendant Coon Rapids Leased Housing Associates IV,

LLLP.

        The Cambric — Developer & Owner

        29.    Defendant St. Paul Leased Housing Development VI, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Development VI, LLC is the developer of

The Cambric.

        30.    Defendant St. Paul Leased Housing Associates VI, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. St. Paul Leased Housing Associates VI, LLLP is the owner of

The Cambric.

        31.    Defendant St. Paul Leased Housing Associates VI, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Associates VI, LLC is the registered agent

and general partner of Defendant St. Paul Leased Housing Associates VI, LLLP.

        The Cavanagh — Developer & Owner

        32.    Defendant Crystal Leased Housing Development I, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Crystal Leased Housing Development I, LLC is the developer of The

Cavanaugh.

        33.    Defendant Crystal Leased Housing Associates I, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite




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150, Plymouth, Minnesota 55441. Crystal Leased Housing Associates I, LLLP is the owner of The

Cavanaugh.

       34.    Defendant Crystal Leased Housing Associates 1, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Crystal Leased Housing Associates 1, LLC is the registered agent

and general partner of Defendant Crystal Leased Housing Associates I, LLLP.

       The Legends of Cottage Grove — Developer & Owner

       35.    Defendant Cottage Grove Leased Housing Development I, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Cottage Grove Leased Housing Development I, LLC is the

developer of The Legends of Cottage Grove.

       36.    Defendant Cottage Grove Leased Housing Associates I, LLLP is a Minnesota

limited liability limited partnership with its principal place of business at 2905 Northwest

Boulevard, Suite 150, Plymouth, Minnesota 55441. Cottage Grove Leased Housing Associates I,

LLLP is the owner oilhe Legends of Cottage Grove.

       37.    Defendant Cottage Grove Leased Housing Associates 1, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Cottage Grove Leased Housing Associates I, LLC is the registered

agent and general partner of Defendant Cottage Grove Leased Housing Associates I, LLLP.

       The Legends of Woodbury — Developer& Owner

       38.    Defendant Woodbury Leased Housing Development 11, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,




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Plymouth, Minnesota 55441. Woodbury Leased Housing Development II, LLC is the developer

of The Legends of Woodbury.

       39.     Defendant Woodbury Leased Housing Associates 11, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Woodbury Leased Housing Associates II, LLLP is the owner

of The Legends of Woodbury.

       40.     Defendant Woodbury Leased Housing Associates II, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Woodbury Leased Housing Associates II, LLC is the registered agent

and general partner of Defendant Woodbury Leased Housing Associates II, LLLP.

       1500 Nicollet — Developer & Owner

       41.     Defendant Minneapolis Leased Housing Development 'IX, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Minneapolis Leased Housing Development IX, LLC is the

developer of 1500 Nicollet.

       42.     Defendant Minneapolis Leased Housing Associates TX, LLLP is a Minnesota

limited liability limited partnership with its principal place of business at 2905 Northwest

Boulevard, Suite 150, Plymouth, Minnesota 55441. Minneapolis Leased Housing Associates IX,

LLLP is the owner of 1500 Nicollet.

       43.     Defendant Minneapolis Leased Housing Associates IX, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Minneapolis Leased Housing Associates IX, LLC is the registered

agent and general partner of Defendant Minneapolis Leased Housing Associates IX, LLLP.




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       A -Mill Artist Lofts — Developer & Owner

       44.     Defendant Minneapolis Leased Housing Development IV, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Minneapolis Leased Housing Development IV, LLC is the

developer of A -Mill Artist Lofts.

       45.     Defendant Minneapolis Leased Housing Associates IV, Limited Partnership is a

Minnesota limited partnership with its principal place of business at 2905 Northwest Boulevard,

Suite 150, Plymouth, Minnesota 55441. Minneapolis Leased Housing Associates IV, Limited

Partnership is the owner of A -Mill Artist Lofts.

       46.     Defendant Minneapolis Leased Housing Associates IV, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Upon information and belief, Minneapolis Leased Housing

Associates IV, LLC is the general partner of Defendant Minneapolis Leased Housing Associates

IV, Limited Partnership.

       The Legends at Berry — Developer & Owner

       47.     Defendant St. Paul Leased Housing Development IX, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Development IX, LLC is the developer of

The Legends at Berry.

       48.     Defendant St. Paul Leased Housing Associates IX, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. St. Paul Leased Housing Associates IX, LLLP is the owner of

The Legends at Berry.




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       49.     Defendant St. Paul Leased Housing Associates IX, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Associates IX, LLC is the registered agent

and general partner of Defendant St. Paul Leased Housing Associates IX, LLLP.

       Millberry Apartments     Developer & Owner

       50.     Defendant St. Paul Leased Housing Development X. 1.1C is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Development X, LLC is the developer of

Millberry Apartments.

       51.     Defendant St. Paul Leased Housing Associates X, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. St. Paul Leased Housing Associates X, LLLP is the owner of

Millberry Apartments.

       52.     Defendant St. Paul Leased Housing Associates X, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Associates X, LLC is the registered agent

and general partner of Defendant St. Paul Leased Housing Associates X, LLLP.

       Union Flats — Developer & Owner

       53.     Defendant St. Paul Leased Housing Development VIII, LLC is a Minnesota limited.

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Paul Leased Housing Development VIII, LLC is the developer of

Union Flats.




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       54.     Defendant St. Paul Leased Housing Associates VIII, 1,1,1,P is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 5544 I . St. Paul Leased Housing Associates VIII, LLLP is the owner of

Union Flats.

       55.     Defendant St. Paul Leased Housing Associates VIII, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Upon information and belief, St. Paul Leased Housing Associates

VIII, LLC is the registered agent and general partner of Defendant St. Paul Leased Housing

Associates VIII, LLLP. •

       Legends of Champlin — Developer & Owner

       56.     Defendant Champlin Leased Housing Development IV, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150.

Plymouth, Minnesota 55441. Champlin Leased Housing Development IV, LLC is the developer

of Legends of Champlin.

       57.     Defendant Champlin Leased Housing Associates IV, 1..A.,1_,P is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Champlin Leased Housing Associates IV, LLLP is the owner

of Legends of Champlin.

       58.     Defendant Champlin Leased Housing Associates IV, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Champlin Leased Housing Associates IV, LLC is the registered agent

and general partner of Defendant Champlin Leased Housing Associates IV, LLLP.




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       Grand Central Flats/Lofts (FKA Columbia Heights Workfbrce) — Developer & Owner

       59.     Defendant Columbia Heights Leased Housing Development III, LLC is a

Minnesota limited liability company with its principal place of business at 2905 Northwest

Boulevard, Suite 1.50, Plymouth, Minnesota 55441. Columbia Heights Leased Housing

Development Ill, LLC is the developer of Grand Central Flats/Lofts (FKA Columbia Heights

Workforce).

       60.     Defendant Columbia Heights Leased Housing Associates III, LLLP is a Minnesota

limited liability limited partnership with its principal place of business at 2905 Northwest

Boulevard, Suite 150, Plymouth, Minnesota 55441. Columbia Heights Leased Housing Associates

111, LLLP is the owner of Grand Central Flats/Lofts (FKA Columbia Heights Workforce).

       61.     Defendant Columbia Heights Leased Housing Associates III, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Columbia Heights Leased Housing Associates III, LLC is the

registered agent and general partner of Defendant Columbia Heights Leased Housing Associates

111. LLLP.

       Landings ollexington— Developer & Owner

       62.     Defendant Lexington Leased Housing Development I, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Lexington Leased Housing Development I, LLC is the developer of

Landings of Lexington.

       63.     Defendant Lexington Leased Housing Associates I, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite




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150, Plymouth, Minnesota 55441. Lexington Leased Housing Associates 1, LLLP is the owner of

Landings of Lexington.

        64.    Defendant Lexington Leased Housing Associates I, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Lexington Leased Housing Associates 1, LLC is the registered agent

and general partner of Defendant Lexington Leased Housing Associates 1, LLLP.

       Legends of Blaine — Developer & Owner

       65.     Defendant Blaine Leased Housing Development III, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Blaine Leased Housing Development Ill, LLC is the developer of

Legends of Blaine.

       66.     Defendant Blaine Leased Housing Associates III, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Blaine Leased Housing Associates III, LLLP is the owner of

Legends of Blaine.

       67.     Defendant Blaine Leased Housing Associates III, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. Blaine Leased Housing Associates III, LLC is the registered agent

and general partner of Defendant Blaine Leased [lousing Associates III, LLLP.

       Legends of Spring Lake Park — Developer & Owner

       68.     Defendant Spring Lake Park Leased Housing Development I, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite




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150, Plymouth, Minnesota 55441. Spring Lake Park Leased Housing Development I, LLC is the

developer of Legends of Spring Lake Park.

        69.    Defendant Spring Lake Park Leased Housing Associates 1, LLLP is a Minnesota

limited liability limited partnership with its principal place of business at 2905 Northwest

Boulevard, Suite 150, Plymouth, Minnesota 55441. Spring Lake Park Leased f-lousing Associates

I, LLLP is the owner of Legends of Spring Lake Park.

        70.    Defendant Spring Lake Park Leased Housing Associates I, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Spring Lake Park Leased Housing Associates I, LLC is the

registered agent and general partner of Defendant Spring Lake Park Leased Housing Associates I,

LLLP.

        Preserve at Shady Oak Developer & Owner

        71.    Defendant Minnetonka Leased Housing Development II, LLC is a Minnesota

limited liability company with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Minnetonka Leased Housing Development IT, LLC is the

developer of Preserve at Shady Oak.

        72.    Defendant Minnetonka Leased Housing Associates II, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. Minnetonka Leased Housing Associates II, LLLP is the owner

of Preserve at Shady Oak.

        73.    Defendant Minnetonka Leased Housing Associates II, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,




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Plymouth, Minnesota 55441. Minnetonka Leased Housing Associates 11, LLC is the registered

agent and general partner of Defendant Minnetonka Leased Housing Associates II, LLLP.

       The Bluffs' at Liberty Glen— Developer & Owner

       74.     Defendant St. Cloud Leased Housing Development III, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Cloud Leased Housing Development III, LLC is the developer of

The Bluffs at Liberty Glen.

       75.     Defendant St. Cloud Leased Housing Associates III, LLLP is a Minnesota limited

liability limited partnership with its principal place of business at 2905 Northwest Boulevard, Suite

150, Plymouth, Minnesota 55441. St. Cloud Leased Housing Associates III, LLLP is the owner of

The Bluffs at Liberty Glen.

       76.     Defendant St. Cloud Leased Housing Associates III, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 55441. St. Cloud Leased Housing Associates III, LLC is the registered agent

and general partner of Defendant St. Cloud Leased Housing Associates III, LLLP.

       Parent Companies, Project Sponsors, and Guarantors /or All Dominium Properties

       77.      Defendant Dominium Development & Acquisition, LLC is a Minnesota limited

liability company with its principal place of business at 2905 Northwest Boulevard, Suite 150,

Plymouth, Minnesota 5544.1. Dominium Development & Acquisition, LLC is the "Project Sponsor

/ Parent Company" on several Dominium Properties' LIETC applications.

       78.     Defendant Dominium, Inc. is a Minnesota corporation with its principal place of

business at 2905 Northwest Boulevard, Suite 150, Plymouth, Minnesota 55441. Dominium,

is the "Project Sponsor / Parent Company" on several Dominium Properties' LIHTC applications.




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          79.   Defendant Dominium I loldings 1, LLC is a Minnesota limited liability company

with its principal place of business at 2905 Northwest Boulevard, Suite 150, Plymouth, Minnesota

55441. Dominium Holdings I, LLC is the "Guarantor" on several Dominium Properties' LIHTC

applications.

          80.   Defendant Dominium Holdings II, LLC is a Minnesota limited liability company

with its principal place of business at 2905 Northwest Boulevard, Suite 150, Plymouth, Minnesota

55441. Dominium Holdings 11, LLC is the "Guarantor" on several Dominium Properties' LIHTC

applications.

          Management Company for All Dominium Properties

          81.   Defendant Dominium Management Services, LLC is a Minnesota limited liability

company with its principal place of business at 2905 Northwest Boulevard, Suite 150, Plymouth,

Minnesota 55441. Dominium Management Services, LLC is the "Management Company" on all

Dominium Properties' LIHTC applications. Dominium Management Services, LLC is identified

as the "Authorized Management Agent," the "Owner's Authorized Agent," the "Agent for

Owner," the "Agent for the Owner of the Apartments," the "Owner's Agent," and the "Landlord"

on many, and on information and belief all, lease agreements and addenda entered into with

residents of the Dominium Properties.

                                 JURISDICTION AND VENUE

          82.   This is a civil case in which the Court has original jurisdiction under Minn. Stat. §

484.01.

          83.   The Court has personal jurisdiction over Defendants because Defendants maintain

their principal place of business in Minnesota, transact business here, use real or personal property




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here, and have committed acts in and outside of Minnesota that have caused injury here. Minn.

Stat. § 543.19.

        84.       Venue is proper in Hennepin County because the cause of action arose in part in

Hennepin County and because Defendants maintain offices and business places there. Minn. Stat.

§ 542.09.

        85.       Plaintiff's have standing to assert the statutory claims recited herein under the

Minnesota Private Attorney General Statute. Minn. Stat. § 8.31, subd. 3(a).

                                               FACTS

        A.        Background: The Low-Income Housing Tax Credit Program

        86.       The LIHTC program was established by the Tax Reform Act of 1986. The program

was adopted to encourage private investment in much needed affordable rental housing, for which

it is the largest source of federal assistance.2 Proper functioning of the L1HTC program provides

the public benefit of creating decent, safe, affordable housing. It also creates a public benefit to

reputable developers that compete for the limited amount of LIH.TC.

        87_       L1HTC are federal income tax credits that may be claimed for a ten-year period,

beginning with either the taxable year in which a building is placed in service or, at the election of

the taxpayer, the succeeding taxable year. 26 C.F.R. § 1.42-1T(a)(1 ).

        88.       Since 2010, the LIHTC program has financed approximately 50,000 housing units

annually ,3




     GOV'T ACCOUNTABILITY OFF., GA0-16-360, LOW-INCOME HOUSING TAX CREDIT: SOME
AGENCY PRACTICES RAISE CONCERNS AND IRS COULD IMPROVE NONCOMPLIANCE REPORTING AND
DATA COLLECTION (2016) [hereinafter "GAO 2016 REPORT"] at 1.

3 U.S. GOV'T ACCOUNTABILITY OFF.. GA0-18-637, LOW-INCOME HOUSING TAX CREDIT: IMPROVED
DATA AND OVERSIGHT WOULD STRENGTHEN COST ASSESSMENT AND FRAUD RISK MANAGEMENT
(2018) [hereinafter "GAO 2018 REPORT"] at 1.


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       89.     The L1HTC: program is jointly administered by the IRS and the Allocators

typically state or local housing finance agencies such as the Minnesota Housing Finance Agency.

Although the IRS provides the general regulatory framework governing administration of the

program, Allocators are charged with LIHTC allocation and most program oversight.

       90.     Each state receives an annual LIFITC allocation based on population. Subject to

federal guidelines, Allocators then set their own priorities for allocating LIHTC by issuing a

Qualified Allocation Plan ("QAP"). Among other factors, QAPs may prioritize projects serving

lower income tenants, projects located in areas of particular need, and projects serving low-income

tenants for the greatest period of time. Allocators must also consider the reasonableness of costs

and other factors in scoring LIHTC proposals.

       91.     Affordable housing developers apply to Allocators for LIHTC by preparing and

submitting a detailed application. LIHTC may be used for projects constructing new affordable

housing developments or acquiring and rehabilitating existing properties for affordable housing.

       92.     Using the QAP, an Allocator evaluates and scores developers' LIHTC applications,

awarding LIFITC'. to owners of qualifying affordable housing projects that reserve all or a portion

of their units for low-income individuals.4

       93.     Generally speaking, the amount of LIHTC awarded depends on a project's "eligible

basis." The eligible basis includes depreciable project costs for the portion of the housing to be

dedicated to affordable.housing. In the River North project, for instance, the basis included $26.5

million of the $31.4 million total cost of the development. (Exhibit B, River North's Form 8069,

Low-Income Housing Credit Allocation and Certification [hereinafter "River North LIHTC



  Although there are two types of LIHTC—a four-percent and nine-percent credit—the distinction is
immaterial for purposes of this action.



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App."] at 15-17.) Developers must accurately describe costs to ensure that Allocators can

determine the appropriate credit at different stages: at application, at allocation, and when placed-

in-service.5

         94.       Certain costs may be included in a project's eligible basis, while others may not.

See 26 U.S.C. § 42(d)(4)(B). Because eligible basis determines the amount of LIFITC, the key

principle is that developers should receive tax credit for costs and lost opportunity involved in

providing affordable housing rented at below-market rates. That is, eligible basis is used to

measure the amount that the government extends in LIFITC to bridge the financial gap between

project costs and rent that developers agree to forego to benefit low-income tenants. In the River

North project's application materials submitted to its Allocator, Minnesota Housing Finance

Agency, it was projected that investors would contribute approximately $8.5 million to receive the

LIHTC, that rents would cover a mortgage loan of nearly $19 million (from about $1.7 million in

subsidized loans from the City of Coon Rapids), and that the remaining development costs would

be covered by a deferral of Dominium's developer fee (to be repaid over time from cash flow).

(Exhibit B, River North L1HTC App. at 3, 12, 17.) When a project is placed in service, the

developer must submit a final cost certification to the Allocator detailing a project's total costs and

eligible basis.6

         95.       Once L1HTC have been calculated and awarded, the Allocator is responsible for

monitoring compliance, and the developer must comply with a host of ongoing reporting




5   GAO 2016 REPORT at 9.

6   GAO 2018 REPORT at 5.




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requirements. Though LIHTC are claimable for a period of ten years, a portion may be recaptured

if the project does not comply for fifteen years.7

         B.       Economics of LIHTC

         96.      Once a project has been awarded LIHTC, a developer identifies an investor willing

to contribute equity financing in exchange for a limited partnership or membership interest in the

owner. For example, a developer may obtain a single investor, or in many instances, have an

investor that is a fund managed by a syndicator who acts as an intermediary between a developer

and investors.8

         97.      The equity obtained from private investors, in combination with debt supported by

the rents and various sources of public subsidy, is then used to construct new affordable housing

developments or acquire and rehabilitate existing properties.

         98.      Attracting_ private equity using LIHTC enables developers to build and sustain

quality affordable housing. Equity contributions lessen the debt burden on LIHTC projects, reduce

the need for costlier sources of financing, and in turn enable property owners to sustainably offer

lower rents to tenants. Thus, LIHTC have significant economic value and can result in substantial

equity investments, a process that facilitates further investment in affordable housing if structured

appropriately, but risks misdealing and profiteering if not.

         99.      LIHTC provide significant benefit to investors. The greatest benefit to investors is

that LIHTC can be used to offset income tax liabilities over a ten-year credit period, often on a

dollar-for-dollar basis. As such, an investor is typically granted a limited partnership interest or a

membership interest in a limited liability company, while the developer stays on as the general


'GAO 2016 REPoRT at 8.

8   GAO 2018 REPORT at 5.




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partner or managing member to control all phases of the development.L) This is the model followed

by Dominium.

          C.      Dominium

          100.    Dominium describes itself as "one of the nation's largest and most innovative

affordable housing development and management companies." 10 Dom inium's portfolio contains

30,000 apartments spanning 22 states and more than $3 billion in properties.11

          101.    By 2025, Dominium "expects to be the country's pre-eminent private developer,

owner, and property manager of affordable housing," at which time it to hopes to have grown to

40,000 units.12

          102.    Given its longstanding focus on affordable housing, obtaining favorable sources of

financing is a critical part of Dominium's business model. Dominium utilizes tax-exempt bonds,

tax increment financing, L1HTC, HOME financing, and other loans and grants awarded through

government programs."

          103.    Indeed, Dominium boasts an in-house team of financing experts that "understands

the inner workings of each of these sources of funding."14




10
  Dominium — At a Glance, https://www.dominiumapartments.comiabout-dominium.html (last visited
Feb. 3, 2021).

11 Id.



13 Dominium — A Variety of Financial Tools,
https://www.dominiumapartments.com/development/development-and-acquisition.html (last visited Feb.
3,2021).

14 id.




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        104.      A sophisticated understanding of government programs has proven lucrative for

Dominium. The company was originally founded in 1972 as a developer of Section 8 subsidized

housing, shifting its business model in 1990 to focus on the LIHTC program to acquire and develop

affordable housing.15

        105.      Dominium's strategy was effective. By 2011, Dominium's portfolio included

20,000 units.I6

        106.      But Dominium's business model is not limited to acquisition and development.

Rather, Dominium employs a comprehensive, vertically integrated approach to real estate

development. One arm of the business, Dominium Construction & Architectural Services

("DCAS"), provides        contracting, construction,    and    architectural   services. Dominium's

construction professionals run point "from start to finish"; its architects "from concept to

completion."17

        107.      Another arm, Dominium Management Services, LLC, provides management

services for all of its properties. As part of its management operations, Dominium Management

Services, LLC hires, trains, and supervises site staff; maintains building and grounds; charges,

collects, and deposits rent; pays property insurance, invoices for normal property operations, and

real estate taxes; produces and delivers financial statements; and finds, qualifies, leases to, and

manages tenants. Notably, Dominium illegally operated in Minnesota as a management company




15Dominium — Company History, https://www.dominiumapartments.com1about-dominium/history.html
(last visited Feb. 3, 2021).



" Dominium —Construction and Architectural Services,
https://wvvvi.domini umapartments.comfdevelopmenticonstruction-and-architectural-services.html (last
visited Feb. 3, 2021).



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for the majority of its existence—from 1978 to 2017-- until the Minnesota Department of

Commerce ordered Dominium to cease and desist from engaging in unlicensed real estate activity

and pay civil penalties to the state.18

        1   08.   Thus, in addition to possessing a sophisticated understanding of the L1HTC

program, Dominium is also intimately involved at every stage of its projects, including all aspects

of budgeting and cost Management as well as contractin.g with tenants and engaging in property

management.

        109.      Dominium boasts its expertise in project and market due diligence, purchase

contract negotiations, financial partner due diligence, architectural design, contractor bidding and

selection, construction management, budget and schedule oversight, budget management, and

portfolio maintenance.19

        110.      Dominium represents to tenants that this comprehensive approach "delivers

excellent performance."2°

        111.      Upon closer examination, Dominium's expertise lies in manipulating the LIHTC

application and award process and defrauding its tenants of millions of dollars.




  In the Matter of the Unlicensed Real Estate Activity ofDominium Management Services, LLC, 2017
WL 11446478 (Minn. Dept. Comm. Jan. 3, 2017) (Dominium Management Services, LLC entered into a
Consent Cease and Desist Order because it had been illegally operating as a real estate property
management company, as defined in Minn. Stat. § 82.55, subd. 19(a), since 1978 without a real estate
broker license, in violation of Minn. Stat. § 82.81, subd. 1(2014).)

19Dominium — Development / Expertise and Process
https://www.dominiumapartments.com/development1cxpertise-and-process.html (last visited Feb. 3,
2021).

20 Dominium — About, hups://www.dominiumapartments.com/about-dominium.html (last visited Feb. 3,
2021).



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         I).    Dominium Defrauds the LIHTC Program & Its Tenants

         112.   Dominium's fraudulent and illegal business model thrives due to a well -recognized

and uncorrected lack of regulatory oversight. For example, the GA() reports that "some LIHTC

projects have been scrutinized for high or fraudulent development costs."21 But such scrutiny is an

anomaly because "[n]o federal agency monitors or assesses LIHTC development costs, which are

key to evaluating the efficiency and effectiveness of the tax credit program."22 This is precisely

the regulatory gap that allows Dominium's fraud to thrive. Although the "IRS is the only federal

agency responsible for overseeing the LIHTC program, it does not assess the performance of the

program."23 GAO noted that a lack of oversight, collection of standardized data, and cost-

certification controls render the LIHTC program particularly susceptible to the type of fraud

committed by Dominium. Although "the extent of fraud in the LIHTC program is not known,

federal legal actions involving LIFITC projects in Florida highlight the risk of unscrupulous

developers, contractors, and subcontractors inflating costs and obtaining excess program resources

for personal financial gain."24 But such enforcement actions are few and far between. Like many

public programs, the LIHTC program works best when participants act in good faith—less so when

participants are willing to cheat the system.

         113.   Dominium's fraud begins with the LIHTC application process, where it

intentionally misrepresents its development costs to Minnesota Housing Finance Agency in order

to maximize the LIHTC award it receives for a given project, despite Dominium's certification




21GAO 2018 REPORT at 65.

221d at. 63.

" Id.

  Id. at 46.


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that it has complied with all applicable laws and regulations, that all information contained in its

application is "true, correct, and complete." and that "any, misrepresentations and/or fraudulent

information" made in its application "may result in termination of FITC [Low Income Housing

Tax Credit] by Minnesota I lousing and may "bar [Dom inium] and related parties from future

program participation," including being reported to the IRS. (Exhibit B, River North LIHTC App.

at 5.)

          114.   Dominium intentionally engages in cost-shifting in the application process.

Doininium knowingly misrepresents the cost of developing parking by shifting the vast majority

of its actual parking development and construction costs into its eligible basis. This

misrepresentation is not a matter of interpretation, and Domin.ium instead claims that

approximately 90% or more of the costs of constructing parking are actually construction costs for

residential rental housing which are improperly included in its eligible basis to inflate its tax credit

award.

          115.   This misrepresentation is fraudulent because Dominium's intentional scheme is to

charge its tenants monthly rent for parking, which is prohibited when the developer includes

construction costs in its eligible basis. Amenities like parking or common areas can only be

included in eligible basis if tenants are not charged for their use and are made available to "all

residential units." See 26 U.S.C. § 42(d)(4)(13).

          116.   Thus, LIHTC developers like Dominium have a simple choice:

             a. exclude parking costs from the eligible basis, in which case tenants nja be

                 charged additional rent for parking; or

             b. include parking costs in the eligible basis. in which case tenants may not be

                 charged rent for parking.




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        117.    Despite this clear mandate, Dominium states that it is excluding its parking costs

from its eligible basis on its LIHTC application, but it actually fraudulently shifts the vast majority

of its parking costs into its eligible basis   thereby receiving inflated LIHTC—and proceeds to

charge tenants for parking. Because Dominium financed nearly all of its parking costs through

LIHTC, it is unlawful for it to charge tenants for that parking.

        118.   Dominium employed this scheme at all the "Dominium Properties" listed supra at

pp. 5-6, and likely employed this scheme at additional properties.

        119.   Dominium markets underground, heated parking as an important part of its "new

benchmark for quality and affordability"25 and separately charges its tenants for that parking.

        120.   Dominium promises tenants in its standard lease addendum: "The premises are to

be operated in accordance with the requirements of the low-income housing credit program under

Section 42 of the Internal Revenue Code of 1986, as amended (the 'Program')." (Exhibit A,

Dominium Lease Agreement at 14.)

   .    121.   In each LIHTC application for the foregoing properties, Dominium deliberately

misrepresented its parking costs to Minnesota Housing Finance Agency by underreporting its

parking costs by orders of magnitude.

        122.    Dom in ium 's River North application is demonstrative. There, Dominium proposed

building 116 underground, heated parking spaces, for which it would charge tenants $75 per month

per space. (Exhibit B, River North LIHTC App. at 10.) This charge is lawful only if Domini=

excluded the full construction costs related to parking facilities from its eligible basis, which it

intentionally did not do. Dominium represented in its River North application that its total parking




25 Dominium — Twin Cities Senior Living, Ittips://www.dominiumapartments.com/senior-living.html (last
visited Feb. 3, 2021).



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costs were $255,000 for 116 parking spaces—or $2,198.28 per parking space—and, therefore,

excluded S255,000 from eligible basis. (Id. at 14.) This figure is so grossly understated that it

cannot be an honest mistake. Instead, it is the heart of Dom ini um 's fraudulent scheme to double-

dip.

           123.   For example, the average construction costs for an underground parking space in a

2012 analysis of twelve American cities ranged from $26,000-$48,000, with an average of $34,000

per space.26 In 2013, on average, the hard costs for standalone structured parking in Minneapolis

were estimated to exceed $20,000 per space, with parking incorporated into a mixed -use building

running even higher.27 In 2019, the average cost of structured parking in Minneapolis was

approximately $22,981.00 per parking space.28 In a stark contrast, a review of the Dominium's

LIHTC applications for 18 of its properties in Minnesota reveals that Dominium only reported

actual construction costs averaging a mere $3,709 per space. Only fraud and deception explain the

wide difference between the actual costs reflected in these studies and the figures set forth in

Dom in ium's LIHTC applications. The pattern of Dominium's consistent misrepresentations

related to the costs of constructing parking demonstrate an intentional scheme to defraud Plaintiffs

and induce them to pay for parking that Dominium is legally obligated to provide without charge.

           124.   Conservatively applying the average Minneapolis price per stall in 2019 of $22,981,

Dominium's cost to construct parking would be expected to be $2,665,796 for the River North




26Donald Shoup, The High Cost ofMinimum Parking Requirements, in PARKING: ISSUES AND POLICIES,
5 TRANSP. AND.SUSTAINABILITY 87, 90 (2014).

27Minneapolis East Downtown Parking Lot Study, HR&A Advisors, Inc. (prepared fbr Cit). of
Minneapolis, Dep't of Cmty. Plan. and Econ. Dev.) (Mar. 22, 2013) at 7,
http://www2.in inneapol ismn.gov/www/groups/public/@cped/documents/webcontentiwc m sip-
118839.pdf.

28   Parking Structure Cost Outlook for 2019, WG1 (May 23, 2019) https://wginc.com/parking-outlook/.


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complex, more than ten times the amount reported by Dominium in its River North application of

$255,000. By drastically understating its parking construction costs at just $255,000, Domini=

excluded $255,000 from its eligible basis and effectively shifted the remaining $2,410,00 of its

actual parking costs into its eligible basis, allowing it to obtain LIHTC to fund the majority of its

parking construction costs even as it intended to charge tenants for parking. Its fraudulent

misstatements of its parking costs allowed Dominium to obtain equity from an investor for the

LIHTC for parking construction costs while then charging its tenants parking rent of $75 per

month. Dominium's fraudulent scheme relied on payments from tenants that they should not have

been required to pay absent Dominium's fraud. Dominium has engaged in this deceptive and

fraudulent practice at all properties at issue in this action, and likely more.

        125.   Because the vast majority of Dominium 's parking construction costs were

subsidized with LIHTC, Dominium was required to provide the parking to its tenants at no

additional cost. Instead, Dominium charges its tenants $75 per month for parking. (See, e.g.,

Exhibit A, Dominium Lease Agreement at .) Parking charges are a material term in the affected

tenants' leases and Dominium has promised its tenants that their apartment units will be "operated

in accordance with the requirements of the low-income housing credit program under Section 42

of the Internal Revenue Code of 1986, as amended," and warrants that tenants' rights "are subject

to the requirements that must be met under the Program in order for the Landlord to qualify to take

the cost of the premise into basis for calculation of Landlord's tax credit." (Id. at 24.)

        126.    This was a direct, fraudulent misrepresentation to each tenant, including all tenants

who were charged separate fees for LIHTC-financed parking. Instead of complying with the law,

Dominium fraudulently and deceptively charged Plaintiffs and class members separate fees for

LIHTC-financed parking.




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        127.    Dominium's misrepresentations to the Allocators is also actionable. There is a

causal nexus between Dominium's affirmative misrepresentations in its LIFITC: applications

regarding its parking costs because that scheme depends on wrongly profiting from the parking

payments made by tenants who should not have been required to pay for L1HTC-financed

In addition to fraudulent statements in its applications,   Dominium   falsely certified its eligible basis

for each of the Dominium Properties when they were placed in service.

        128.    In addition to making actionable misrepresentations to Allocators and tenants,

Dominium failed to disclose its fraud and deception to tenants who were charged. for LIHTC-

financed parking. Dom inium's relationships with its tenants and its legal obligations as a provider

of affordable housing constitute the type of special circumstances making its omissions fraudulent.

        129.    When Dominium promised to operate its properties in accordance with the law yet

charged tenants separately for parking. Dominium had a duty to disclose to tenants that Dominium

was not, in fact, operating its properties in accordance with the law or that Domini= was

otherwise illegally charging tenants for L1HTC-financed parking.

        130.   Dominium had a duty to state the lawful amount it was allowed to charge tenants

for parking because Dominium has special knowledge about its misrepresentations in the LIHTC

applications and the fact that Dominium was prohibited from charging its tenants for L1HTC-

financed parking.

        131.   Dominium has a special legal obligation to its tenants based on Dominium's

promise to operate its properties in accordance with the law and as a provider of affordable housing

whose business is predicated on public funds supporting that mission.

        132.   Moreover, Dominium's fraudulent scheme has impacted all of its dealings with

low-income tenants and goes to the core of the leases between Dominium and its tenants. Tenants




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enter leases with Dominium relying on its duty not to charge them unlawful rent and believing

they can rely on Dominium's obligations to comply with the law governing affordable housing.

And, for many tenants, safe and secure parking is integral to their choice of where to live, so

parking cannot be separated from their full leases. Dominium uses affordable housine, to induce

tenants to sign leases allowing it to charge not only rent, but parking rent. Thus, Dominium's

fraudulent parking scheme cannot be separated from its leases.

         133.   Plaintiffs and class members, as reasonable consumers, had no reason to question—

much less scrutinize    the lawfulness of Dominium's charging rent for parking in light of

Dominium's promise that their properties would be operated in accordance with the requirements

of the LIHTC program. Implicit in each tenant's lease and included as a covenant of good faith

and fair dealing, is the representation that Dominium had the legal right and authority to separately

charge tenants for parking. Plaintiffs and class members reasonably relied on the false

representations of Dominium and its employees in agreeing to make additional rent payments for

parking at the Dominium Properties.

         134.   Dominium has fraudulently concealed and perpetuated its scheme of unlawfully

collecting parking rent while continuing to receive LIHTC, falsely certifying on an annual basis

its compliance with LIHTC program requirements. And tenants reasonably rely on Dominium's

obligation to operate in compliance with the law in dealing with it and paying both rent and parking

rent.

         135.   Dominium's fraudulent scheme has resulted in the wrongful charging of tenants for

parking rent at each of its buildings from time they were placed-in-service to the present.

Dominium's fraudulent and deceptive conduct is on-going. long-standing, pervasive, and

widespread. Dominium has been misrepresenting its eligible costs in its LIHTC applications and




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annual certifications for years. Accordingly, it has been illegally charging its tenants for 1_,IFITC-

financed parking for years. Dominium has pervasively engaged in this fraudulent and deceptive

conduct at every property at issue in this action. Upon information and belief; Dominium has

engaged in the same or similar conduct at its tens of thousands of units nationwide. Far from a

discreet or transactional fraud and deception, Dominium's fraudulent scheme has been and remains

widespread. In Dominium's own words, "Dominium specializes in project and residential

compliance under various governmental programs such as Section 8, FMHA 515, public

housing, state agency funded properties and Section 42-Low Income Housing Tax Credit

(LIHTC) properties."29

        136.   This lawsuit has substantial public benefit. Dominium's fraud and deception has a

profoundly adverse effect on the public. Dominium's misrepresentations about its parking costs

and its compliance with L1HTC laws are widely broadcast in its submissions to governmental

agencies and in its communications to the public. Domini= is profiting at the expense of low-

income tenants including elderly individuals. Low-income tenants are often vulnerable and less

able to absorb Dominium's illegal parking charges. Dominium specifically targets senior citizens

and/or disabled persons at many of its properties, boasting that underground heated parking is a

"luxurious" amenity offered. Dominium's misconduct goes to the core concerns animating the

Private Attorney General Statute, see Minn. Stat. § 8.31, subd. 3a, and Minnesota's consumer fraud

and deceptive trade practices laws, all of which reflect Minnesota's strong interest in providing

remedies against those who prey on consumers.




29
  Dominium LinkedIn Profile, haps://www.iinkedin.com/companv/dominium (last visited Feb. 3, 2021)
(emphasis added).



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        137.   The Minnesota legislature has determined that preying on senior citizens and

disabled persons is a particularly pernicious behavior such that of fendhw defendants are subject

to heightened penalties and restitution. See Minn. Stat. § 325F.71, subd. 2. Dominium's

misconduct is the very definition of predatory conduct that takes advantage of elderly, senior

citizens, disabled persons, and the vulnerable. Many of Dominium's tenants fit the statutory

definition of senior citizens and disabled persons, and Dominium knows it. Indeed, Dominium

specifically targets such individuals with its unlawful scheme.

        138.   Dominium has been unjustly enriched by intentionally and wrongly charging

tenants for parking, which should have been included in lease agreements without charge. Its ill-

gotten profits from that scheme include parking rents and all rents paid by affected tenants.

        139.   In addition to defrauding its substantial tenant population, as one of the largest

private providers of affordable housing. Dominium is illegally diverting limited and critical

affordable housing funds to its shareholders as ill-gotten gains rather than further and proper

investment in affordable housing. Moreover, because other developers compete for the same funds,

other developers and their tenants are adversely affected to the extent that Dominium's fraud and

deception limit the available funds for new construction or rehabilitation of affordable housing.

        140.   The public benefit sought in this action includes injunctive relief to prevent

Dominium from further harm to the public, disgorgement of Dominium's                     gains, and

rescissionary damages. Both injunctive relief and damages will serve a strong deterrent to

Dominium and any other current or prospective bad actors seeking to engage in such misconduct.

To the extent that this class action redresses Dominium's fraud and deception and prevents other

actors from engaging is a similar conduct, the public will be well served.




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       E.      Plaintiffs' Allegations

        141.   Plaintiff Susan Iliff has suffered a particularized and concrete injury of paying

unlawful parking rent of $75 per month at Dominium's River North complex since on or about

2015. Dominium covenanted to Ms. Iliff in her lease agreement that it was operating in accordance

with the law, specifying that it was operating in accordance with the requirements of the low-

income housing credit program under Section 42 of the Internal Revenue Code of 1986, as

amended. But that covenant was an intentional misrepresentation of material fact. Dominium

knowingly failed to abide by the LIHTC laws and regulations by charging Ms. Iliff $75 per month

for parking while also obtaining LIHTC benefits for the majority of its parking costs. Dominium's

misrepresentation to Ms. M was material as it was critically important to her when choosing an

apartment in 2015 that she not only obtain covered, secure parking as a disabled woman in her

mid-60s, but that she also enter into a contract with a landlord who was abiding by the law.

Dominium intentionally misled Ms. Iliff into believing that she entered into a legal lease agreement

that required her to pay $75 per month for a parking space.

       142.    Plaintiff Betty Lees has suffered a particularized and concrete injury ofT paying

unlawful parking rent of $75 per month at Dominium's River North complex since on or about

July 1, 2017. Dominium covenanted to Ms. Lees in her lease agreement that it was operating in

accordance with the law, specifying that it was operating in accordance with the requirements of

the low-income housing credit program under Section 42 of the Internal Revenue Code of 1986,

as amended. But that covenant was an intentional misrepresentation of material fact. Dominium

knowingly failed to abide by the LIHTC laws and regulations by charging Ms. Lees $75 per month

for parking while also obtaining LIHTC benefits for the majority of its parking costs. Dom in ium 's

misrepresentation to Ms. Lees was material as it was critically important to Ms. Lees when




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choosing an apartment in 2017 that she not only obtain secure, heated parking as a woman in her

late-70s living; through harsh Minnesota winters, but that she also enter into a contract with a

landlord who was abiding by the law. Dominium intentionally misled Ms. Lees into believing that

she entered into a legal lease agreement that required her to pay $75 per month for a parking space.

       143.    Plaintiff Linda Cobb has suffered a particularized and concrete injury of paying

unlawful parking rent of $80 per month at Dominium's Legends of Silver Lake complex since on

or about June 2015; Dominium covenanted to Ms. Cobb in her lease agreement that it was

operating in accordance with the law, specifying that it was operating in accordance with the

requirements of the low-income housing credit program under Section 42 of the Internal Revenue

Code of 1986, as amended. But that covenant was an intentional misrepresentation of material fact.

Dominium knowingly failed to abide by the LIFITC laws and regulations by charging Ms. Cobb

$80 per month for parking while also obtainin2. LIHTC benefits for the majority of its parking

costs. Dominium's misrepresentation to Ms. Cobb was material as it was critically important to

Ms. Cobb when choosing an apartment in 2015 that she not only obtain protected parking as a

woman in her mid-60s living through harsh Minnesota winters, but that she also enter into a

contract with a landlord who was abiding by the law. Dominium intentionally misled Ms. Cobb

into believing that she entered into a legal lease agreement that required her to pay $80 per month

for a parking space.

       144.    Plaintiff Nancy Lawrence has suffered a particularized and concrete injury of

paying unlawful parking rent of $75 per month at Dominium's River North complex since on or

about January 2017. Dominium covenanted to Ms. Lawrence in her lease agreement that it was

operating in accordance with the law, specifying that it was operating in accordance with the

requirements of the low-income housing credit program under Section 42 of the Internal Revenue




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Code of 1986, as amended. But that covenant was an intentional misrepresentation of material fact.

Dominium knowingly failed to abide by the LIHTC laws and regulations by charging Ms.

Lawrence $75 per month for parking while also obtaining LIHTC benefits for the majority of its

parking costs. Dominium's misrepresentation to Ms. Lawrence was material as it was critically

important her when choosinL, an apartment in 2017 that she not only obtain safe and heated parking

as a woman in her mid -70s living through harsh. Minnesota winters, but that she also enter into a

contract with a landlord who was abiding by the law. Dominium intentionally misled Ms.

Lawrence into believing that she entered into a legal lease agreement that required her to pay $75

per month for a parking space.

       145.    Plaintiff Patricia Johnson has suffered a particularized and concrete injury of paying

unlawful parking rent of $75 per month at Dominium's River North complex since on or about

January 2017. Dominium covenanted to Ms. Johnson in her lease agreement that it was operating

in accordance with the law, specifying that it was operating in accordance with the requirements

of the low-income housing credit program under Section 42 of the Internal Revenue Code of 1986,

as amended. But that covenant was an intentional misrepresentation of material fact. Dominium

knowingly failed to abide by the LIHTC laws and regulations by charging Ms. Johnson $75 per

month for parking while also obtaining LIHTC benefits for the majority of its parking costs.

Dominium's misrepresentation to Ms. Johnson was material as it was critically important her when

choosing an apartment in 2017 that she not only obtain covered parking as a woman in her late-

60s living through harsh Minnesota winters, but that she also enter into a contract with a landlord

who was abiding by the law. Dominium intentionally misled Ms. Johnson into believing that she

entered into a legal lease agreement that required her to pay $75 per month for a parking space.




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         146.   Plaintiff Gwenneth Larson has suffered a particularized and concrete injury of

paying unlawful parking rent of $75 per month at Dom in ium 's River North complex since on or

about July 2017. Dominium covenanted to Ms. Larson in her lease agreement that it was operating

in accordance with the law, specifying that it was operating in accordance with the requirements

of the low-income housing credit program under Section 42 of the Internal Revenue Code of 1986,

as amended. But that covenant was an intentional misrepresentation of material fact. Dominium

knowingly failed to abide by the LIHTC laws and regulations by charging Ms. Larson $75 per

month for parking while also obtaining LIFITC benefits for the majority of its parking costs.

Dom ini um's misrepresentation to Ms. Larson was material as it was critically important her when

choosing an apartment in 2017 that she not only obtain covered, secure parking as a woman in her

late-70s living through harsh Minnesota winters, but that she also enter into a contract with a

landlord who was abiding by the law. Dominium intentionally misled Ms. Larson into believing

that she entered into a legal lease agreement that required her to pay $75 per month for a parking

space.

         147.   Plaintiff Patricia Noel has suffered a particularized and concrete injury of paying

unlawful parking rent of $75 per month at Dominium's Legends of Champlin complex since on or

about April 2018. Dominium covenanted to Ms. Noel in her lease agreement that it was operating

in accordance with the law, specifying that it was operating in accordance with the requirements

of the low-income housing credit program under Section 42 of the Internal Revenue Code of 1986,

as amended. But that covenant was an intentional misrepresentation of material fact. Dominium

knowingly failed to abide by the L1HTC laws and regulations by charging Ms. Noel $75 per month

for parking while also obtaining LIfITC benefits for the majority of its parking costs. Dominium's

misrepresentation to Ms. Noel was material as it was critically important her when choosing an
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apartment in 2018 that she not only obtain safe and covered parking as a woman in her late-70s

living through harsh Minnesota winters, but that she also enter into a contract with a landlord who

was abiding by the law. Dominium intentionally misled Ms. Noel into believing that she entered

into a legal lease agreement that required her to pay $75 per month for a parking space.

       148.    Plaintiff Sharifah Doyle-El has suffered a particularized and concrete injury of

paying unlawful parking rent of $140-145 per month at Dominium's 1500 Nicollet complex since

on or about December 2020. Dominium covenanted to Ms. Doyle-El in her lease agreements that

it was operating in accordance with the law, specifying that it was operating in accordance with

the requirements of the low-income housing .credit program under Section 42 of the Internal

Revenue Code of 1986, as amended. But that covenant was an intentional misrepresentation of

material fact. Dominium knowingly failed to abide by the LIHTC laws and regulations by charging

Ms. Doyle-El $140-145 per month for parking while also obtaining LIHTC benefits for the

majority of its parking costs. Dominium's misrepresentation to Ms. Doyle-El was material as it

was critically important her when choosing an apartment in 2019 that she not only obtain safe and

covered parking as a single mother with two young children living through harsh Minnesota

winters in downtown Minneapolis, but that she also enter into a contract with a landlord who was

abiding by the law. .Dominium intentionally misled Ms. Doyle-El into believing that she entered

into a legal lease agreement that required her to pay $140-145 per month for a parking space.

       149.    Plaintiff HOME Line has suffered particularized and concrete injury directly

connected to the tenant, consumer, and consumer fraud and deceptive trade practices protections

under Minnesota law. Dominium fraudulently charging tenants monthly parking rent has injured'

HOME Line by: (1) undermining HOM.E Line's advocacy, education, and training programs

designed to promote fair and affordable housing; (2) requiring HOME Line to divert scarce




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resources away from their usual activities and instead to devote substantial time to gathering data,

reviewing data, interviewing witnesses, and developing materials to track Dominium's practices;

(3) frustrating HOME Line's missions of preserving affordable housing and stopping bad

management practices; and (4) harming the tenant communities that HOME Lines serves.

                                    CLASS ALLEGATIONS

        150.   Plaintiffs bring all claims herein pursuant to Minn. R. Civ. P. 23. The requirements

of Minn. R. Civ. P. 23 are each satisfied with respect to the class defined below.

       A.      Class Definition

        151.   Plaintiffs seek to represent a class defined as all tenants of the Dominium Properties

located in Minnesota who have paid parking rent.

       B.      The Rule 23.01 Prerequisites

        152.   Numerosity. The class is so numerous that joinder of all members is impracticable.

Plaintiffs estimate the class to include thousands of individuals that paid additional rent for

parking. The number and identities of all class members can be determined through appropriate

discovery in the possession of Defendants.

        153.   Commonality. There are questions of law or fact common to the class, which

include but are not limited to the following:

       a.      Whether Defendants unlawfully charged Plaintiffs and class members for parking

spaces and/or structures which it financed in whole or in part with the assistance of HMV;

       b.      Whether Defendants should be enjoined from future unlawful parking charges;

       c.      Whether a causal nexus exists such that Plaintiffs and class members are persons

harmed by Defendants' fraudulent misrepresentations or omissions;




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        d.      Whether Defendants intended to deceive Plaintiffs and class members by

negotiating, entering into, and enforcing leases that required unlawful additional payments for

parking;

        e.      Whether Defendants' conduct violated Minnesota law, including the Prevention of

Consumer Fraud Act and Uniform Deceptive Trade Practices Act;

        f.     Whether Defendants were unjustly enriched by charging additional rent for leasing

parking spaces and/or stalls that were constructed with the assistance of LIHTC; and

        g.     Whether Plaintiffs and class members have been damaged and, if so, the proper

measure of damages.

        154.   Typicality. Plaintiffs' claims are typical of the claims of the class as a whole. Like

Plaintiffs, class members were injured by paying additional fees for parking that had been

constructed or rehabilitated using LIHTC. Thus, Plaintiffs and class members have all suffered the

same or similar injury as a result of Defendants' fraudulent and deceptive practices.

        155.   Adequacy of Representation. Plaintiffs are committed to pursuing this action and

have retained counsel who are qualified, experienced, and capable of conducting the litigation and

representing the interests of the entire class. Plaintiffs know of no conflicts of interest among class

members.

       C.      The Proposed Class Satisfies the Rule 23.02(c) Prerequisites for Damages

        156.   The common questions of law and fact enumerated above predominate over

questions affecting only individual class members, and a class action is the superior method for

fair and efficient adjudication of the controversy. The likelihood that individual class members

will prosecute separate actions is remote given the excessive time and considerable expense




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necessary to conduct such litigation, especially given .the relatively modest amount ol monetary,

injunctive, and equitable relief at issue for each individual class member.

         D.     The Proposed Class Satisfies the Rule 23.02(b) Prerequisites for Injunctive

Relief

         157.   Defendants have acted or refused to act on grounds generally applicable to the

proposed class, thereby making appropriate final injunctive and equitable relief with respect to the

class as a whole. Many class members continue to live and pay additional fees for parking at the

Domini= Properties and are therefore in danger of being harmed again. Defendants should be

ordered to notify class members that it will cease collecting additional rent payments for parking.

         158.   Defendants' ongoing and systematic practices are applied uniformly to class

members, making declaratory relief appropriate.

         E.     The Proposed Class Satisfies the Rule 23.02(a) Prerequisites

         159.   The prosecution of separate actions by or against individual class members would

create a risk of:

         a.     inconsistent or varying adjudications with respect to individual members of the

class which would establish incompatible standards of conduct for Defendants; and

         b.     adjudications with respect to individual class members which would as a practical

matter be d.ispositive of the interests of the other members not parties to the a.djudication.s or

substantially impair or impede their ability to protect their interests.

                                       COUNT ONE
                         Minnesota Prevention of Consumer Fraud Act

         160.   Plaintiffs real lege the foregoing paragraphs as if fully set forth herein.

         161.   The residential properties and related services offered by Dominium, including

parking, are merchandise as defined in Minn. Stat. § 325F.68, subd. 2.



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           162.   The leasing of residential property and provision of related services by Dom inium

to Plaintiffs and class members constitutes a sale under Minn. Stat. § 325F.68, subd. 4.

           163.   Defendants are persons as defined in Mimi. Stat. § 325F.68, subd. 3.

           164.   By intentionally and systematically misrepresenting its parking-related costs in

LIHTC applications in order to charge tenants for parking while obtaining tax credits. Defendants

fraudulently charged tenants for parking rent which they could not lawfully charge. Defendants

thereby made material misrepresentations to the Al.locators in order to perpetrate fraud on the

tenants.

           165.   Defendants    intended   that   the    Allocators   rely   on   these    fraudulent

misrepresentations. Defendants knew that these fraudulent misrepresentations were false when

made. These fraudulent misrepresentations were profitable because Dominium knew it could

wrongly induce tenants to pay parking rent.

           166.   Having elected to finance its parking costs with LIHTC, Defendants were not

permitted to charge tenants separately for parking because Defendants represented to tenants that

the premises were, are, and would be 'operated in accordance with the requirements of the low-

income housimi, credit program under Section 42 of the Internal Revenue Code of 1986, as

amended (the "Program.")." That statement was a misrepresentation of material fact. Defendants

knew that that statement was false when it was made. That misrepresentation is material—and

indeed, critically important—to tenants in deciding where to live and in all aspects of their

relationships with Dominium.

           167.   Defendants' misrepresentations stand in a causal nexus to the harm suffered by the

affected tenants. Indeed, the central feature of Dominium's fraudulent scheme was to profit by




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obtaining both LIHTC premised on an inflated eligible basis and collecting payment for parking

from tenants. So. tenants' payments are linked at the core of Dominium's fraud.

        168.   Because the misrepresentations were made at the point of contract formation, the

Court is empowered to rescind the contracts and disgorge Defendants' ill-gotten gains, including

the full amount of rent paid by affected tenants as restitution and rescissionary damages. At the

very least, Defendants should. not be allowed to profit from their fraud. Accordingly, the Court is

empowered to disgorge all profits Defendants made on affected tenant leases.

        169.   Defendants intentionally and fraudulently charged Plaintiffs and class members

additional fees for parking. Accordingly, the Court is empowered to award as damages all

fraudulently charged parking fees.

        170.   In making affirmative misrepresentations to tenants, Defendants failed to disclose

to its tenants that, because the vast majority of its parking costs were mischaracterized in its L1HTC

application as eligible basis, Defendants could. not charge tenants additional fees for parking.

Defendants had a duty to make such disclosure. Defendants had special knowledge of material

facts to which the affected tenants did not have. Defendants should have said enough to prevent

the words communicated from misleading the affected tenants.

        171.   As a result of Defendants' fraudulent misrepresentations and omissions to the

Allocators and affected tenants, Plaintiffs and other class members suffered damages.

        172.   Defendants knew or should have known that their conduct was directed to one or

more senior citizens or disabled persons. One or more senior citizens or disabled persons are more

vulnerable to Defendants' conduct than other members of the public because of age, poor health

or infirmity, impaired understanding, restricted mobility, or disability, and actually suffered

physical, emotional, or economic damage resulting from the defendant's conduct. Defendants'




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conduct caused senior citizens or disabled persons to suffer damages. In addition to foregoing

damages. Defendants are. subject to civil penalties under Minn. Stat. § 325F.71, subd. 2 for each

violation.

                                    COUNT TWO
      Minnesota Uniform Deceptive Trade Practices Act: Deceptive Lease Agreements

        173.    Plaintiffs reallege the foregoing paragraphs as if fully set forth herein.

        174.    By entering residential lease agreements for leaseholds that were professed to be

operated in accordance with the L1HTC Program but charged additional monthly fees for parking,

Defendants     intentionally   engaged   in   conduct creating a       likelihood   of confusion   or

misunderstanding among Plaintiffs and class members.

        175.    In the course of business, Defendants caused likelihood of confusion or

misunderstanding as to the source, sponsorship, approval, or certification of the parking sold to

Plaintiffs and class members at the Domini= Properties.

        176.    Defendants knowingly, intentionally, and maliciously misled Plaintiffs and class

members into believing they could lawfully charge additional rent for parking at the Dominium

Properties.

        177.    As a result of Defendants' deceptive practices and false and misleading statements,

Plaintiffs and class members have suffered damages including, without limitation, paying

additional monthly fees for parking that should have been provided as part of their base rent.

                                          COUNT THREE
                                         Unjust Enrichment

        178.    Plaintiffs reallege the foregoing paragraphs as if fully set forth herein.




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        179.   As enumerated herein, Defendants fraudulently misrepresented their development

costs to Allocators. Asa result. Defendants obtained LIHTC for costs related to constructing and/or

rehabilitating parking.

        180.   Having obtained LIHTC to finance its parking construction costs, Defendants were

required to provide those parking facilities to its tenants at no additional cost. 26 U.S.C. §

42(d)(4)(B). By promising to operate the properties in accordance with the LIHTC Program and

charging additional fees for parking, Defendant received a benefit.

        181.   Defendants deliberately misled Plaintiffs and class members into believing that

Defendants could charge additional rent for parking. Defendants appreciated and knowingly

received the benefit.

        182.   Had Defendants not defrauded the state allocators, Plaintiffs and class members

would not have paid additional rent for parking to Defendants.

        183.   Had Defendants not deceived Plaintiffs and class members, Plaintiffs and class

members would not have paid additional rent for parking to Defendants.

        184.   Defendants generated millions of dollars of revenue by misleading Plaintiffs and

class members to pay additional rent for parking.

        185.   Defendants were knowingly and unjustly enriched at the expense and detriment of

Plaintiffs and class members.

        186.   Defendants have unjustly retained its ill-gotten profits and should be required to

disgorge this unjust enrichment.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the class, request relief as follows:




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          a.     Certification of the class as defined herein pursuant to Minn. R. ("iv. P. 23.02(a)(1),

(a)(2), (b), and (c), or a combination of the subsections;

          b.     Appointment of Plaintiffs as class representatives and their undersigned counsel as

class counsel;

          C.     A permanent injunction enjoining Defendants from charging additional parking

fees to its tenants when the underlying parking facilities have been financed in whole or in, part by

LIHTC for parking to Plaintiffs and class members;

          d.     Damages in an amount exceeding $50,000, the exact amount to be determined at

trial;

          e.     Restitution of all charges paid by Plaintiffs and class members because of

Defendants' fraudulent and deceptive business practices as described herein, including, without

limitation, all rent, parking rent, and additional fees or charges;

                 Disgorgement and restitution to Plaintiffs and class members of all monies

wrongfully obtained by Defendants;

          g.     Disgorgement and restitution of all profits made by Defendants by virtue of their

fraud, deception, and unjust enrichment;

          h.     Compensatory and actual damages in an amount according to proof at trial;

          i.     Statutory damages and penalties, as provided by law;

          j.     Enhanced statutory penalties under Mimi. Stat. § 325E71;

          k.     Prejudgment interest commencing on the date of payment of the charges and

continuing through the date of entry ofjudgment in this action;

          1.     Costs and fees incurred in connection with the action, including attorneys' fees,

expert witness fees, and other costs, as provided by law; and




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       m.     Whatever other relief the Court deems just and proper.




Dated: February 4, 2021                        FAEGRE DRINKER BIDDLE & REATH LEP



                                               /s/ Craig S. Coleman
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                                               HOUSING JUSTICE CENTER



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                                               Attorneys for Plaintiffs




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                                     ACKNOWLEDGMENT

       The undersigned hereby acknowledges that costs, disbursements and reasonable

attorney and witness fees may be awarded pursuant to Minn. Stat. § 549.211, subd. 2, against a

party for claims made in violation of that statute.

                                                      /s/ Craig S. Coleman




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 DOMINIUM MANAGEMENT SERVICES, LLC
 2905 Northwest Blvd, Suite 150, Plymouth, MN 55441-2644                                                     OWNER'S AUTHORIZED AGENT
 Phone (763)354-5500     Fax (763) 354-5519

                                                                            River North
                                                                LEASE AGREEMENT
 Resident(s)*: (List all persons, and their dates of birth, who will live in the apartment.)
                     Susan C. Iliff


 Owner: DMS
 Reserved Parking # 89
 Rental Dwelling Street Address: 10940 Crooked Lake NW Blvd                                                        Apartment # 416
                           City: Coon Rapids                                                State MN               Zip Code 55433
 Move-In Date: 12/14/2016                     Lease Term: From: 12/01/2020                  to: 11/31/2021 @ 12:00 Noon
 Prorated Rent $ 0
 Monthly Rene*: Apt. $1103                    Garage $75                         Pet $0                 Other $15              Total Charges $ 1193

 **The Monthly Rent and Total Charges noted above are subject to any increases in the Rent as provided in Paragraph 1, below.
 LATE CHARGE is 8% of overdue Monthly Rent. Rent is late if received after the 3rd day of each month.
 For residents who receive a subsidy, the 8% late fee is based on the resident's portion of the rent per the HAP contract or interim change.

 Any returned/dishonored/unpaid check (NSF) Fee $ 30                                        Notice Period: Two Full Calendar Months
 Security Deposit $ 300            Pet Deposit $ 0            Other Deposit $ 0             Total Deposit $ 300               Bond $ 0
 Resident acknowledges receipt of the keys and access materials listed below and agrees to indemnify and reimburse Management for
 the replacement cost listed below for any loss or misplaced keys. Further, Resident agrees to indemnify and pay Management for
 additional damages or charges (i.e. lock charges) relating to lost or misplaced keys and access materials including a delay or failure to
 report such loss.

  Key, Opener, Fob                                # Issued         Amount           Key, Opener, Fob                                # Issued   Amount
  A t. Door Key                                                    $130             Storage Locker Key                                  90     $25
  Bldg. Entrance Key                                               $100             Clubhouse Key                                              $50
  Gara e Ke                                                        $25              Pool Key__                                                 $50
  Garage Door Opener                                    1          $55              Other Recreational Keys                                    $
  Mailbox Key                                           1          $25              Other:                                                     $
  FOB                                                   1          $105             Other:                                                     $
These charges are due and payable at the time of the loss and prior to replacement of such keys.
 Utilities Included in Rent:
 0 Gas 0 Electricity 0 Cooking Gas 0 Cooking Electric CZTrash 0 Cable                                   0 Telephone        gWater
                                                                                                                             and Sewer
 Utilities id by Resident:
    Gas i Electricity 0 Cooking Gas 0.Cooking Electric 0 Trash Cg_Cable                                     Telephone 0 Water and Sewer

 Additional Agreements:


 Agent and Address for Maintenance Management and Rent Collection:
 River North Senior Apartments - 10940 Crooked Lake NW Blvd, Coon Rapids, MN 55433
 Authorized Management Agent for Service of Process and to receive and give receipts for notices and demands: Dominium
 Management Services, LLC.
 Attention Senior Vice President of Property Management
 Address for service of process: 2905 Northwest Blvd., Suite #150, Minneapolis, MN 55441-2644
 *Where appropriate, singular terms used in this Lease include the plural, and pronouns of one gender include both genders.
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                                                                             Ex.A._001
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TERMS OF THIS LEASE:

I. INCOME RESTRICTED APARTMENTS: The provisions of this paragraph apply to Residents that are living in apartments that
   are part of an affordable housing program either under the low-income Housing Tax Credit/Section 42 (LIHTC) program and/or any
   tax-exempt Bond Compliance program.

  Resident Agrees to Provide Information. Resident agrees to cooperate with the annual recertification requirements of the LIHTC
  program and/or any Tax-Exempt Bond Compliance program. Resident further agrees, when reasonably requested by Management,
  to provide information, at least annually, with income, family composition, and student status certification requirements. Failure to
  timely respond to and fully cooperate with the recertification requirement is a material violation of this lease and is good cause for
  termination of the Lease. Copies of all required income statements, including those furnished after the date of this Lease, shall be
  considered a part of this Lease. If Resident no longer qualifies under the tax credit compliance requirements for the apartment, or if
  it appears Resident was approved and permitted to sign a Lease based on information that was not accurate, or complete, in all ways
  so that Resident's occupancy is not permitted by the income limits or other compliance requirements of the tax credit program,
  Resident agrees to move within thirty (30) days of notification by Management.

  NOTE: The below sections about Rent Adjustments and Management's Right to Adjust Rent During Lease Term. Resident's
  Right to Terminate does not apply to properties in Saint Paul built after 2018.

  Rent Adjustments. At affordable rental properties, the rent that Management may charge is restricted to a rent limit published by
  the Department of Housing and Urban Development (HUD), less the utility allowance (U.A.) that is established for each property.
  These affordable housing programs limit the rent Management may charge, but allow Management to adjust rents in response to
  changes in limits as published by HUD. Each year HUD publishes the income limits, based on Area Median Gross Income (AMGI)
  that sets the maximum household income, based on the number of people in a household, that are eligible for the Housing Program.
  HUD also publishes, by bedroom type, a rent cap or limit on the rent that Management may charge. If the rent Resident is paying is
  below the rent cap level permitted by HUD, Management will have the right to implement a rent adjustment by giving proper notice
  equal to the Notice Period at the time of Resident's Lease renewal. Rents may also be adjusted during Resident's Lease term, to
  correspond to the annual notices Management receives from HUD with the rent limits for an income restricted apartments based on
  bedroom type, and the U.A. This means that residents signing a Lease for rents below the amount that HUD has established for the
  rent cap in that area for the affordable program, may see a rent adjustment at the time of the Resident's Lease renewal, and an
  adjustment to correspond to a date following HUD's publication of new tax-credit income limits, permitted rents and the U.A.

  For residents that are signing a Lease at a property where the rent levels are already equal to the current HUD rent limit less the U.A.
  for the property, Management will implement rent adjustments in future periods in response to changes in the tax-credit/income
  limits, and the rent limits less the UA. At properties where rents are already equal to the permitted HUD rent caps,            rents are
  adjusted annually, and on an equal basis for comparable units, for all tenant households at the property when Management receives
  the latest HUD published AMGI and corresponding rent rates. This means that during the first year of occupancy, a tenant will likely
  receive a rent increase prior to his/her lease renewal date. Thereafter, rent increases will occur annually at the time new AMGI and
  rent rates are published by HUD, and the U.A. is implemented. A Resident's personal move-in date, or lease term date, does not
  establish when Management adjusts or changes the rent for leases where rents are at the HUD rent limit. At these properties, the
  annual adjustment of rent corresponds to a date after Management receives notification of AMGI, rent limits from HUD, and an
  annual UA implementation.

  Management's Right to Adjust Rent During Lease Term. Resident's Right to Terminate. If the AMGI increases or the UA
  decreases during the lease term, Resident agrees that Management may implement a rent adjustment. Management agrees to
  implement any change in rent by giving Resident at least one full calendar month notice before any change or adjustment in rent. If
  Resident does not wish to remain a resident, and fulfill Resident's lease term at the adjusted rent, Resident will have at least 30-days
  to decide whether or not to stay at the community. If Resident wants to vacate, Resident may terminate the lease early, without any
  standard lease break fee, or fulfilling the lease term, by giving Management one full calendar month written notice. If Resident's
  decision is to vacate and the one full calendar month notice does not end before the date of a rent adjustment, Resident will need to
  pay the new, adjusted, rent for the month it goes into effect. This early termination option provides all Residents with a limited, must
  be exercised within 30 days of receiving the notice of rent adjustment, right to give one full month notice to vacate if Resident does
  not desire to pay the new rent. Resident must fulfill 6 months of tenancy, including the notice period.


  (initials)



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                                                              Ex.A._002
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2. LEASE: in consideration of the mutual agreements and provisions set forth below, Management hereby leases to Resident and
   Resident hereby leases from Management, for a private residence, the Apartment designated above, together with the fixtures and
   accessories belonging thereto (hereinafter "Apartment") for the above TERM. The term Management shall include all authorized
   agents, employees, representatives or assigns of the Owner or the managing agent.

3. RENT: Resident shall, on or before the first day of each month, pay to Management in advance as designated in this paragraph, Or
   at Management's address indicated above as permitted by this Lease, by law or as otherwise designated by Management, the monthly
   total charges set forth above, without the requirement of demand or billing. Payments must be received by Management's Agent on
   or before the first day of each month. Payment will be accepted as made through the Dominium Online Portal or the electronic Walk
   in Payment System. Alternative payment methods are available for state or federal rent subsidy checks, emergency assistance
   checks, other forms of assistance checks, as required by law and in special circumstances. Please contact the Community Manager
   to determine applicability. Cash will not be accepted.

   Failure of Resident to make monthly rent payments or any other charges due shall constitute a material breach of the lease and result
   in Management's right to exercise all of its legal remedies including immediate eviction pursuant to law. Acceptance of partial
   payment of rent does not waive Management's right to collect the full amount of rent due.

4. LATE CHARGES: Resident agrees to pay Management the LATE CHARGE on rent not received by Management by midnight
   on the date due in this Lease. It is expressly agreed to between Management and Resident that acceptance by Management of less
   than the full amount of rent due from Resident does not waive Management's right to recover possession of the rental premises for
   nonpayment by Resident of balance of rent owed Management. Management reserves the right to adjust the late charge on sixty
   (60) day written notice to Resident.

5. NSF or CHECKS RETURNED UNPAID: Any payment that is returned for insufficient funds or unpaid for any reason (NSF)
   constitutes a nonpayment of rent and can result in immediate eviction pursuant to law. Additionally, Management reserves the right
   to adjust the NSF charge on sixty (60) day written notice to Resident. Resident agrees to pay the NSF fee shown above for any check
   returned, dishonored, or not paid to Management plus all applicable late charges.

6. RESPONSIBILITY FOR RENT: Each adult Resident listed above is JOINTLY AND SEVERALLY responsible for the payment
   of the total rent and other charges payable in one payment, or as otherwise required by Management's rent payment policies.

7. CONTINUING DUTY TO PAY RENT: If Resident is evicted because Resident violated a term of this lease, or if Resident moves
   out early, Resident must still pay the full monthly rent until the earliest to occur of the following: (1) the date this Lease ends and
   proper notice has been given; (2) the date the Apartment is re-rented, occupied, and rent is actually paid; provided, however, Resident
   will be responsible for the difference between the rent owed under this Lease and the rent received on any re-rental if the re-rental
   rent is less than the rent due hereunder; (3) if the Lease is month-to-month, the next Notice Period ends. For purposes of this Lease,
   Resident is "evicted" if Resident (a) vacates the apartment in response to Management's demand to leave/vacate the premises (b)
   vacates the Apartment after Management begins an eviction action against Resident; or (c) is forced to vacate the apartment as a
   result of a court order. (Note: Resident may be responsible for rent even after the ending date of the Lease stated above or a subsequent
   month-to-month or renewal tenancy if Resident does not give proper notice).

8. SECURITY DEPOSIT: Management may keep all or part of the security deposit: 1) for damage to the apartment beyond ordinary
   wear and tear; and 2) for rent or other money owed to Management. Management shall, within 21 days after termination of the
   tenancy and receipt of Resident's new mailing address or delivery instructions, return such deposit with interest to Resident in
   accordance with state law, or furnish to Resident a written statement showing the reasons for the withholding of the deposit or a
   portion thereof. Management is entitled to retain all deposits until the tenancy is terminated with proper notice. All Residents shall
   be jointly and severally liable for complying with the terms of this paragraph and this Lease and any Addendums thereto.
   Management shall have no responsibility for accounting to more than one Resident for the return of the security deposit. If more
   than one Resident individually occupies the premises, or there shall be a change in occupants or roommates during the term of a
   Lease, it shall be the sole responsibility of Resident to handle between themselves the payment and or division of any security deposit
   monies. If, at the end of the tenancy, Management receives more than one forwarding address for the return of the security deposit,
   Management may return all or any part of the security deposit to any one of the addresses provided to Management. Management
   shall not be responsible for returning any part of the security deposit should there be a change in the identity of any occupants
   (roommates) prior to the expiration of the Lease or prior to the time when all persons occupying the premises vacate. Extra cleaning,
   painting or treatment to remove stains or to treat stubborn odors or stains from tobacco, smoke, cooking odors, grease, or animals,
   are not considered normal wear and tear and these charges will be deducted from the deposit. If Management provides to Resident
   any cleaning or move-out instructions, Resident shall comply with such instructions. In accordance with Minnesota's Statute
   §504B.278, subd. 8, Resident is advised that Resident may not withhold any portion of the last month's rent on the grounds that the
   security deposit shall serve for payment of rent. In the event that multiple deposits are received, (i.e. for conditional acceptance, or


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   one or more pet deposits) all deposits may be commingled and applied to any amounts owed to Management under this Lease or
   any Addendum to Lease.
9. MOVE-IN INSPECTION: Resident acknowledges that the apartment, or an apartment similar to the apartment, has been inspected
   by Resident (or offered for inspection) prior to signing this lease and Resident has accepted the lease hereunder and is satisfied with
   the apartment's location and condition, including all present decorating, fixtures, and appliances in the apartment. With this lease
   Resident is provided a move-in inspection sheet for purposes of noting any damages or deficiencies in the apartment. Failure by
   Resident to return such form to Management within 48 hours of taking possession shall be deemed conclusive evidence that the
   apartment was received in good condition with no damages or deficiencies. The approval of any one Resident as to condition of the
   unit at move-in or move-out may be relied upon by Management as constituting the approval and agreement of all Residents who
   sign this lease. A note of a deficiency or defect in the apartment on the move-in inspection is not a request for repair or service. A
   separate notice and work order must be received by Management for Resident to request repairs or service to the apartment.

10. OWNER'S DUTIES: Management shall deliver the apartment in a condition that is fit for use as residential premises. Management
    agrees to keep the apartment in reasonable repair and make necessary repairs within a reasonable time after written notice by Resident
    except where damage is caused by intentional or negligent conduct of Resident or his/her guest(s). Management shall maintain the
    apartment and the common area premises in accordance with applicable health and safety codes except when a violation of health
    and safety codes has been caused by the intentional or negligent conduct of Resident or his/her guest(s). Management is entitled and
    shall periodically conduct inspections of the apartment to determine that Resident is properly maintaining the apartment and to
    schedule/perform necessary maintenance repairs or services. Management shall provide the utilities and services noted on the first
    page of this Lease. Management shall not be liable for injury or damage which may result from providing or failing to provide the
    above listed services. The agreed to rent and charges hereunder are for Resident's use of the apartment only. Management may, in
    its sole discretion, change the hours, terms, and conditions, and or discontinue the availability of any common area or amenity during
    the term of the Lease without Resident having a right to terminate the Lease or seek an adjustment or abatement in any rent or charge.

11 OWNER'S RIGHT TO ENTER: Management may enter the premises at any reasonable time to inspect, maintain or repair the
   apartment or do other necessary work, or to show the apartment to lenders, insurance companies, government or agency inspectors,
   or potential new residents or buyers. Management acknowledges Resident's rights under the Tenant's Right to Privacy Statute which
   provides Management shall make a good faith effort to give Resident reasonable advance notice under the circumstances of
   Management's intent to enter, subject to the exceptions set forth in the statute. If Management enters without prior notice and when
   Resident is not present, Management shall disclose the entry by placing a written disclosure of the entry in a conspicuous place on
   the premises. A request by Resident for work, repairs, or service at the apartment shall constitute notice to Resident that Management
   intends to enter the property for purposes of responding to Resident's request.

12. DESTROYED OR UNLIVABLE APARTMENT: If the apartment is destroyed, damaged, or otherwise uninhabitable and/or unfit
    to live in due to any cause, Management may, at its sole discretion, terminate this Lease with no obligation to transfer or relocate
    Resident. If the destruction of, or damage, was not caused by Resident, or Resident's guest(s), and Management terminates this
    Lease, rent will be prorated and the balance will be refunded to Resident. If the destruction of or damage to the premises is caused
    by Resident, then Resident shall be responsible for rent and utilities that are Resident's responsibility as well as other damages. If,
    in Management's discretion, Management believes the apartment can be rebuilt or restored within a reasonable period of time,
    Management may choose to continue the Lease and prorate the rent for the period of time when Resident may not occupy the unit.
    Resident shall be responsible for Resident's relocation and temporary living costs during such period of building or restoration.

13.RESIDENT MAINTENANCE AND HOUSEKEEPING: Resident is responsible for all tenant obligations as set by law, or in any
   Resident Handbook, Community Policy, or other operating guideline or instructions provided by Management including, but not
   limited to, the removal of trash and garbage from the Apartment to the appropriate collection point and maintaining the Apartment
   in a clean and sanitary condition. Air conditioning and heating equipment, where and when provided by Management, will be
   maintained by Management, however Resident must pay for any repair required due to Resident's misuse or neglect. Resident must
   not obstruct or place any personal property in front of any air conditioning, heating equipment or vents. Resident must use plumbing
   fixtures and facilities, electrical systems and other mechanical systems and appliances in the manner designed. Any damage to the
   Apartment or other areas of the apartment complex caused by Resident, or any of their guest(s) will be corrected, repaired or replaced
   at Resident's expense. Resident must immediately notify Management in writing of any needed maintenance or repair. If
   Management is required by state, county, local or other government authority to make any repairs or do any corrective maintenance
   or cleaning that is Resident's responsibility then those repairs, maintenance or cleaning will be done at Resident's expense.

14. MOLD AND MILDEW: Resident acknowledges that it is necessary for Resident to provide appropriate climate control, keep the
    Apartment clean, and take other measures to retard and prevent mold and mildew from accumulating in the Apartment. Resident
    agrees to clean and dust in the Apartment on a regular basis and to remove visible moisture accumulation on windows, walls and
    other surfaces as soon as reasonably possible. Resident agrees not to block or cover any of the heating, ventilation or air-conditioning
    ducts in the Apartment. Resident also agrees to immediately report to the management office: (i) any evidence of a water leak or
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   excessive moisture in the Apartment, as well as in any storage room, garage or other common area; (ii) any evidence of mold- or
   mildew-like growth that cannot be removed by simply applying a common household cleaner and wiping the area; (iii) any failure
   or malfunction in the heating, ventilation or air conditioning system in the Apartment; and (iv) any inoperable doors and windows.
   Resident further agrees that Resident shall be responsible for damage to the Apartment and Resident's property as well as injury to
   Residents resulting from Resident's failure to comply with the terms of the Mold and Mildew policy.

15. SMOKE DETECTOR/CARBON MONOXIDE DETECTOR NOTICE: Resident hereby acknowledges that, the Apartment is
    equipped with one or more smoke detector(s), carbon monoxide detector(s); that you have inspected the detector(s); and that you
    find it/them to be in proper working condition.

   Upon discovery that a smoke detector and/or carbon monoxide detector is non-functional and requires maintenance, Resident agrees
   to immediately either provide any maintenance necessary to make the smoke detector/carbon monoxide detector functional or
   provide Management written notification of the required maintenance. For your safety, notify Management immediately. Any fines
   incurred by Management from City or Governmental agency will be passed onto and become the responsibility of the Resident in a
   case where smoke detector/carbon monoxide detector has been tampered with, covered, or dismantled.

   Resident agrees to replace the smoke/carbon monoxide detector(s) battery, if any, at any time the existing battery becomes
   unserviceable. If after replacing the battery, the smoke detector/carbon monoxide detector will not operate or continues to make a
   "chirping" noise, you must inform Management in writir_jg immediately of any deficiencies.

   Resident agrees to reimburse Management, upon request, for the cost of a new smoke and/or carbon monoxide detector and the
   installation of in the event the existing detector(s) becomes damaged by Resident or Resident's guest(s) or invitees.

   Disclaimer:
   YOU ACKNOWLEDGE AND AGREE THAT OWNER OR AGENT IS NOT THE OPERATOR, MANUFACTURER,
   DISTRIBUTOR, RETAILER OR SUPPLIER OF THE SMOKE AND CARBON MONOXIDE DETECTOR(S). YOU ASSUME
   FULL AND COMPLETE RESPONSIBILITY FOR ALL RISK AND HAZARDS ATTRIBUTABLE TO, CONNECTED WITH
   OR IN ANY WAY RELATED TO THE OPERATION MALFUNCTION OR FAILURE OF THE SMOKE AND CARBON
   MONOXIDE DETECTOR(S), REGARDLESS OF WHETHER SUCH MALFUNCTION OR FAILURE IS ATTRIBUTABLE TO,
   CONNECTED WITH, OR. IN ANY WAY RELATED TO THE USE, OPERATION, MANUFACTURE, DISTRIBUTION,
   REPAIR, SERVICING OR INSTALLATION OF SAID SMOKE AND CARBON MONOXIDE DETECTOR(S).

   NO REPRESENTATION, WARRANTIES, UNDERTAKING OR PROMISES, WHETHER ORAL OR IMPLIED, OR
   OTHERWISE HAVE BEEN MADE BY MANAGEMENT, ITS AGENTS OR EMPLOYEES TO YOU REGARDING SAID
   SMOKE AND CARBON MONOXIDE DETECTOR(S), OR THE ALLEGED PERFORMANCE OF THE SAME.
   MANAGEMENT DOES NOT MAKE NOR ADOPT ANY WARRANTY OF ANY NATURE REGARDING SAID
   DETECTOR(S) INCLUDING EXPRESS OR IMPLIED WARRANTIES. MANAGEMENT AND OWNER SHALL NOT BE
   LIABLE FOR DAMAGES, LOSSES AND/OR INJURIES TO PERSON(S) OR PROPERTY CAUSED BY (I) YOUR FAILURE
   TO REGULARLY TEST THE DETECTOR(S); (2) YOUR FAILURE TO NOTIFY OWNER OF ANY PROBLEM, DEFECT,
   MALFUNCTION, OR FAILURE OF THE DETECTOR(S); (3) THEFT OF THE SMOKE AND CARBON MONOXIDE
   DETECTOR(S) OR ITS SERVICEABLE BATTERY; AND/OR (4) FALSE ALARMS PRODUCED BY THE DETECTOR(S).

16. SATELLITE DISH OR ANTENNA SYSTEM: The following rules and regulations will govern the installation and use of a
    satellite dish or antenna system at properties where federal law would give Residents a right to install such equipment. At sites where
    a central dish or similar system is provided, and the cost for accessing such dish or system is comparable to or less than the cost of
    an individually procured and operated satellite dish or antennae, Management may, subject to applicable law, prohibit any individual
    Resident installation. Where Resident installations are permitted, these rules apply:
           I. INSTALLATION: During the term of the lease, Resident will be allowed to install an individual satellite dish one meter
                or less in diameter or a traditional stick typed antenna on and totally within a balcony, balcony railing or patio. The dish
                or antenna must be located totally, within the premises being leased by Resident and cannot extend beyond the boundaries
                of the leased premises. No installation may drill any holes or otherwise attach to an' portion of the structure or premises
                in a way that damages any portion of the premises. Management will not be bound by any agreement between Resident
                and a third-party provider. No dish or antenna may be installed on or in any common areas, including outside walls,
                outside windowsills, roofs, Common area balconies, common area stairwells or any other common areas of the property.
           2. CENTRAL DISH, Management: is not required to install a central dish or other device for Residents who cannot otherwise
                receive a satellite signal.
           3. DAMAGE TO PROPERTY. Resident shall assume total responsibility for any personal injury or physical damage to the
                property as a result of the installation of the dish or antenna. Resident is solely responsible for all installation and shall
                have the dish or antenna installed ONLY by a professional. Resident shall advise Management or representative of

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             Management prior to installation with specifications of the installation and get written consent from Management prior to
             installation.
          4. INDEMNIFICATION. Resident does hereby indemnify and hold Management, its employees, agents and assigns harmless
             from any claims, causes of action, costs, expenses, attorney's fees or damages of any kind or nature arising out of the
             installation, use or operation of the dish or antenna on the property.
          5, INSURANCE. Resident shall be required to obtain and maintain liability insurance with respect to the installation, use
             and operation of the dish or antenna. Any liability insurance obtained by Resident shall name the Management as a co-
             insured and a copy of the policy shall be provided to Management.
          6. EXTENSION DEVICES, Resident shall not use devices that extend the dish or antenna beyond the leased premises.
          7. INSIDE HOOKUPS. The dish or antenna system must be a "stand-alone" system. The Resident or installer cannot splice
             into any existing wires or cables on the property. Resident shall not leave windows or doors ajar or open in any respect as
             a result of wires or cables that may be connected to the dish or antenna system. Resident, and any professional installer,
             may not run wires or cables from Apartment to outside area in a way that interferes with any closing of any window, door,
             or sleeve for any air conditioner, vent, or similar piping or system in apartment.
          8. REMOVAL. OF DISH/ANTENNA SYSTEM. Upon termination of the lease, Resident shall be responsible to completely
             remove the satellite dish or antenna system from the leased premises and to restore the premises to its original condition
             prior to the installation of the system, at no cost to the Management. Any damages caused by the system shall be the
             responsibility of the Resident and will be deducted from Resident's Security Deposit.

17. USE: The use of the Apartment is limited exclusively to the private residence of those persons who are listed on the Application
    and appear as Residents on the Lease as well as any dependents born to or legally adopted by occupant during the term of this
    Agreement. No other person may live, use, regularly stay at "or share" the apartment without the prior written consent of
    Management. No "Airbnb" or similar type of service/use. Any person given keys or access or regularly staying at, or given access
    to the apartment, requires Management's prior written consent. Such consent may be conditioned on such person being screened
    and signing this Lease as an additional Resident or as an approved, authorized guest/occupant. Persons who are not listed as Resident,
    or who have not received Management's written consent to be approved as an authorized guest or occupant may not receive mail or
    packages at the premises. Resident may use the Apartment and utilities, and other areas of the premises, for normal residential
    purposes only. All commercial and business uses are strictly prohibited without Management's prior written consent. Occasional
    working from home and telecommuting is permitted, but any other business activity is prohibited without Management's prior
    written consent. No daycare, or babysitting, is permitted other than occasional, limited, babysitting for friends or family without
    payment or consideration.

18. KEYS: All keys and access materials are the property of the Management. Keys and access materials are strictly for use by
    Management and authorized members of Resident's household. Resident will not duplicate keys or access materials or loan such
    materials to persons not authorized to occupy the Apartment. Resident is put on notice that allowing persons to use keys where
    Resident is not present, and such person has not been approved for access or occupancy by Management, is a violation of this Lease.
    If keys are lost or stolen, Resident will immediately notify Management. All keys will be surrendered to Management upon lease
    termination. Resident understands that charges will be assessed for additional keys requested in writing by Resident and/or any
    unreturned keys and Resident may be charged and assessed for costs to replace or rekey the premises, or to change locks, due to lost
    and or misplaced keys.

19. RESPONSIBILITY FOR PERSONS AND PROPERTY: Resident is solely responsible for the safety of Resident's family and
    all guests and their respective belongings. Management is not responsible for any damage or injury that occurs to Resident or
    Resident's guests or their personal property not caused by the willful or negligent act or omission of Management. Resident agrees
    to hold Management harmless from and indemnify Management against any and all liabilities, damages and expense arising from
    injury, damage or loss to or caused by Resident, Resident's family, guests, employees, agents, assigns, subtenants, visitors, licensees,
    animals or property of said persons in or about the Apartment buildings or grounds, from any cause whatsoever, growing out of or
    connected with the use and occupancy of or activities in or about the same. The hold harmless indemnification shall also run in favor
    of any subsidiaries and employees of Management.

20. RENTER'S INSURANCE: It is recommended that each Resident carry Renter's Insurance to protect themselves from personal
    property losses and to protect themselves from liabilities they may incur by living in rental property. Resident understands that the
    property insurance of the Owner/Management and the apartment complex does not and cannot protect their personal belongings
    against damage from: burglary, vandalism, fire, smoke, water, hail, wind, heat, freezing, lightning strike, electrical surge or failure,
    garage door malfunction, or other peril. Resident also understands, that by not having Renter's Insurance which includes personal
    liability insurance, Resident may be liable to third parties and to Management/Owner, or Managements' insurance company, for loss
    or damage including lost rent, caused by any act or omission of Resident, Resident's guest, household members, animals, or personal
    property, including but not limited to liability to neighbors for injury or damages, including moving costs or loss of use of a
    neighboring resident's apartment, reimbursement to Management of Management's deductible under Management's casualty
    insurance policy, etc. Renter's insurance with liability coverage is readily available and if it is not purchased, the renter is considered
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      "self-insured." Resident acknowledges and fully understands the options stated above and take NI responsibility for their own
      protection of the complex and the protection of other residents. Resident also acknowledges that without renter's insurance,
      Management and Owner's policy will not reimburse or pay Resident for loss of use of the apartment, or moving costs or expenses,
      should the Lease be cancelled due to causality or loss, or should Resident experience a temporary period of loss of use while repairs
      must be made to the apartment and it is not useable and available to Resident.

INSURANCE CARRIED BY OWNER DOES NOT COVER PERSONAL PROPERTY OF RESIDENT. RESIDENT IS
STRONGLY ENCOURAGED TO OBTAIN RENTER'S INSURANCE TO PROTECT RESIDENT AGAINST ANY AND ALL
SUCH LOSSES.

2] •SECURITY DISCLAIMER: Management does not provide, guarantee or warrant security. Management does not represent that
    the dwelling or apartment community is safe from criminal activity by other residents or third parties. The existence of courtesy
    officers, courtesy patrols, alarm systems, emergency alert buttons, controlled -access vehicle gates, perimeter fences, lighting, or
    other systems are not a guarantee of personal safety or security, and they are not a guarantee against criminal activity. Management
    assumes no duties of security except to proceed with diligence to repair such systems after receiving written notice from Resident.
    Management reserves the right to cancel or reduce any security-related mechanism or personnel listed above, at any time.

22. PETS AND ANIMALS: Residents are not permitted to have animals or pets of any kind (no visiting animals or "pet-sitting"
    permitted) without the express written consent of the Management and compliance with Management's Pet/Animal Policies. It is
    the responsibility of the Resident to request Management's consent and voluntarily submit all associated deposits, rents, and fees
    and to provide all other information required about any animal (i.e. proof of vaccinations, veterinary information, etc.) see
    Management's Pet/Animal Policy for any animals permitted and pre-approval animal requirements. Management does make
    reasonable accommodations in its animal policies for approved assistance animals, but prior Management approval, and providing
    information about the animal, any needed disability/accommodation verification, and signing an Animal License Agreement is
    required for all pets, animals, and assistance animals.

23. WATERBEDS: Resident agrees not to keep or permit waterbeds or any other water-filled furniture on the premises, unless written
    consent of the Management is obtained and Resident is able to provide proof of Renter's Insurance.

24. LIMITS ON ASSIGNMENTS AND SUBLEASES: No re-renting or other assignment by Resident is allowed unless by specific
    written permission of Management which consent may be withheld or denied in Management's absolute discretion. Any assignment
    or sublease made without Management's written permission shall be void. Management may terminate the lease if Resident attempts
    to assign or sublease the Apartment without the written permission of Management. Management's consent to an assignment or
    sublease shall be valid only for that specific assignment or sublease, and any additional assignment or sublease will require the
    additional written permission of Management. Apartment is not to be used for home sharing/swapping or as an "Airbnb" or similar
    type of service.

25. END OF TERMJMONTH-TO-MONTH LEASE: Resident and Management shall determine not less than the Notice Period prior
    to the expiration of their Agreement whether or not the occupancy will continue and upon what terms. Either Resident or
    Management may elect not to continue this occupancy, in which case the other must be notified in writing not less than the Notice
    Period prior to the end of the term, on or before the first of the month prior to the expiration date of this Agreement. If a new Lease
    is not executed, and proper written notice of the lease termination has not been given, the Agreement will remain in effect as a
    month-to-month Lease with a Notice Period equal to the Notice Period stated on the first page of this Lease. If a new Lease is not
    executed, Management shall have the right to give notice, equal to the Notice Period, of an increase in rent for the month-to-month
    lease term, and/or notice of other changes in the terms and conditions of this Lease, or applicable Lease Addendums. If Resident
    does not give notice to vacate equal to the Notice Period, or otherwise sign a new Lease, the Lease will continue as a month-to-
    month Lease with all terms of this Lease remaining in effect except for any new rent, or other change in terms, that Management has
    given by notice equal to the Notice Period.

26. RELEASE OF INFORMATION: Resident understands that periodically, Management may receive requests for information
    regarding Resident's rental history, including but not limited to, financial information such as the amount and timeliness of
    Resident's rental payments, from such person or entities including, but not limited to, a mortgage company, future landlord, utility
    company, creditor or credit bureau/screening service. Resident hereby authorizes Management to release Resident's rental history
    information to persons or entities requesting such information and release Management from any and all manner of actions, suits,
    claims, debts, damages, and liability relating to or resulting from Management's action or failure to act in good accordance with this
    authorization and release.

27. LEAD PAINT WARNING AND DISCLOSURE. HOUSING BUILT PRIOR TO 1978: Housing built before 1978 may contain
    lead-based paint. Lead from paint, paint chips and dust can pose health hazards if not handled in a proper manner. Lead exposure
    is especially harmful to young children and pregnant women. Federal law requires that any persons buying or renting property built
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    before 1978 receives certain disclosures about the property and about lead. If these laws apply, these disclosures will be made to you
    and you are required to sign acknowledgments for them. Resident acknowledges further the importance of this warning, the material
    provided, and agrees to sign any Disclosure Acknowledgment requested.

28. MILITARY TRANSFER: If Resident is or becomes a member of the Armed Forces on extended active duty and receives change
    of station orders to permanently depart the local area, or is relieved from such active duty, than Resident may terminate this lease
    by giving written notice to Management. Such notice shall effectively terminate the lease 30 days after the next monthly rental
    payment is due. In such event, Resident agrees to furnish owner a certified copy of the official orders, which warrant termination
    of the lease. Military permission for base housing does not constitute a permanent change-of-station order. After move-out, such
    Resident shall be entitled to the refund of security deposit(s), less lawful deductions.

29. DEATH OF RESIDENT: In the event of death of the sole Resident of the apartment, this Agreement may be terminated by the
    Management or the Resident's personal representative by submitting two month's written notice of the desired termination date to
    the other. Providing that all rent is paid in full through the termination date, all of the deceased Resident's belongings are removed
    from the dwelling Apartment and the Apartment is cleaned and free of damage, the security deposit will be refunded to the deceased
    Resident's estate or personal representative. If the previous conditions are not met, deposits may be applied toward any outstanding
    balances due and/or damage and cleaning charges due hereunder.

30.DEFAULT AND EVICTIONS: If Resident violates any terms of this Lease or any additional Agreements with Management,
   including but not limited to, failure to pay rent as agreed, repeat late payments or NSF payments (i.e. twice in any 6 month period),
   improper use of the apartment, failure to maintain the Apartment in a sanitary and safe condition or any material or repeated violation
   of the Rules and Regulations, Management may terminate Resident's lease by written notice and/or may bring an immediate eviction
   action with or without prior notice. After notice of termination and/or eviction, Resident shall be responsible for payment of rent and
   other monthly charges for the full lease term including the Notice Period stated on the first page of this Lease. Additionally, in the
   event of any default in payments or of any other obligation in this Lease, Resident agrees to reimburse Management for all actually
   paid attorneys fees by the Management, court costs, and other costs associated with such default including any and all costs of
   collection subject to the provisions herein on Lease enforcement costs and the cap on attorney's fees.

31. RENT ESCROW/TENANT REMEDIES ACTION: If the Resident initiates a rent escrow or tenant remedies action and
    Management is the prevailing party in the action occupant is liable for all actually paid costs and attorney fees incurred by
    Management subject to the provisions herein including the cap on attorney's fees.

32. VACATING: Upon termination of Resident's lease and after any renewals or extension thereof, Resident shall vacate and turn over
    full possession of the apartment to Management and return all keys no later than 12:00 noon on the last day of the lease term or
    vacate date or incur additional charges of $50 per hour until possession is relinquished.

   At or prior to the termination of Resident's lease, Resident agrees to have carpets steam cleaned by a professional carpet cleaner or
   agrees to pay the actual costs to have the carpet professionally cleaned. If these amounts are not paid upon vacancy, these amounts
   will be withheld from the Resident's security deposit in addition to other damages and cleaning fees. Resident is
   encouraged to perform an inspection of the apartment with a Management representative prior to relinquishing
   possession of Apartment.

33. LIMITS ON ACCEPTANCE: Acceptance of keys to the Apartment shall not constitute an acceptance or surrender of the
    Apartment or cancellation of the monetary obligations under this Lease by Management prior to the expiration of the term of the
    lease. Acceptance by Management shall only be valid when written notice of such acceptance is provided by Management to
    Resident.

34. CRIME-FREE/DRUG-FREE HOUSING: In consideration of the execution or renewal of a lease, Management and Resident
    agree as follows:
               1. Resident, any members of the Resident's household or a guest or other person under the Resident's control shall not
                  engage in illegal activity, including drug-related illegal activity, on or near the said premises. "Drug-related illegal
                  activity" means the illegal manufacture, sale, distribution, purchase, use or possession with intent to manufacture, sell,
                  distribute, or use of a controlled substance (as defined in Section 102 or the Controlled Substance Act 21 U.S.C. 802)
                  or possession of drug paraphernalia.
              2. Resident, any member of the Resident's household or a guest or other person under the Resident's control shall not
                  engage in or condone any act intended to facilitate illegal activity, including drug-related illegal activity, on or near the
                  said premises.
              3. Resident or members of the household will not permit the dwelling to be used for, or to facilitate illegal activity,
                  including drug-related illegal activity, regardless whether the individual engaging in such activity is a member of the
                  household.
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               4. Resident or member of the household will not engage in the manufacture, sale, or distribution of illegal drugs at any
                   locations, whether on or near the Apartment premises or otherwise.
               5. Resident, any member of the Resident's household, or a guest or other person under the Resident's control shall not
                  engage in acts of violence or threats of violence including but not limited to the unlawful discharge of firearms,
                  prostitution, criminal street gang activity, intimidation, or any other breach of the rental agreement that otherwise
                  jeopardizes the health, safety or welfare of the landlord, his agents or tenants.
               6. VIOLATION OF THE ABOVE PROVISIONS SHALL BE A MATERIAL VIOLATION OF THE LEASE AND
                  GOOD CAUSE FOR TERMINATION OF TENANCY. It is understood and agreed that a single violation shall be
                  good cause for termination of the lease. Unless otherwise provided by law, proof of violation shall not respire criminal
                  conviction.

35. IMMEDIATE EVICTION FOR UNLAWFUL ACTIVITIES: Resident acknowledges that state law prohibits certain unlawful
    activity at Resident rental premises and that such activity by Resident, or Resident's guest, household members, or visitors,
    mandates that Management bring an immediate eviction action. Resident's rights to possession of the Apartment, will terminate, if
    Resident, any member of Resident's household or any guest, or any person acting under his/her control, in the Apartment, any
    common areas, or areas surrounding the rental community, manufactures, sells, gives away, barters, delivers, exchanges, distributes,
    possesses, or uses any illegal drugs or controlled substances, engages in any prostitution or prostitution related activity, unlawfully
    uses or possess any firearm, or allows stolen property on the premises. Further Management advises Resident that Management
    will not tolerate or permit to continue conduct that is harassing, threatening, or discriminatory, as directed at Management's staff,
    agents, other residents, or neighbors and such conduct will be considered a basis for an immediate termination of Lease and eviction.

36. POSSESSION: Management shall not be liable for failure or delay in giving Resident possession of the Apartment if such failure
    is due to factors beyond Management's control. Resident shall not be responsible for payment of rent until the Apartment is available
    to Resident.

37. MANAGEMENT'S LEGAL RIGHTS AND REMEDIES — NO ESTOPPEL OR WAIVER: Management may use its legal
    rights and remedies in any combination. By using one or more of these rights or remedies Management does not give up any other
    rights or remedies it might have. No forbearance, delay, or other action or inaction by Management shall be found to "waive" any
    right of Management without an express written agreement plainly stating a knowing waiver by Management that is signed by a
    person with authority to execute agreements on behalf of Management. Management's consent, permission, or approval of any act
    of Resident shall serve only as consent, permission, or approval of that specific act and shall not serve as consent, permission, or
    approval of any other past, present, or future act or consent if such conduct is otherwise prohibited by law, this lease, or any other
    agreement with Management. Acceptance of present, future or past due rent or other charges shall not constitute a waiver of any
    past, present or future breach by Resident of any terms of this Lease or other agreement with Management.

38. NO LIMITATIONS OF REMEDIES: Management's exercise of any right or remedy shall not impair Management's right to
    exercise any additional rights or remedies.

39. REPRESENTATIONS OF RESIDENT: This Lease is entered into by Management based upon written, and any oral
    representations, made by Resident in his/her rental application, and in any related paperwork relating to income and asset
    qualification or student status for this Lease. If any of the representations are false, misleading or incomplete in any way,
    Management shall be entitled to terminate this Lease and Resident may be evicted.

40.ATTORNEVS FEES AND ENFORCEMENT COSTS: If Management brings any legal action against Resident, Resident must
   pay Management's actual attorney's fees paid up to a cap not to exceed $1,500.00 of actual attorney's fees paid, and shall reimburse
   any and all other legal costs, expenses, and disbursements, including fees and expenses paid to a collection agency, and sheriff's
   fees, service fees, court costs, even if rent is paid after a legal action is started. These costs shall be in addition to the cap on attorney's
   fees. In the event Resident brings any court action or starts any administrative action against Management, and Management
   successfully defends or prevails on such action, Management shall be entitled to recover its actual attorney's fees paid up to a cap
   of $1,500.00. The right to recover attorney's fees shall be limited to seeking reimbursement of actual attorney's fees paid and shall
   be limited, in all cases and events, to a cap of $1,500.00 for actual attorney's fees paid.

41 NOTICES: Any and all notices desired or required to be made by Resident must be sent electronically, first class, certified mail, or
   hand delivered to Management at the above stated address or to such other address or such other place as Management shall, from
   time to time, designate. All notices required to be given to Resident by Management shall be deemed given when sent electronically,
   mailed to Resident at the Apartment listed above, passed through the door of the Apartment, left with any adult at the Apartment, or
   posted on the Apartment door. Any notices provided to Resident shall not require technical accuracy.




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42. SUBORDINATION: The Agreement is and shall be subordinated to any present and/or future mortgage debt secured by the
    premises and Resident hereby empowers Management with the authority to execute on behalf of Resident any and all documents
    necessary to subordinate this Agreement.

43. NO ORAL AGREEMENTS: This Agreement may not be amended or altered by any oral agreement. Any amendments must be
    in writing and bear the signature of an authorized signatory for Management. Additionally, any and all waivers, acceptance and
    approvals by Management must be in writing and signed by Management. Oral waivers, acceptances or approvals shall be
    ineffective.

44. BINDING ON HEIRS: This Agreement shall be binding on the heirs and assigns of both Management and Resident. Management
    may assign this Agreement.

45. ABANDONED PROPERTY: Twenty-Eight (28) days after the Management has either received a notice of abandonment, or it
    has become reasonably apparent that the Apartment has been abandoned; the Management may sell or dispose of any personal
    property left by Resident in whatever way the Management wishes. In the event the that Management determines it is economically
    feasible and worth Management's administrative time and effort to conduct a sale, Management will conduct a sale in the manner
    provided by statute with the notices required by statue. Residents are advised, however, in most circumstances, it is not worth the
    time, inconvenience, and administrative effort for Management's managing agents to attempt to conduct a sale of abandoned
    property and in most cases abandoned property is disposed of and/or donated without any effort by Management to conduct a sale
    and recover any funds for the personal property or belongings of Resident that arc abandoned in the Apartment, or in any garage,
    storage area, or locker, or otherwise in a space rented by or used by, Resident.

    Prior to any sale or disposal, the Management must return the Resident's property within 24 hours after the Resident's written
    demand, or 48 hours (not counting weekends and holidays) if Management has moved the Resident's property somewhere other
    than the building.

46. TENANCY ADDENDUM: If Resident is a participant in the section 8 voucher program, or any similar program accepted by
    Management, and such program includes a Tenancy Addendum, that Tenancy Addendum is made part of this Lease.

47. GENERAL COMMUNITY. RULES---NOTE: This list may not be all inclusive. See the Resident Handbook for additional
     "Rules and Regulations". The Resident Handbook is incorporated into this Agreement by reference.
    a.     General Community Rules may be added to or amended by Management with a thirty (30) day written notification to Resident.
    b.     Resident may be assessed service fees, damages and other charges for violations of General Rules at the discretion of
           Management.
    c.     Resident agrees to complete, sign, and return a move-in inspection form to Management upon obtaining possession of
           Apartment.
    d.     Laundry facilities may be used only at times directed by Management, and in accordance with posted restrictions.
    e.     All trash and garbage is to be placed inside the provided dumpsters. All boxes should be flattened before disposal. Placing
           oversized items such as furniture in or around the dumpster area is not permitted. Resident agrees to comply with any recycling
           programs or requirements in place at the rental premises.
    f.     Except as may be otherwise required by law, no sign, signal, illumination, advertisement, notice or any other lettering or
           equipment shall be exhibited, inscribed, painted, affixed, or exposed on a window or any part of the outside or inside of the
           Apartment or the Building without the prior written permission of Management.
    g.    No awnings or other projections including air conditioners, TV or radio antennae or wiring shall be attached to or extended
           from the outside walls, or roof of the building.
    h.     Resident shall not alter any lock or install a new lock, knocker, peephole or other attachments on any door of the Apartment
          without the written permission of Management. No security system, alarm, monitoring system service, or similar may be
           installed without Management's prior written consent. Management will not consent to any security system, monitoring
           system, alarm or similar that would bring a third person, service, or first responder to the premises. Resident is permitted to
           install cameras (i.e. nanny cams) that are exclusively monitoring conditions within Resident's apartment. For privacy purposes
           of other residents, cameras and other monitoring may not be installed so as to monitor any common areas of the premises. All
          permitted alterations, additions and fixtures shall remain as part of the apartment unless Management otherwise elects.
    i.    No interior alterations, painting, or redecorating may be done to the Apartment without written permission of Management.
          Resident may not install or use additional major appliances such as washers, dryers, freezers, portable dishwashers, etc.
   j.     Only small nails may be used for hanging pictures. No adhesive tape hangers or tape shall be applied to the walls, doors, or
          window casings. No nails or screws shall be driven into the woodwork. No mounting of any kind shall be attached to the
          ceilings.
   k.     No music, other sounds or any other conduct (i.e. exercise equipment, gaming systems, computers, or similar) that may disturb
          or annoy other tenants is permitted at any time. Subwoofers are not allowed.

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         Not to act in a loud, boisterous, unruly or thoughtless manner or disturb the rights of the other residents or neighbors near the
         rental premises, to peace and quiet, or to allow his/her guests to do so. Certain exercise equipment may be prohibited except
         on the first floor. Any act or omission that disturbs other tenants or tenants' guests is prohibited.
  In.    The toilets, basins and other plumbing fixtures shall not be used for any purpose other than for those for which they were
         designed. Any damage resulting from or related to the misuse of such fixtures shall be paid for by Resident. Nothing but
         ordinary toilet paper (no wipes!) may be used in any commode.
  n.     Use of all recreation and other common area amenity areas/facilities shall be restricted to Resident and limited guests only.
         Guests are not permitted to use recreational facilities of common area amenities unless accompanied by a Resident or having
         prior written consent of Management. The use of said facilities shall be in accordance with posted rules that may be changed
         from time to time.
  O.     If Resident installs drapes, they must hang inside the blinds provided by the property and be 2 feet above the heat register.
  P.     No rugs, linens, or other linen items shall be hung or shaken from the windows, balconies, stairways, or landings. No rubber
         backed rugs are permitted as this will damage carpet, vinyl flooring.
  q.     Resident agrees not to use balconies or patios for storage. Outdoor furniture and decor designed for outdoor use is required.
        No feeding of pets, wildlife, or birds are permitted on any balcony, patio, or in any common area. Such feeding creates a risk
         of attracting pests and vermin. Any planting must have a bowl or protective container to prevent water from staining or leaking
        to other balconies or areas. No potting soil or materials that could be flammable are permitted in any area. There shall be no
        open flame equipment or other items (i.e. torches, kerosene lanterns, barbeques, "fire tables", candles, or similar, used on any
        patio or balcony. Balconies, patios and garage stalls shall be maintained in a neat appearance and free from fire hazard at all
        times.
  r.    All garages and other parking facilities provided by Management may be subject to building specific rules, including any
        posted rules or policies. Resident must comply with building rules and posted policies. Failure to comply with posted rules
        and policies may result in vehicles being towed without notice. Most of Management's rental communities require that all
        Resident vehicles be registered with Management. Failure to register a vehicle, or to provide documentation (such as proof of
        ownership and current liability insurance) as a condition for registration is a violation of this Lease. Parking facilities are
        provided for the exclusive use of residents for their regularly used, and standard size cars, SUVs, vans and light duty trucks)
        Any unused or inoperable vehicle, trailer, boat or recreation vehicle, any vehicle not considered 'street legal', any vehicle
        parking in a no parking area, and/or any vehicle not displaying the required permit or sticker per property policy will be towed
        away without notice and at the vehicle owner's expense. Management may prohibit commercial vehicles, busses and large
        vans or trucks.
 S.     Vehicle maintenance and repairs, including oil changes, car washing, are not permitted. Any vehicle that is not operable, or
        is leaking fluids or causing damage in any way to road ways, garages or parking lots at the community, must be removed at
        once or may be towed by Management without prior notice.
        Motorcycles and bicycles must be parked in designated areas.
 u.     Residents are not to do anything in the apartment that results in offensive, pervasive, or strong odors that could disturb other
        residents in adjoining apartments or common areas. Pervasive odors due to cooking, incense burning, aroma therapy, food
        preparation, arts and crafts, or any other cause that could reasonably be offensive to other persons in the building must be
        curtailed, eliminated, or confined to the apartment.
 V.     Residents are not to store or keep excess amounts of personal property or other materials in the apartment. If, in Management's
        sole discretion, Resident has excess personal property or other materials in the apartment so that space in the apartment is
        unduly cramped and ingress and egress is restricted so that Management believes it could cause health and safety hazards,
        inhabit the heating and air conditioning performance of the building to maintain proper air flow and climate control, or could
        impede the efforts of first responders in case of an emergency, or casualty Management may require Resident to remove such
        personal property and or arrange for alternate storage space at resident's sole expense.
 w.     Resident or Resident's guest or family members will not interfere with the Management or maintenance staff at the property
        including but not limited to failing to allow maintenance access to make repairs and/or scream, yell, or use foul and offensive
        language with any maintenance or office staff personal.
 x.     Management is a fair housing provider. Any speech, conduct, or gesture, by Resident or Resident's guest directed at another
        tenant, tenant's visitor, Management staff, or a neighboring resident that is harassing, discriminatory, or offensive based on
        protected class status, is prohibited.
 y.     For fire safety purposes, Residents are reminded to not place matches or lighters where children can reach them, to regularly
        remove and clean grease from cooking range, oven, exhaust fans and vents, do not use worn electrical cords, do not overload
        electrical outlets, never leave candles or any burning object unattended, always be attentive when cooking. Most household
        fires are due to inattentive cooking. Do not leave any object that generates heat, such as a curling iron, incense, or any other
        burning object where it may cause damage (i.e. on a shelf, near a fluttering curtain, in the presence of animals, where it could
        start a fire). Live Christmas trees and wreaths are not permitted. No fireworks, even "legal" fireworks are permitted anywhere
        at the rental property. Never leave any paper, flammable, or other object not designed for cooking near stoves or cooktop
        surfaces. Residents in units that have a water heater, furnace, or other heating unit, should keep all paper and other flammable
        materials away from any heat source to prevent fire hazard.

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  z..     Employees Only—The "Employee Lease Addendum - MARKET RATE" is part of this Lease, as applicable. The Employee
          Lease Addenda applies to the "initial" lease as well as to "all future leases".

48. PEST CONTROL RULE: All Residents are required to assist Management in pest control procedures. Your participation in our
    pest control treatment program is MANDATORY. If your unit is not ready when our pest control vendor is treating units, you may
    be required to pay a re-treatment or second visit fee. You are required to comply with all requests for readying your unit for pest
    control treatments which may include emptying cupboards, removing materials from under sinks or vanities, and other requests.

   Residents are also required to follow any recommendations or treatment control instructions of our pest control provider. Some pests,
   such as bedbugs, may require Residents to dispose of, or professionally clean (at high temperatures or with chemical treatments)
   personal property and fabrics. Residents are responsible for all costs of treating or removing personal property, furniture, mattresses,
   and, fabrics needed to achieve effective pest control. Management will not reimburse or replace personal property that must be
   treated or eliminated.

   Failure to follow the requirements of our pest control vendor is a breach of your Lease. Cleanliness and vigilance are the best
   preventative medicine in controlling pests. Dispose of all garbage and waste. Do not leave food, dirty dishes, or soft drink
   bottles/cans lying around. Do not bring cardboard boxes, crates, or other materials that may have been accessible to pests into your
   Apartment. Storage of foodstuffs, grains, or like materials should only be in plastic or metal sealed containers. Be careful bringing
   luggage and used furniture or property into your Apartment. Some pests, like bedbugs, can hitchhike on you or your belongings.
   Even the "cleanest" housekeeper may pick-up a bedbug from clothes at a laundry, luggage and travel.

   Please notify Management if you see signs of pests in your apartment or any other place in the building. Failure to promptly notify
   Management of pests in your unit is a serious violation of your Lease. Prompt notification to Management is necessary to prevent
   pest infestation and to keep pests from spreading. If Management learns that an Apartment has had an ongoing pest problem that is
   not reported, this may be grounds for lease termination, non-renewal or charging Resident for lost rents, pest treatments and damages
   in Resident's Apartment or in other Apartment or common areas.

ENTIRE AGREEMENT AND ATTACHMENTS. Management and Resident agree that certain additional documents relating to
this Lease exist and form a legally binding part of this Agreement. The additional documents are as noted and acknowledged below
and with this Lease constitute the entire Agreement between Management and Resident. Both Resident and Management agree that if
any pail of the Agreement is found to be illegal or invalid, all other terms of the Agreement shall continue and both parties shall continue
to be bound by them. No oral agreements have been entered into.



I/We Understand that upon signing this lease, INVe have received a copy of the following documents:
     Required Addenda                                            If Applicable Addenda
g Lease                                                      E Animal License Agreement
   Addendum to Apartment Lease Tax Credit                    EConcession Addendum
D Tax Credit Increase and Disclosure Addendum                   Early Lease Termination Agreement
   Resident Handbook                                         0 Employee Lease Addendum - MARKET RATE
   Animal/Pet Policies                                       0 EPA Booklet (Lead Based Paint Properties Only)
i. Violence Against Women (Lease Addendum)                   0 Historical Walls and Ceilings
   Utility Confirmation                                         Lead Based Paint Disclosure
   Demographics                                             -k Lease Agreement Garage/Storage Locker Addendum
0 HUD 5380 - Notice of Occupancy Rights                      [3Package Room Addendum
                                                            RResident Surety Bond
                                                                Smoke Free Addendum
                                                             O Utility Addendum - Allocation
                                                             0 Other:


                                                                                    Resident(s) Initials




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BY SIGNING THIS DOCUMENT. I ACKNOWLEDGE THAT I HAVE READ THIS LEGALLY BINDING AGREEMENT IN ITS ENTIRETY (LEASE
AND APPLICABLE ADDENDA) AND UNDERSTAND AND AGREE TO COMPLY WITH THE TERMS THEREOF. FURTHERMORE, I
UNDERSTAND THAT ANY VIOLATIONS OF THE TERMS CONSTITUTES AN INFRACTION OF THE AGREEMENT AND MAY RESULT IN
EVICTION FROM THE APARTMENT. A COPY OF THE EXECUTED AGREEMENT HAS BEEN PROVIDED BY MANAGEMENT.


RESIDENT                               t DATE        RESIDENT                             DATE



RESIDENT                                DATE         RESIDENT                             DATE




DOMINIUM MANAGEMENT SERVICES, LLC, Owners Agent                                           DATE




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                                                            TAX CREDIT LEASE ADDENDUM


DOMINIUM

Resident(s) Name: Susan fluff
Unit #      416


        THIS ADDENDUM is being attached to, and incorporated by reference in, that certain Apartment Lease (the "Lease") between
        the undersigned landlord and the undersigned Tenant for the purpose of modifying certain terms and conditions of the Lease.
        The terms and conditions of this Addendum shall supersede the terms and conditions of the Lease to the extent inconsistent
        therewith.

1.      Low -Income Housing Credit. The premises are to be operated in accordance with the requirements of the low-income housing
        credit program under Section 42 of the internal revenue Code of 1986, as amended (the "Program"). Tenant's rights hereunder
        shall be subject to the requirements that must be met under the Program in order for the Landlord to qualify to take the cost
        of the premises into basis for calculation of Landlord's tax credit. Tenant shall cooperate with all Landlord requirements related
        to such compliance and the Program.

2.      Permitted Occupants. Only the following persons will be permitted to occupy the premises:
            Susan Iliff




        Tenant shall not allow any other person to move into the premises without Landlord's prior written approval.

3.      Income Certification. Tenant has or will complete and execute an Income Certification Form prior to commencement of the
        lease term, and shall complete and execute further income Certification Forms at Landlord's request at least annually hereafter.
        Upon request by Landlord, Tenant shall recertify Tenant's household income to Landlord or any governmental or quasi -
        governmental agency in a manner satisfactory to Landlord, and shall complete any and all other certifications and supply
        further documentation with respect to income and occupancy of the premises as may be reasonably requested by Landlord.
        Failure to provide accurate and timely income certification will constitute a breach of this lease.

4.      Recertified Income. Tenant acknowledges that the annual recertification of Tenant's household income must meet the
        limitations imposed by the Program for continued occupancy of the premises.

5.      Information Supplied. Tenant hereby certifies that the information supplied by tenant to Landlord that was taken into
        consideration by Landlord in determining Tenant's qualifications to rent the premises, including Tenant's Application, Income
        Certification and Recertification, is accurate, complete, and true in all respects.

6.      Increased Income. If, upon annual recertification, Tenant's household income exceeds 140% of the applicable Program limits,
        Landlord may: (a) increase Tenant's monthly rent to the Maximum Allowable Rent, or (b) move Tenant to a market rate unit.
        This does not pertain to 100% tax credit properties.

7.      Certain Changes. Tenant shall notify Landlord immediately in writing if Tenant's household size changes and/or Tenant
        become(s) a full time student. If Tenant becomes a full time student the tenant or household may not qualify for tax credit
        housing.




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                                                                                    DMS Operations Policies Procedures Manual —Leases
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8.          Smoke Detector. Landlord and Tenant each hereby acknowledge that state law requires the owner (Landlord) of a dwelling to
            install a functional smoke detector in the basement of the dwelling and on each floor level of each dwelling unit, except the
            attic or storage area of a dwelling unit. State law further requires the occupant (Tenant) to maintain any smoke detector in the
            premises unless the occupant (Tenant) or a government building inspector gives written notice to the owner (Landlord) that
            the smoke detector is not functional. Owner (Landlord) shall within 5 days after receipt of such a notice provide any
            maintenance necessary to make the smoke detector functional. Upon discovery that a smoke detector in the premises requires
            maintenance, occupant (Tenant) agrees to immediately either provide any maintenance necessary to make that smoke
            detector functional or provide owner (Landlord) written notification of the required maintenance.

9.          Barrier-Free Units. If the premises are barrier-free and neither Tenant nor any member of Tenant's household uses a
            wheelchair, Landlord may require Tenant to relocate to a non barrier-free unit upon ten (10) days written notice if (a) a non
            barrier-free unit to which Tenant may relocate is available, and this unit is suitable for (b) a person who uses a wheelchair
            wishes to lease the premises.

10.         Security Deposit. Tenant hereby authorizes Landlord to deposit the security deposit funds required by the Lease in a interest-
            bearing account in any bank, savings and loan association, credit union or elsewhere as permitted by applicable law. Interest
            earned may be disbursed to Landlord, except interest required by applicable law to accrue to the benefit of Tenant, which
            interest shall be disbursed as required to Tenant.

11.      Drug Free Housitzig. In consideration of the execution or renewal of a lease of the dwelling unit identified in the lease,
         Management and Resident agree to the following pertaining to Drug Free Housing:
        a.       Resident, any member of Resident's household, or a guest or other person shall not engage in drug -related activity,
                 on or near the premises. "Drug-related activity" means the illegal manufacture, sale, distribution, use or possession
                 with the intent to manufacture, sell, distribute or use of a Controlled Substance 21 U.S.C. 802.
        b.       Resident, any member of the Resident's household, or a guest or other person shall not engage in any act intended to
                 facilitate drug -related activity, on or near property premises.
        c.       Resident or members of the household will not permit the dwelling to be used for, or to facilitate drug -related
                 activity, regardless of whether the individual engaging in such activity is a member of the household or a guest.
        d.       Resident or members of the household will not engage in the manufacture, sale or distribution of illegal drugs at any
                 location, whether on or near property premises or otherwise.
        e.       VIOLATION OF ANY OF THE ABOVE PROVISIONS SHALL BE A MATERIAL VIOLATION OF THE LEASE AND GOOD
                 CAUSE FOR TERMINATION OF TENANCY. A single violation of any of the provisions of this addendum shall be
                 deemed a serious violation and a material noncompliance with the lease. It is understood and agreed that a single
                 violation shall be good cause for termination of lease.
        f.       Resident, any member of the Resident's household, or a guest or other person shall not engage in acts of violence or
                 threats of violence, including, but not limited to, the lawful discharge of firearms on or near property premises.

        IN WITNESS WHEREOF, the undersigned have duly executed the addendum or caused it to be duly executed as of the date of
        the Lease.


Resident(s):                                                          Owner's Agent:



Signature                                         Date



Signature                                         Date                Authorized Representative                   Date



Signature                                         Date



Signature                                         Date




                                                                                       DMS Operations Policies Procedures Manual —Leases
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              MINNESOTA
              HOUSING
                                            RESIDENT NOTIFICATION LETTER

As a resident of River North                          (name of property), a property funded under the Low
Income Housing Tax Credit Program CHIC Program), you have certain rights stated in your lease and the attached
Lease Rider. Your landlord must follow federal and state rules for the HTC Program. One of the important
protections provided by federal law is that you cannot be evicted from your home or have your tenancy
terminated without good reason or "good cause."

Your landlord may not evict you or terminate your tenancy (including refusing to renew your lease) without good
cause. Good cause is (a) serious or repeated violation(s) of the material terms and conditions of your lease. The
landlord must state, in writing, the good cause in any eviction, lease non -renewal or termination of tenancy
notice. If you did not do what your landlord claims in the notice, or if you think it was not serious enough for
your lease to be terminated or not renewed, you can ask the landlord if there is an appeal process. If there is no
appeal process, you may request that the termination be retracted and discuss your reasons why. If you receive a
notice of eviction, you have a right to contest the eviction in court by explaining to the judge why you disagree
with the reasons for terminating your lease. Visit www.lawhelpmn.org to see if you qualify for free or low-cost
legal assistance.

In addition, your landlord may not increase the amount of rent stated on your lease more than once annually.

The attached Lease Rider should already be signed by your landlord. You and all members of your household age
18 or older must also sign the Lease Rider in order to make it part of your lease.

The Lease Rider needs to be signed each time you sign a new lease. If at any time additional adult household
members enter the unit or a child who lives in that unit turns 18, they should add their signature to the existing
Lease Rider with the current date.

Your landlord also has a legal obligation to comply with the statutory requirements found in Section 601 of the
Violence Against Women Reauthorization Act of 2013 (VAWA).

Under VAWA, you may not be denied admission, denied assistance, terminated from participation, or evicted on
the basis that you are or have been a victim of domestic violence, dating violence, sexual assault or stalking, if you
otherwise qualify for admission, assistance, participation or occupancy.

You should have received the following when you were approved for occupancy or at some time during your
occupancy:
    •   HUD Form 5380 — Notice of Occupancy Rights under the Violence Against Women Act; and
    ▪   HUD Form 5382 — Certification of Domestic Violence, Dating Violence, Sexual Assault, or Stalking, and
        Alternate Documentation.

The landlord must also include these documents with any notice of eviction, lease non -renewal or termination of
tenancy. You may also have signed a VAWA Lease Addendum.

If you have any questions concerning this matter, please contact your resident manager,     AMNIAPOflIJY
                , or your landlord al      - (02..
                                         (0.3   - 14-7(02..                      (phone and email).
                                      rOAVy   • rrTh.tD                         cow_
Sincerely,

  4/1S10,--
Property Representativame        print
                                  4na' and -sign)                                   12-1' 497j—a
                                                                                            Date



Minnesota Housing                                                                                 Ver. 1/2020
                                                    Ex.A._016
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               MINNESOTA
               HOUSING
                             LOW INCOME HOUSING TAX CREDIT LEASE RIDER
                                      (attach to resident lease)

Property Name: River North

Building/Unit #: 01 / 416

Head of Household Name: Susan Iliff
                 0/0//2620
The Lease dated -04/01/2020  is hereby amended by adding the following provisions:
            initme -
  1.    Owner/Landlord may not evict or terminate the tenancy (including refusing to renew this Lease)
        except for good cause. Good cause means (a) serious or repeated violation(s) of the material
        terms and conditions of the Lease. Any eviction, lease non -renewal or termination of tenancy
        notice must be in writing and must state the specific violation(s). The notice must comply with all
        requirements of Minnesota law and other applicable programs.
  2.    Owner/Landlord may not increase the lease rent more than once annually, regardless of the term
        of the Lease.

To the extent that any terms contained in the Lease or any other agreement between the owner and the
tenant contradict the terms of this Lease Rider, the provisions of this Lease Rider shall control.

By signing below, I indicate my consent to this Lease Rider:

                 )(rb                                 Aanot yritcj                               2,6
                                                                                              12_6
                                                                                           /2,1,,, -
Property Represen= Name (print)                            (signature                       Date

*************************************************************************************



By signing below, I indicate my consent to this Lease Rider. l/we have been given a copy of this Lease
Rider.

Susan Iliff
Resident Name (print)             (signature)                                       Date


Resident Name (print)             (signature)                                       Date


Resident Name (print)             (signature)                                       Date


Resident Name (print)             (signature)                                       Date




Minnesota Housing                                                                                  Ver. 1/2020


                                                Ex.A._017
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                                                 DOMIMUM
                                  DOMINIUM MANAGEMENT SERVICES, LLC
                                      ANIMAL LICENSE AGREEMENT

Management agrees to extend a license to permit Resident(s) to keep the animal or animals described below
(referred to as "animal" whether one or more) in Resident(s)' unit. The license only applies to the animal described
below and is nontransferable. A new agreement, is required to add or replace an animal. Resident(s) understand
that the following rules and restrictions must be followed or this license may be terminated. Upon termination it is
Resident (s)' responsibility to immediately and permanently remove the animal from the rental premises. A breach
of this Agreement is a breach of the lease and gives Management all rights and remedies it has to enforce the
lease.

Resident(s) may keep the animal described below in the rental unit subject to the following rules and conditions:

1.      Resident(s) shall provide Management with evidence from a veterinarian or other like authority, such as the
        Humane Society, that the animal has been spayed or neutered. Evidence from a veterinarian on the age,
        breed, and in the case of dogs weight, of the animal is required.

2.     Upon request, Resident(s) shall provide Management with proof that all animal vaccinations and other
       appropriate veterinary care has been obtained. Any license, tags or other requirements of any municipality
       where the rental community is located shall be obtained. Proof of such compliance must be provided to
       Management as requested.

3.     Resident(s) must provide names and contact information for two alternate animal care providers. In the
       event there is any question that the animal owned by Resident(s) is receiving appropriate care, or
       Resident(s)' whereabouts are not known, Management in its sole discretion shall have the right to contact
       an alternate animal caregiver to come and take the animal or to otherwise arrange for care and boarding
       of the animal. Management shall have no duty or obligation to contact Resident(s)' alternate animal
       caregiver if there is any doubt or question about the appropriate care, health, or behavior of the animal.
       Management shall be free to contact the local Animal Human Society or Animal Control or similar authority
       or agency herein to remove the animal in lieu of efforts to contact an alternate animal care provider or if
       efforts to contact the alternate animal care provider are not successful.

4.     When outside of Resident(s)' unit, animal must bean a leash, or otherwise in a secure animal container, and
       under actual physical control at all times.

5.     Resident acknowledges that other residents or guests may have spiritual or cultural objections to animals or
       have allergies, fears, or health sensitivities. Resident(s) agrees to reasonably work with Management to
       respond to complaints or concerns raised by neighbors and other residents. Management may set, or
       change, rules from time to time restricting animals (with the exception at service animals) from common
       areas. Further, Management may restrict animal/pet ownership to certain areas, floors, or buildings of the
       rental community to the extent this is permitted by law and/or as limited by Management's duty to allow
       animals necessary to accommodate a disability.

6.      Animals may not be left unattended at any time outside of your unit. This includes patios and balconies.

7.      Resident(s) is responsible for containing the animal or having Resident(s), or an animal sitter, if requested by
        Management, in the unit to care for the animal when Management gives notice that it needs to enter the
        unit for repairs, inspections, or showings.



DEHana05 I616 I                                                                           Dominium Policy & Procedure
CI                                                                                                           07/15116

                                                     Ex.A._018
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8.     Dogs are required to urinate and defecate in outdoor areas only. Dogs may not urinate or defecate in the
       unit, or on any patio or balcony, or in common hallways. "Pee pods" or fake indoor grass are not allowed for
       any type of animal. Management may designate areas of the community as animal relief areas and these
       areas must be used. Any damage done to grass, shrubbery, plantings, carpet, or othersproperty in the
       building, in common areas, or to outdoor areas by Resident(s)1 animal will be charged to Resident(s) and
       must immediately be paid. Management reserves the right to implement, and to require, that a DNA
       sample be provided in advance of any animal being approved. The DNA sample may be used to
       determine the source of any animal waste. If any waste that is not completely removed or properly
       cleaned matches Resident's animal, Resident(s) may be charged testing costs and issued a lease violation.
       Repeat violation is a basis for termination of this License Agreement, lease termination, and/or eviction.

9.     Cats must be litter box trained. Residents must change cat litter at least twice a week, or more, if needed to
       avoid odors in the unit or in common areas. Litter must be disposed of in sealed bags and carried to
       appropriate trash containers. Disposal of litter or animal waste in any drain or toilet in your unit or the
       community is prohibited.

10.    Any complaints about Resident(s)' animal or the animal's condition or behavior from Residents, neighbors,
       guests, or Management's agents (such as noise, barking, whining, odors, the presence of fleas, ticks, or other
       pests or conditions, aggressive or nuisance behaviors) shall be grounds for revocation of this license and/or
       lease enforcement.

       Resident(s) agrees to be responsible for any and all damage done by the animal to the unit, or any
       common area in the rental community, including, but not limited to, stain removal, deodorizing, wood
       resurfacing and repair/replacement, carpet replacement, etc. These costs may be in excess of any
       damage deposit paid by Resident(s) and Resident(s) responsibility is not limited to the amount of any
       deposit. Resident agrees that Management shall be entitled to use funds in the security deposit to
       professionally clean the carpet in the entire unit, including treatments or actions for odor treatment, when
       Resident vacates.

12.    Resident(s) agrees to be responsible for any damages or claims brought by any third person as a result of
       Resident(s)' animal. Resident(s) will be liable for the entire amount of any damages or claims for injuries to
       person or property caused by Resident(s)' animal. It is strongly recommended that Residents who own an
       animal purchase a personal liability insurance policy, such as renters' insurance with a liability rider, to
       protect against claims or damages. Resident(s) agrees to indemnify and hold Management harmless from
       any claims brought by any person relating to any damage or injury caused by Resident(s)' animal. Such
       indemnity shall include reimbursing Management for all costs of defense, including reasonable attorneys'
       fees, in defending any claim naming Management as a result of Resident(s)' animal.

13.    An animal owner may not alter the interior or any exterior physical structure of a dwelling unit, or yard, to
       create an animal enclosure or entrance. This includes the installation of any fences.

14.    The bathing of any animal is not be permitted in any laundry room, garage, or any other common area.

15.    Resident(s) shall provide for proper care of the animal on a daily basis. A reason to believe the animal has
       not received adequate care, has been abused, is unattended, or is in need of veterinary care, are grounds
       for Management to contact the Humane Society and/or Animal Control or an alternative care provider to
       remove the animal.

16.   This Animal License Agreement is an additional addendum to Resident's lease. Any violation of this
      Agreement gives Management the same rights and remedies provided in the lease. Management, in its
      discretion, may issue a warning or notice to Resident(s) of violation of this Agreement; may give Resident(s) a
      notice that this License has been revoked and require Resident(s) to provide proof that the animal has been
      removed from the household; or give Resident(s) a notice of lease termination or eviction. Notwithstanding
      the forgoing, a notice from any police department or municipal authority that the Resident's animal has
      been designated a potentially dangerous animal, or any other complaint or report that Resident(s)' animal
      has bitten or attacked any person or animal, has become threatening, vicious or aggressive, or has


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         displayed symptoms of an illness or behavior so as to constitute a nuisance or threat to the health or safety
         of the community, will be grounds for Management to demand that the animal be removed at once.


17.      With the exception of service animals or assistance animals needed for a disability, any animal approval
         fees, additional security deposits per animal, and monthly rent or charges, plus any costs or charges for
         advance DNA identification testing, must be timely paid. Failure to pay any monthly rent or charge shall be
         subject to any late fee owed under the lease and to lease enforcement up to and including an eviction
         action for nonpayment of rent and amounts owed under the lease. Approval fees and deposits are to be
         paid in advance of this Agreement being signed and before any animal is brought to the premises.

This license applies to the animal described below:

Animal's name:                                  Animal's name:
Type of animal:                                 Type of animal:

Description of animal - age, color(s), breed:


Description of animal - age, color(s), breed:


For a dog, weight:                                        For a dog, weight:


Alternate animal care provider #1:

(Name)                                          (Address)

(Phone Numbers)                                 (Email)

Alternate animal care provider #2:

(Name)                                          (Address)

(Phone Numbers)                                 (Email)


AGREED TO:

Resident(s)                     Print unit # and address        Date


(Resident #1)


(Resident #2)


(Resident #3)

Management will sign this License upon Resident meeting the conditions, and providing the information, required
above.

By:                                             Date:

Its:

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                                                       DOMIN1UM
                                              ANIMAL/PET POLICIES

Dominium Management Services, LLC (Management) manages a variety of rental communities. Some of the properties we
manage allow residents to own one or two cats. Dogs, with the exception of assistance animals necessary to
accommodate a disability, are prohibited at many of the rental communities we manage. Applicants and residents should
check with the site office for your rental community to determine what animals are permitted and any requirements to pay
a nonrefundable animal approval fee, an additional security deposit, or additional monthly pet rent.

Any cat(s) or dog at Management properties are subject to these animal policy requirements. Cat and dog owners are
required to have Management consent and to sign an Animal License Agreement. A copy of our standard Animal License
Agreement is available on request. Pet owners must use the Animal License Agreement to register their pets with
management before the pet is brought on premises and must update registration annually. Registration must include the
following: certification of inoculation, information sufficient to identify the pet and demonstrate that it is a common
household pet, name, address and phone number of at least one responsible party who will care for pet if owner dies or is
unable to provide care.

                                                      Animals Permitted

Birds - limit two. Only species that are normally kept as household pets, such as canaries or parakeets are permitted. Birds
must be confined in cages at all times. Birds of prey are not permitted. Management's advance consent to own up to two
birds is not required. But complaints about any noise, odors, or problems associated with birds is grounds to terminate
resident's right to own or keep a bird(s).

Fish - in tanks or aquariums, not exceeding 20 gallons in capacity. Poisonous or dangerous fish are not permitted.
Occupant agrees not to keep or permit a fish tank or aquarium, not exceeding 20 gallons in capacity, unless Occupant is
able to provide proof of Renter's Insurance.

No snakes, rodents, reptiles, insects, or other mammals, except cats and dogs as set forth below, are allowed.

Cats and dogs - where cat(s) or a dog are permitted as pets, applicant/resident will be required to pay the fees and
deposits in effect at the specific site, as outlined on page two of this document.

The following rules apply to any cat or dog ownership (if permitted):

Dogs must be housebroken. Cats must be trained to a litter box.

Animals must be at least one year of age. This must be confirmed by documentation from a veterinarian.

Animals must be spayed or neutered.

At the time of approval for any dog, and for cats upon request, you must provide Management with proof that all required
vaccinations have been given. Updates on required vaccinations and other appropriate veterinary care must be provided
on request.

Management reserves the right to screen any request for approval of an animal and to reject any dog that has any history
of aggressive or nuisance behavior, including full or mixed breed dogs that are breeds known for aggressive behaviors. The
following breed or breed mixes are prohibited unless already owned by an applicant/resident as an assistance animal for a
disability in which case a specific dog of a normally prohibited breed may be subject to individual screening: Piibulls, Presa
Canario, or Mastiffs, American Staffordshire Terrier, Staffordshire Bull Terrier, Chow-Chow, Dalmatian, German Shepard,
Rottweiler, and Doberman. Individual sites may have limits based on dog weight.

Proof of any license required by the applicable city or municipality must be provided.

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You should apply for Management's consent to approve an animal, and provide the documentation and fees required to
Management, before any cat or dog is brought to your apartment. It is your responsibility to discuss with Management your
intention or desire to own a cat dog as an assistance animal for a disability. Management will make exceptions
(accommodations) in the above rules regarding cat/dog ownership if necessary for a disability related need.


 agree to comply with these Animal Policies and to not allow any animal on the property, except permitted birds and fish,
with Management's prior written consent.

I do not own an animal D.


I do own an animal(s) and understand I must have a signed Animal License Agreement for each animal El.



Agreed to:
                   Resident                                      Date


                   Resident                                      Date




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                                                        DOMINIUM

                                 APARTMENT SPECIFIC ANIMAL POLICIES



1 to 2 Cats

                  Additional Security Deposit Per Cat

                  Nonrefundable Animal Approval Fee

                  Per Month per Cat Rent



1 to 2 Dogs

                 Additional Security Deposit

                  Nonrefundable Animal Approval Fee

                  Per Month Dog Rent


Up to 2 Pets




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                                                                   ANIMAL/PET POLICIES


DOMINIUM

Resident(s) Name: Susan huff
Unit # 416

Dominium Management Services, LLC (Management) manages a variety of rental communities. Some of the properties we manage allow
residents to own one or two cats. Dogs, except for assistance animals necessary to accommodate a disability, are prohibited at many of
the rental communities we manage. Applicants and residents should check with the site office for your rental community to determine
what animals are permitted and any requirements to pay a nonrefundable animal approval fee, an additional security deposit, or additional
monthly pet rent. Dominium prohibits visiting pets.

Any cat(s) or dog at Management properties are subject to these animal policy requirements. Cat and dog owners are required to have
Management consent and to sign an Animal License Agreement. A copy of our standard Animal License Agreement is available on
request. Pet owners must use the Animal License Agreement to register their pets with management before the pet is brought on
premises and must update registration annually. Registration must include the following: certification of inoculation, sufficient
information to identify the pet and demonstrate that it is a common household pet, name, address and phone number of at least one
responsible party who will care for pet if owner dies or is unable to provide care.

                                                           Animals Permitted

Birds —limit two. Only species that are normally kept as household pets, such as canaries or parakeets are permitted. Birds must always
be confined to cages. Birds of prey are not permitted. Management's advance consent to own up to two birds is not required. But
complaints about any noise, odors, or problems associated with birds is grounds to terminate resident's right to own or keep a bird(s).

Fish — in tanks or aquariums, not exceeding 20 gallons in capacity. Poisonous or dangerous fish are not permitted. Occupant agrees not
to keep or permit a fish tank or aquarium, not exceeding 20 gallons in capacity, unless Occupant is able to provide proof of Renter's
Insurance.

No snakes, rodents, reptiles, insects, or other mammals, except cats and dogs as set forth below, are allowed.

Cats and dogs —where cat(s) or a dog are permitted as pets, applicant/resident will be required to pay the fees and deposits in effect at
the specific site, as outlined on page two of this document.

The following rules apply to any cat or dog ownership (if permitted):

Dogs must be housebroken. Cats must be trained to a litter box.

Animals must be at least one year of age. This must be confirmed by documentation from a veterinarian.

Animals must be spayed or neutered.

At the time of approval for any dog, and for cats upon request, you must provide Management with proof that all required vaccinations
have been given. Updates on required vaccinations and other appropriate veterinary care must be provided on request.

Management reserves the right to screen any request for approval of an animal and to reject any dog that has any history of aggressive
or nuisance behavior, including full or mixed breed dogs that are breeds known for aggressive behaviors. The following breed or breed
mixes are prohibited unless already owned by an applicant/resident as an assistance animal for a disability in which case a specific dog of
a normally prohibited breed may be subject to individual screening: Pitbulls, Presa Canario, or Mastiffs, American Staffordshire Terrier,
Staffordshire Bull Terrier, Chow-Chow, Dalmatian, German Shepard, Rottweiler, and Doberman. Individual sites may have limits based on
dog weight. The weight limit for this property is

Proof of any license required by the applicable city or municipality must be provided.



                                                                                     DMS Operations Policies Procedures Manual —Leases
                                                                                                               Rev. 09/09/19 Page 1 of 2
  DEHana0517161                                               Ex.A._024
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You should apply for Management's consent to approve an animal, and provide the documentation and fees required to
Management, before any cat or dog is brought to your apartment. It is your responsibility to discuss with Management your
intention or desire to own a cat dog as an assistance animal for a disability. Management will make exceptions
(accommodations) in the above rules regarding cat/dog ownership if necessary for a disability related need.

I agree to comply with these Animal Policies and to not allow any animal on the property, except permitted birds and fish,
without Management's prior written consent. I further agree to furnish payment for all applicable deposits and/or fees.


             One time Refundable Animal/Pet Deposit

             One time Non-Refundable Animal/Pet Deposit

             Monthly Animal/Pet Rent



n I do not own an animal.

ci   I do own an animal(s) and understand 1must have a signed Animal License Agreement.




Resident(s):                                                  Owner's Agent:
                                                              DOMINIUM MANAGEMENT SERVICES INC

Signature                                   Date



Signature                                   Date             Authorized Representative                  Date



Signature                                   Date



Signature                                   Date




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                                                                             DMS Operations Policies Procedures Manual —Leases
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  NOTICE OF OCCUPANCY RIGHTS UNDER                              U.S. Department of Housing anq Urban Development
  THE VIOLENCE AGArNST WOMEN ACT                                                    OMB Approval No. 2577-0286
                                                                                               Expires 06/30/2017

                                          For all Dominium Residents

               Notice of Occupancy Rights under the Violence Against Women Act I



To all Tenants and Applicants
The Violence Against Women Act (VAWA) provides protections for victims of domestic
violence, dating violence, sexual assault, or stalking. VAWA protections are not only available
to women, but are available equally to all individuals regardless of sex, gender identity, or sexual
orientation.2 The U.S. Department of Housing and Urban Development (HUD) is the Federal
agency that oversees that Dominium is in compliance with VAWA. This notice explains your
rights under VAWA. A MUD-approved certification form is attached to this notice. You can fill
out this form to show that you are or have been a victim of domestic violence, dating violence,
sexual assault, or stalking, and that you wish to use your rights under VAWA."

Protections for Applicants
If you otherwise qualify for assistance under project based section 8 or tax credits you cannot be
denied admission or denied assistance because you are or have been a victim of domestic
violence, dating violence, sexual assault, or stalking.

Protections for Tenants
If you are receiving assistance under project based section 8 or tax credits you may not be denied
assistance, terminated from participation, or be evicted from your rental housing because you are
or have been a victim of domestic violence, dating violence, sexual assault, or stalking.
Also, if you or an affiliated individual of yours is or has been the victim of domestic violence,
dating violence, sexual assault, or stalking by a member of your household or any guest, you
may not be denied rental assistance or occupancy rights under project based section 8 or tax
credits solely on the basis of criminal activity directly relating to that domestic violence, dating
violence, sexual assault, or stalking.

Affiliated individual means your spouse, parent, brother, sister, or child, or a person to whom
you stand in the place of a parent or guardian (for example, the affiliated individual is in your
care, custody, or control) or any individual, tenant, or lawful occupant living in your household.
Removing the Abuser or Perpetrator from the Household
Dominium may divide (bifurcate) your lease in order to evict the individual or terminate the
assistance of the individual who has engaged in criminal activity (the abuser or perpetrator)
directly relating to domestic violence, dating violence, sexual assault, or stalking.

1 Despite the name of this law, VAWA protection is available regardless of sex, gender identity, or sexual
orientation.
2 Housing providers cannot discriminate on the basis of any protected characteristic, including race, color, national
origin, religion, sex, familial status, disability, or age. HUD -assisted and HUD -insured housing must be made
available to all otherwise eligible individuals regardless of actual or perceived sexual orientation, gender identity, or
marital status.
                                                                                                        Form HUD-5380
                                                                                                               (12/2016)

                                                     Ex.A._026
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If Dominium chooses to remove the abuser or perpetrator, Dominium may not take away the
rights of eligible tenants to the unit or otherwise punish the remaining tenants. If the evicted
abuser or perpetrator was the sole tenant to have established eligibility for assistance under the
program, Dominiurn must allow the tenant who is or has been a victim and other household
members to remain in the unit for a period of time, in order to establish eligibility under the
program or under another HUD housing program covered by VAWA, or, find alternative
housing.
In removing the abuser or perpetrator from the household, Dominium must follow Federal, State,
and local eviction procedures. In order to divide a lease, Dominium may, but is not required to,
ask you for documentation or certification of the incidences of domestic violence, dating
violence, sexual assault, or stalking.

Moving to Another Unit
Upon your request, Dominium may permit you to move to another unit, subject to the
availability of other units, and still keep your assistance. In order to approve a request,
Dominium may ask you to provide documentation that you are requesting to move because of an
incidence of domestic violence, dating violence, sexual assault, or stalking. If the request is a
request for emergency transfer, the housing provider may ask you to submit a written request or
fill out a form where you certify that you meet the criteria for an emergency transfer under
VAWA. The criteria are:

       (1) You are a victim of domestic violence, dating violence, sexual assault, or
       stalking. If your housing provider does not already have documentation that you
       are a victim of domestic violence, dating violence, seXual assault, or stalking, your
       housing provider may ask you for such documentation, as described in the
       documentation section below.
       (2) You expressly request the emergency transfer. Your housing provider may
       choose to require that you submit a form, or may accept another written or oral
       request.
       (3) You reasonably believe you are threatened with imminent harm from
       further violence if you remain in your current unit. This means you have a
       reason to fear that if you do not receive a transfer you would suffer violence in the
       very near future.
       OR
       You are a victim of sexual assault and the assault occurred on the premises
       during the 90-calendar-day period before you request a transfer. If you are a
       victim of sexual assault, then in addition to qualifying for an emergency transfer
       because you reasonably believe you are threatened with imminent harm from
       further violence if you remain in your unit, you may qualify for an emergency
       transfer if the sexual assault occurred on the premises of the property from which
       you are seeking your transfer, and that assault happened within the 90-calendar-day
       period before you expressly request the transfer.

Dominium will keep confidential requests for emergency transfers by victims of domestic
violence, dating violence, sexual assault, or stalking, and the location of any move by such
victims and their families.
                                                                                      Form HUD -5350
                                                                                            (12/2016)

                                            Ex.A._027
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Dominium's emergency transfer plan provides further information on emergency transfers, and
Dominium must make a copy of its emergency transfer plan available to you if you ask to see it.

Documenting You Are or Have Been a Victim of Domestic Violence, Dating Violence,
Sexual Assault or Stalking
Dominium can, but is not required to, ask you to provide documentation to "certify" that you are
or have been a victim of domestic violence, dating violence, sexual assault, or stalking. Such
request from Dominium must be in writing, and Dominium must give you at least 14 business
days (Saturdays, Sundays, and Federal holidays do not count) from the day you receive the
request to provide the documentation. Dominium may, but does not have to, extend the deadline
for the submission of documentation upon your request.
You can provide one of the following to Dominium as documentation. It is your choice which of
the following to submit if Dominium asks you to provide documentation that you are or have
been a victim of domestic violence, dating violence, sexual assault, or stalking.

    •   A complete HUD-approved certification form given to you by Dominium with this
        notice, that documents an incident of domestic violence, dating violence, sexual assault,
        or stalking. The form will ask for your name, the date, time, and location of the incident
        of domestic violence, dating violence, sexual assault, or stalking, and a description of the
        incident. The certification form provides for including the name of the abuser or
        perpetrator if the name of the abuser or perpetrator is known and is safe to provide.
    •   A record of a Federal, State, tribal, territorial, or local law enforcement agency, court, or
        administrative agency that documents the incident of domestic violence, dating violence,
        sexual assault, or stalking. Examples of such records include police reports, protective
        orders, and restraining orders, among others.
    •   A statement, which you must sign, along with the signature of an employee, agent, or
        volunteer of a victim service provider, an attorney, a medical professional or a mental
        health professional (collectively, "professional") from whom you sought assistance in
        addressing domestic violence, dating violence, sexual assault, or stalking, or the effects of
        abuse, and with the professional selected by you attesting under penalty of perjury that he
        or she believes that the incident or incidents of domestic violence, dating violence, sexual
        assault, or stalking are grounds for protection.
    •   Any other statement or evidence that Dominium has agreed to accept.

If you fail or refuse to provide one of these documents within the 14 business days, Dominium
does not have to provide you with the protections contained in this notice.

If Dominium receives conflicting evidence that an incident of domestic violence, dating
violence, sexual assault, or stalking has been committed (such as certification forms from two or
more members of a household each claiming to be a victim and naming one or more of the other
petitioning household members as the abuser or perpetrator), Dominium has the right to request
that you provide third-party documentation within thirty 30 calendar days in order to resolve the
conflict. If you fail or refuse to provide third-party documentation where there is conflicting
evidence, Dominium does not have to provide you with the protections contained in this notice.



                                                                                     Form HUD -5380
                                                                                           (12/2016)

                                            Ex.A._028
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                                                                                                    4


Confidentiality
Dominium must keep confidential any information you provide related to the exercise of your
rights under VAWA, including the fact that you are exercising your rights under VAWA.

Dominium must not allow any individual administering assistance or other services on behalf of
Dominium (for example, employees and contractors) to have access to confidential information
unless for reasons that specifically call for these individuals to have access to this information
under applicable Federal, State, or local law.

Dominium must not enter your information into any shared database or disclose your
information to any other entity or individual. Dominium, however, may disclose the information
provided if:


    •   You give written permission to Dominium to release the information on a time limited
        basis.
    •   Dominium needs to use the information in an eviction or termination proceeding, such as
        to evict your abuser or perpetrator or terminate your abuser or perpetrator from assistance
        under this program.
    •   A law requires Dominium or your landlord to release the information.

VAWA does not limit Dominium's duty to honor court orders about access to or control of the
property. This includes orders issued to protect a victim and orders dividing property among
household members in cases where a family breaks up.

Reasons a Tenant Eligible for Occupancy Rights under VAWA May Be Evicted or
Assistance May Be Terminated
You can be evicted and your assistance can be terminated for serious or repeated lease violations
that are not related to domestic violence, dating violence, sexual assault, or stalking committed
against you. However, Dominium cannot hold tenants who have been victims of domestic
violence, dating violence, sexual assault, or stalking to a more demanding set of rules than it
applies to tenants who have not been victims of domestic violence, dating violence, sexual
assault, or stalking.
The protections described in this notice might not apply, and you could be evicted and your
assistance terminated, if Dominium can demonstrate that not evicting you or terminating your
assistance would present a real physical danger that:

1) Would occur within an immediate time frame, and
2) Could result in death or serious bodily harm to other tenants or those who work on the
property.

If Dominium can demonstrate the above, Dominium should only terminate your assistance or
evict you if there are no other actions that could be taken to reduce or eliminate the threat.



                                                                                    Form HUD-5380
                                                                                          (12/2016)

                                           Ex.A._029
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                                                                                                  5


Other Laws
VAWA does not replace any Federal, State, or local law that provides greater protection for
victims of domestic violence, dating violence, sexual assault, or stalking. You may be entitled to
additional housing protections for victims of domestic violence, dating violence, sexual assault,
or stalking under other Federal laws, as well as under State and local laws.


Non-Compliance with the Requirements of This Notice
You may report a covered housing provider's violations of these rights and seek additional
assistance, if needed, by contacting or filing a complaint with your local HUD field office.


For Additional Information
You may view a copy of HUD's final VAWA rule at https://www.hud.govisites/documents/5720-
F-03VAWAFinRule.pdf.


Additionally, Domini= must make a copy of HUD's VAWA regulations available to you if you
ask to see them.


For questions regarding VAWA, please contact your local HUD office.
For help regarding an abusive relationship, you may call the National Domestic Violence Hotline
at 1-800-799-7233 or, for persons with hearing impairments, 1-800-787-3224 (TTY).




                                                                                    Form HUD -5380
                                                                                          (12/2016)

                                           Ex.A._030
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   VIOLENCE, DATING VIOLENCE                      U.S. Department of Housing            OMB Approval No. 2502-0204
   OR STALKING                                      and Urban Development                         Exp. 630/2017
                                                        Office of Housing

                                         LEASE ADDENDUM
   VIOLENCE AGAINST WOMEN AND JUSTICE DEPARTMENT REAUTHORIZATION ACT OF 2005

     TENANT                             LANDLORD                            UNIT NO. & ADDRESS
                                        River North
    Susan Iliff                                                             Unit #416 10940 Crooked
                                        10940 Crooked Lake Blvd NW,
                                                                            Lake NW BLVD 416 Coon
                                        Coon Rapids, MN 55433

This lease addendum adds the following paragraphs to the Lease between the above referenced Tenant and
Landlord.

Purpose of the Addendum

   The lease for the above referenced unit is being amended to include the provisions of the Violence
   Against Women and Justice Department Reauthorization Act of 2005 (VAWA).

Conflicts with Other Provisions of the Lease

   In case of any conflict between the provisions of this Addendum and other sections of the Lease, the
   provisions of this Addendum shall prevail.

Term of the Lease Addendum
                                                   12-0 1
   The effective date of this Lease Addendum is --Juri-04744424 . This Lease Addendum shall continue to be
   in effect until the Lease is terminated.                            .
                                               'ma
VAWA Protections

   1. The Landlord may not consider incidents of domestic violence, dating violence or stalking as serious
      or repeated violations of the lease or other "good cause" for termination of assistance, tenancy or
      occupancy rights of the victim of abuse.
   2. The Landlord may not consider criminal activity directly relating to abuse, engaged in by a member
      of a tenant's household or any guest or other person under the tenant's control, cause for termination
      of assistance, tenancy, or occupancy rights if the tenant or an immediate member of the tenant's
      family is the victim or threatened victim of that abuse.
   3. The Landlord may request in writing that the victim, or a family member on the victim's behalf,
      certify that the individual is a victim of abuse and that the Certification of Domestic Violence, Dating
      Violence or Stalking, Form HUD-91066, or other documentation as noted on the certification form,
      be completed and submitted within 14 business days, or an agreed upon extension date, to receive
      protection under the VAWA. Failure to provide the certification or other supporting documentation
      within the specified timeframe may result in eviction.


Tenant                                                               Date


Landlord                                                             Date
                                                                                     Form HUD-91067
                                                                                            (9/2008)

                                                 Ex.A._031
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                                                                UTILITY CONFIRMATION SHEET


 DOMINIUM

  Resident(s) Name: Susan II&
• Unit #        416


 New Address: (Include Bldg. /Unit #, City, State and Zip)
 10940 Crooked Lake NW BLVD, Unit #416, Coon Rapids, MN 55433

 This form is to be given to the future resident prior to move in so they have an opportunity to transfer and set up their utilities.

 Future Resident- Please complete and return to the Management Office prior to move in.


 Utility Information


  Utility Type                  Company Name                 Contact Information          Utility Transfer Date         Utility Transfer
                                                                                                                        Confirmation #
  Electric                            -TIT

  Gas (if applicable)           MIAIVAKP 0 i ifl 4.-
                                   UkkOlit \I
  Telecommunications                                                                      N/A                           N/A
  (Phone/TV/Internet)                                                                         .
  Trash (if applicable)

  Water (if applicable)




    1:21
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                                                      Head of Household and Household Member
   Minnesota                                                          Demographic Information
   Housing -
   rinotIce Agency
Instructions: This form is to be completed by the head of household and additional household members
only after occupancy has been approved. Head of household, please complete page 1. Make copies as
needed, and complete a separate page 2 for each additional household member.

Your approval for occupancy will not be affected if you choose not to respond. The owner will submit
this information to Minnesota Housing for assessment of households being served by its financing
programs. Your cooperation is much appreciated.

Housing Information (this section to be completed by owner/agent
               Property Name River North

      Minnesota Housing D#

              Building Address 10940 Crooked Lake NW BLVD, Coon Rapids, MN 55433

                           Unit tt 416


Head of Household Information
                           Name Susan C. lliff
                Date‘,of birth
             month/day/year)                     /
                                   ii Hispanic or Latino
                       Ethnicity   E Not Hispanic or Latino
                                   ri I choose not to respond
                                   riFemale
                         Gender ::D Male
                                 111 I choose not to respond

                                   E    American Indian/Alaska Native
                                                                      E Native Hawaiian/
                         Race      r---                                 Other Pacific Islander
                                   L_ Asian
        (check all that apply)     ,                                      White
                                   Lj Black/African American
                                                                      7   I choose not to respond
  Are you mobility impaired              Yes
and requiring features of an       nI1 No
            accessible unit?       r- Ichoose not to respond
     Do you have a disability      ri Yes
         other than mobility.,     ri No
                impairment? I I I choose not to respond
                                   ri Salary/wages
  Main source of household         El
                                   r ,
                                       Self-employment
                                   n Social Security
                                                                          Interest/dividends/rental income
                                                                      fl Unemployment/disability
                                                                          Public assistance
   income (check only One)
                                   E Retirement /pension/annuity        I
                                                                      1 No income
                                   ri Alimony/child support




Head of Household Demographics                         Page 1 of 2                                    2016


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                       Pa 11,7.                                                  Household Member
      Minnesota                                                              Demographic Information
      Housing
      Finance Agency

Instructions: Complete a separate page 2 for each household member that is not the Head of
Household. Parents or guardians, please complete the form for your minor child(ren).

Your approval for occupancy will not be affected if you choose not to respond. The owner will submit
this information to Minnesota Housing for assessment of households being served by its financing
programs. Your cooperation is much appreciated.

Housing Information (this section to be completed by owner/agent)
               Property Name River North

            Building Address: 10940 Crooked Lake NW BLVD, Coon Rapids, MN 55433

                         Unit # 416


Household Member Information
                          Name
               Date of b. th
            month/day/yea                       /
  •                                —1 Hispanic or Latino
                       Ethnicity      Not Hispanic or Latino
                                   ll I oose not to respond
                                   0 Fema
                        Gender     E Male
                                   0 I choose n     to respond
                                                                          1 Native Hawaiian/
                          Race     LI American India      Alaska Native
                                                                             Other Pacific Islander
         (check all that apply)    LI
                                   r---,
                                         Asian
                                                                          -- White
                                   1 I Black/African Amerkan
                                                                          [-IIchoose not to respond
  Are you mobility impaired        [   Yes
and requiring features of an       1-7
                                    No
            accessible unit?       F-1 I choose not to respond
      Do you have a disability     n Yes
          other than mobility      E No
                 impairment?       LI I choose not to respond




Household Member Demographics                         Page 2 of 2                                     2016


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                                                        Exhibit B
                                           Certification of Tenant Eligibility
                                                 (AGE CERTIFICATION)



 Project:
                          River North
 Owner:
                          DMS
   Unit:
                          416


      1.        I/We, the undersigned, being first duly sworn, state that l/we have read and answered
                fully, frankly and personally each of the following questions for all persons (including
                minors) who are to occupy the unit in the above apartment building for which
                application is made, all of who are listed below:

                              Name of                        Relationship to           Age
                       Members of the Household            Head of Household

                                           ,-.0
                         U2-60-41 17-1-1-1j1 \              c-3QA




      THE UNDERSIGNED HEREBY CERTIFY THAT THE INFORMATION SET FORTH ABOVE IS TRUE AND
CORRECT. THE UNDERSIGNED ACKNOWLEDGE THAT THE LEASE FOR THE UNIT TO BE OCCUPIED BY
THE UNDERSIGNED WILL BE CANCELLED UPON 10 DAYS WRITTEN NOTICE IF ANY OF THE
INFORMATION.



                                                                Head of Household




                                                                Co-Applicant



Subscribed and sworn to before reip this 1(9 day of                 Wiembefi/                  , 2021)
(Notary Seal)

                                                                Notary Public in and for the

                                                                State of   444fteto-VA
                                                                My Commission Expires: 01 61 402'5


EQUAL IIIMINO
OPPORTINITY                                                                                              OPPM 8.15.17

                                                     Ex.A._035
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                                                    LEASE TERMINATION POLICY ACKNOWLEDGEMENT


DOM INIUM

Resident(s) Name: Susan Iliff
Unit # 416

Outlined below are the procedures and guidelines for Early Lease Termination. If Resident wishes to terminate the lease prior to the lease
expiration, all Residents must sign the Lease Termination Agreement and abide by the following:

     1.   Resident agrees to, and in fact does, completely vacate and surrender the Apartment and the Community on the date agreed on in the
          Lease Termination Agreement.
     2.   Simultaneously with the execution of the Lease Termination Agreement, Resident pays to Management electronically or through W1PS
          an early lease termination fee in an amount equal to two months rent.
     3.   Resident shall fulfill all covenants and obligations under the Lease applicable to the period prior to and including the Early Termination
          Date, including the payment of all rent, repayment of concessions and other charges and fees due and owing up to and including the
          Early Termination Date; and
    4.    Resident shall obtain final utility bills and pay all outstanding charges for utility services up to and including the Early Termination Date.
    5.    A 2 month written notice required. During which time the resident will continue to pay the monthly rent due for the notice period.
    6.    Lease Termination Agreement cannot be exercised in order to vacate the apartment in the months of November, December, January
          and February.
    7.    If resident resides at a Section 42 property at least six full months of occupancy must be fulfilled.

        Termination of the Lease pursuant to the Lease Termination Agreement will only release Resident from any further rent obligations after
the Early Termination Date. Management will retain all remedies for other non-compliance with the Lease and Resident will remain liable for any
and all damage to the Apartment or the Community resulting from such non-compliance. In the event Resident fails to meet any of the
foregoing conditions (unless such condition is waived by Management in writing), the reduction of obligations contained in the Lease
Termination Agreement will be ineffective and Management will be entitled to the total amount of rent and other charges which can rightfully be
claimed by Management pursuant to the Lease through the end of the Lease Term.

      Resident acknowledges that Resident will voluntarily surrender possession of the Apartment to Management. Resident will remove all of
Resident's belongings from the Apartment and the Community on or before the Early Termination Date and any belongings or other items left in
the Apartment or the Community after such date may be disposed of by Management in a manner determined by Management in their sole
discretion. Resident will kennel pets, if applicable, during showings of the apartment to potential future renters.




Resident(s):                                                              Owner's Agent:



Signature                                           Date



Signature                                           Date                 Authorized Representative                       Date



Signature                                           Date



Signature                                           Date




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                                         GARAGE, PARKING AND STORAGE ACCESS GATE ADDENDUM


DOMINIUM

Resident(s) Name: Susan Iliff
Unit # 416
Rentable Item Lease Term Start Date: 12/01/2020

Eli Does not apply

         Check all that a I :
           ElParking                           Assigned # _______            Monthly Rent Amount $
           ElParking                           Assigned #                    Monthly Rent Amount $
           ElParking                           Assigned #                    Monthly Rent Amount $
          El Garage                            Assigned # 89                 Monthly Rent Amount $75.00
          0 Garage                             Assigned #                    Monthly Rent Amount $
          El Garage                            Assigned #                    Monthly Rent Amount $
             Storage Locker                    Assigned # 90                 Monthly Rent Amount $15.00
           ElStorage Locker                    Assigned #                    Monthly Rent Amount $
          El Storage Locker                    Assigned #                    Monthly Rent Amount $


All parking, garage and/or storage rent is due on or before the first of each month. A late fee as specified in your apartment lease
agreement is due and payable if rent is not paid in full. Resident understands and agrees to pay rent for the entire lease term of the
Agreement and any lease term, which continues after such term expires.

Resident understands the garage and/or parking is for the sole purpose of vehicle storage and cannot be used for temporary or
permanent residency. Storage of personal items and repairs to vehicle are prohibited.

Rules For Using Vehicle Gates and Garages: Always approach entry/exit gates and garages with caution and at a very slow rate of
speed. Never stop your car where the gate or a garage door could hit your vehicle as it opens or closes. Never follow another vehicle
into an open gate. Always use your card/remote to gain entry. Report to management the vehicle license plate number of any vehicle
that piggybacks through the gate. Never force the gate or garage door open with your car. Never get out of your vehicle while the
gates are opening or closing. If you are using the gates and have a trailer, or something similar, the length and width may cause
recognition problems with the safety loop detector and could cause damage. Do not operate the gate or garage doors if there are
people nearby who might get caught in it as it opens or closes. If you lose your card, please contact the management office
immediately. Do not tamper with gates or garages or allow your occupants or guests to tamper or play with. Please follow height
restrictions for underground garages, attached and detached garages and carports.

Damaged, Lost Or Unreturned Remote Controls, Cards Or Code Changes: If a remote control or gate card is lost, stolen or
damaged, the replacement fee stated on your lease will be charged for a replacement. If a remote control or card is not returned or is
returned damaged when you move out, there will be a deduction from the security deposit for the amount outlined in your lease. We
may change the code(s) at any time and notify you accordingly. Do not give your card or code to anyone else.

Report Damage or Malfunctions: Please immediately report to the office any malfunction or damage to gates, fencing, garage doors,
locks or related equipment. If the gates or garages are damaged by you or other occupants, guests or invitees through negligence or
misuse, you are liable for the damages under your lease, and collection of damage amounts will be pursued. We cannot predict
malfunctions. Any mechanical or electronic objects may malfunction from time to time and will be repaired by Management as
promptly as possible.




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Suspicious Activity, Personal Injury And/Or Personal Property Damage: We make no representations or guarantees to you
concerning security of the community. Fencing, gates or other devices will not prevent crime. No security system or device is foolproof
or 100% successful in deterring crime. You should call 911 if a crime occurs or is suspected. We are not liable to any resident, family
member, guest, occupant or invitee for personal injury, death or damage/loss of personal property from incidents related to perimeter
fencing, garages, automobile access gates and/or pedestrian access gates. We reserve the right to modify or eliminate security systems
other than those statutorily required. You will be held responsible for the actions of any persons to whom you provide access to the
community.

Management is not responsible for damage or theft of any vehicle/item stored in parking, garage or storage space.

        Vehicle Information
         Type                                Type                           Type
         Model                               Model                          Model -
         License #                           License #                      License #
         Make                                Make                           Make
         Year                                Year                           Year
         Permit #     ___                    Permit #                       Permit #




Resident(s):                                                      Owner's Agent:
                                                                  DOMINIUM MANAGEMENT SERVICES INC

Signature                                     Date



Signature                                     Date               Authorized Representative                    Date



Signature                                     Date



Signature                                     Date




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                                                                   AMENITIES ADDENDUM


DOMINIUM

Resident(s) Name: Susan Iliff
Unit if 416

GENERAL CONDITIONS FOR USE OF APARTMENT PROPERTY AND RECREATIONAL AMENITIES.

Resident(s) permission for use of all common areas, Resident amenities, and recreational facilities (together, "Amenities") located at the
Apartment Community is a privilege and license granted by Owner's Agent, and not a contractual right except as otherwise provided for
in the Lease. Such permission is expressly conditioned upon Resident's adherence to the terms of the Lease, this Addendum, and the
Community rules and regulations ("Rules") in effect at any given time, and such permission may be revoked by Owner's Agent at any
time for any lawful reason. In all cases, the most strict terms of either the Lease, this Addendum, or the Community Rules shall control.
Owner's Agent reserves the right to set the days and hours of use for all Amenities and to change the character of or close any Amenity
based upon the needs of Owner and in Owner's Agent's sole and absolute discretion, without notice, obligation or recompense of any
nature to Resident. Owner and management may make changes to the Rules for use of any Amenity at any time. Additionally,
Resident(s) expressly agrees to assume all risks of every type, including but not limited to risks of personal injury or property damage, of
whatever nature or severity, related to Resident's use of the amenities at the Community. Resident(s) agrees to hold Owner and
Owner's Agent harmless and release and waive any and all claims, allegations, actions, damages, losses, or liabilities of every type,
whether or not foreseeable, that Resident(s) may have against Owner and Owner's Agent and that are in any way related to or arise
from such use. This provision shall be enforceable to the fullest extent of the law.

THE TERMS OF THIS ADDENDUM SHALL ALSO APPLY TO RESIDENT(S)' OCCUPANTS, AGENTS AND INVITEES, TOGETHER WITH THE
HEIRS, ASSIGNS, ESTATES AND LEGAL REPRESENTATIVES OF THEM ALL, AND RESIDENT(S) SHALL BE SOLELY RESPONSIBLE FOR THE
COMPLIANCE OF SUCH PERSONS WITH THE LEASE, THIS ADDENDUM, AND COMMUNITY RULES AND REGULATIONS, AND
RESIDENT(S) INTEND TO AND SHALL INDEMNIFY AND HOLD OWNER HARMLESS FROM ALL CLAIMS OF SUCH PERSONS AS
DESCRIBED IN THE PRECEDING PARAGRAPH. The term "Owner" shall include the Management, officers, partners, employees, agents,
assigns, Owners, subsidiaries and affiliates of Owner.

POOL, SPA, SAUNA       This Community 0 DOES;        144)0ES NOT have a pool.

When using the pool, Resident(s) agrees to the following: Residents and guests will adhere to the age limits, rules, regulations posted in
the pool area and Management policies. All swimmers swim at their own risk. Owner is not responsible for accidents or injuries. For
their safety, Residents should not swim alone. Hours are posted. No one is allowed in the pool area outside of posted hours. No glass,
pets, or alcoholic beverages are permitted in the pool area. Use paper or plastic containers only. Proper swimming attire is required at
all times. No running or rough activities are allowed in the pool area. Respect others by minimizing noise, covering pool furniture with
a towel when using suntan oils, leaving pool furniture in pool areas, disposing of trash, and keeping pool gates closed. Resident(s) must
accompany their guests. Resident(s) must notify Owner any time there is a problem or safety hazard at the pool. Resident is responsible
for all guests and guests will be held accountable to these rules/regulations. IN CASE OF EMERGENCY DIAL 911.

FITNESS CENTER This Community CKDOES;             0 DOES NOT have a fitness center.

When using the fitness center, Resident(s) agrees to the following: Residents and guests will adhere to the rules and regulations posted
in the fitness center and Management policies. The fitness center is not supervised. Resident(s) are solely responsible for their own
appropriate use of equipment. Resident(s) shall carefully inspect each piece of equipment prior to Resident's use and shall refrain from
using any equipment that may be functioning improperly or that may be damaged or dangerous. Resident(s) shall immediately report
to Management any equipment that is not functioning properly, is damaged or appears dangerous, as well any other person's use that
appears to be dangerous or in violation of Management Rules and Policies. Resident(s) shall consult a physician before using any
equipment in the fitness center and before participating in any aerobics or exercise class, and will refrain from such use or participation
unless approved by Resident's physician. Resident(s) will keep fitness center locked at all times during Resident's visit to the fitness
center. Resident(s) will not admit any person to the fitness center who has not registered with the Management Office. Resident(s)
must accompany guests, and no glass, smoking, eating, alcoholic beverages, pets, or black sole shoes are permitted in the fitness center.
Resident is responsible for all guests and guests will be held accountable to these rules/regulations.



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BUSINESS CENTER        This Community i.XDOES;     0 DOES NOT have a business center.

Resident(s) agrees to use the business center at Resident(s) sole risk and according to the rules and regulations posted in the business
center and Management policies. Owner is not responsible for data, files, programs or any other information lost or damaged on
business center computers or in the business center for any reason. No software may be uploaded or installed on business center
computers without the written approval of Community Management. No inappropriate, offensive, or pornographic images or files (in
the sole judgment of Owner) may be viewed or loaded onto the business center computers at any time. Residents will limit time on
computers to 30 minutes if others are waiting to use them. Smoking, eating, alcoholic beverages, pets, and any disturbing behavior are
prohibited in the business center.

CLUBHOUSE       This Community      DOES;    0 DOES NOT have a clubhouse.

Communities may have a clubhouse available for resident activities, which will be announced throughout the year. At some
communities, you may have the option to rent or reserve the clubhouse for personal gatherings. Fees for renting the clubhouse space
and required deposits vary by property. Please inquire at the Management office for specific details regarding clubhouse rental fees.
The security deposit will be refunded provided that the clubhouse is returned in the same condition it was found in, and all conditions in
the applicable reservation agreement have been met. Residents and guests are expected to adhere to the rules and regulations of the
community and clubhouse.

PLAYGROUND/SPORT COURT             This Community CI DOES;      CVDOES NOT have a playground/sport court

When using the playground and/or sport court, Resident(s) agrees to the following: Residents and guests will adhere to the rules and
regulations posted and Management policies. The playground and sport courts are not supervised. Resident(s) are solely responsible
for their own appropriate use of equipment. Proper footwear is required. Glass, pets, and alcoholic beverages are NOT permitted.
Skateboarding, rollerblading and/or bike riding is not allowed in the sport court or playground. Vandalism, foul language, and
aggressive behaviors may result in a lease violation. Resident is responsible for all guests and guests will be held accountable to these
rules/regulations. Resident is responsible for any damages caused by their household and/or guests of their household.


Resident(s):                                                        Owner's Agent:



Signature                                       Date



Signature                                       Date               Authorized Representative                    Date



Signature                                       Date



Signature                                       Date




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                                                          PACKAGE ACCEPTANCE AGREEMENT


DOMINIUM

Resident(s) Name: Susan Huff
Unit # 416

With the increase in volume of packages being delivered on behalf of our residents, the Management Office will accept and sign for
packages/parcels for your convenience.

Package(s) will be placed:

            In the package room. Residents will have FOB access to this room 24 hours per day. Be advised that this room will not be
            monitored by management.

                                                   or pick up dunn

Due to size constraints, you must be home to accept deliveries of oversized packages. Packages that are not picked up within ten (10)
days may be returned to the sender. Should the package area reach capacity, packages of any size will not be delivered.

If you prefer not to have packages accepted and stored as indicated above, you must make arrangements for delivery to your home
with the shipper. This is solely the responsibility of the recipient.

 have read and understand the package policy. I/We understand that by signing this form, Dominium, its successors, employees,
agents, officers, and management are released from any liability regarding damage to contents, loss or theft of any parcels delivered to
my address.




Resident(s):                                                         Owner's Agent:



Signature                                       Date



Signature                                       Date              Authorized Representative                      Date



Signature                                       Date



Signature                                      Date




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                                                                 SMOKE -FREE ADDENDUM


DOMIN1UM

Resident(s) Name: Susan Hifi.
Unit #416

Resident and all members of Resident's family or household are parties to a written lease with Landlord (the Lease). This Addendum
states the following additional terms, conditions and rules which are hereby incorporated into the Lease. A breach of this Lease
Addendum shall give each party all the rights contained herein, as well as the rights in the Lease.

1. Purpose of No-Smoking Policy. The parties desire to mitigate (i) the irritation and known health effects of secondhand smoke; (ii)
the increased maintenance, cleaning, and redecorating costs from smoking; (iii) the increased risk of fire from smoking; and (iv) the
higher costs of fire insurance for a non-smoke-free building;

2. Definition of Smoking. inhaling, exhaling, breathing, or carrying any lighted cigar, cigarette, or other tobacco product or similar
lighted product in any manner or form. This also includes e -cigarettes, vapes and electronic smoking mechanisms.

3. Smoke-Free Complex. Resident agrees and acknowledges that the premises to be occupied by Resident and members of Resident's
household have been designated as a smoke -free living environment. Resident and members of Resident's household shall not smoke
anywhere in the unit rented by Resident, or the building where the Resident's dwelling is located or in any of the common areas or
adjoining grounds of such building or other parts of the rental community, nor shall Resident permit any guests or visitors under the
control of Resident to do so. It is the responsibility of the residents to inform any guests of the smoke free policy of our building.

4. Resident to Promote No-Smoking Policy and to Alert Landlord of Violations. Resident shall inform Resident's guests of the no -
smoking policy. Further, Resident shall promptly give Landlord a written statement of any incident where tobacco smoke is migrating
into the Resident's unit from sources outside of the Resident's apartment unit.

S. Landlord to Promote No -Smoking Policy. Landlord shall post no -smoking signs at main entry or clubhouse.

6. Landlord Not a Guarantor of Smoke-Free Environment. Resident acknowledges that Landlord's adoption of a smoke-free living
environment, and the efforts to designate the rental complex as smoke-free, do not make the Landlord or any of its managing agents
the guarantor of Resident's health or of the smoke -free condition of the Resident's unit and the common areas. However, Landlord shall
take reasonable steps to enforce the smoke-free terms of its leases and to make the complex smoke -free. Landlord is not required to
take steps in response to smoking unless Landlord knows of said smoking or has been given written notice of said smoking.

7. Effect of Breach and Right to Terminate Lease. A breach of this Addendum shall be a material breach of the lease and grounds for
immediate termination of the Lease by the Landlord.

8. Violations. First offense will result in a $100.00 fine. Second offense a $200.00 fine. Third offense a $300.00 fine and may lead to non
renewal of lease or eviction.




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9. Disclaimer by Landlord. Resident acknowledges that Landlord's adoption of a smoke-free living environment, and the efforts to
designate the rental complex as smoke -free, does not in any way change the standard of care that the Landlord or managing agent
would have to a Resident household to render buildings and premises designated as smoke -free any safer, more habitable, or improved
in terms of air quality standards than any other rental premises. Landlord specifically disclaims any implied or express warranties that
the building, common areas, or Resident's premises will have any higher or improved air quality standards than any other rental
property. Landlord cannot and does not warranty or promise that the rental premises or common areas will be free from secondhand
smoke. Resident acknowledges that Landlord's ability to police, monitor, or enforce the agreements of this Addendum is dependent in
significant part on voluntary compliance by Resident and Resident's guests. Residents with respiratory ailments, allergies, or any other
physical or mental condition relating to smoke are put on notice that Landlord does not assume any higher duty of care to enforce this
Addendum than any other landlord obligation under the Lease.



Resident(s):                                                      Owner's Agent:



Signature                                      Date



Signature                                      Date               Authorized Representative                   Date



Signature                                      Date



Signature                                      Date




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                                                                                                                       0-61 cOO
                  ANNUAL STUDENT CERTIFICATION
                                                                                                     Effective Date:
                                                                                                     Move -in Date:
                                                                                                                       (MM/DD/YYYY)


This Annual Student Certification is being delivered in connection with the underSigned's application/occupancy in
the following apartment:

Head of Household Name:                S(AA,H. LI i-NC                                       Unit Number:

                                                                                             Building Address:     /49qd Cip6kaa lab
                                                                                                                            t3tv
Check A, 8, or C, as applicable (note that students include those attending public or private elementary schools,
middle or junior high schools, senior high schools, colleges universities, technical, trade, or mechanical schools, but
does not include those attending on-the-job training courses):

A.                   Household contains at least one occupant who is not a student and has not been/will not be a
                     student for five months or more out of the current and/or upcoming calendar year (months need
                     not be consecutive). If this item is checked, no further information is needed. Sign and date below.

                     Household contains all students, but is qualified because the following occupant(s)
                                                                  is/are a PART TIME student(s). Verification of part time
                     student status is required for at least one occupant.

                     Household contains all FULL TIME students for five months or more out of the current and/or
                     upcoming calendar year (months need not be consecutive). If this item is checked, questions 1-5,
                     below must be completed:

      1.Are the students married and entitled to file a joint tax return? (attach marriage certificate or                          YES         NO
        tax return)
     2. Is at least one student a single-parent with child(ren) and this parent is not a dependent of                              YES         NO
        someone else, and the child(ren) is/are not dependent(s) of someone other than a parent?
        (attach student's and if applicable, divorce/custody decree or other parent's most recent tax
        return)
     3. Is at least one student receiving Temporary Assistance to Needy Families (TANF), otherwise                                 YES         NO
        known as Minnesota Family Investment Program (MFIP)? (provide release of information for
        verification purposes)
     4. Does at least one student participate in a program receiving assistance under the Job Training                             YES         NO
        Partnership Act, Workforce Investment Act, or under other similar, federal, state or local laws?
        (attach verification of participation)
     5. Does the household consist of at least one student who was, within 5 years of the effective                                YES         NO
        date of the initial income certification, under the care and placement responsibility of the state
        agency responsible for administering foster care? (provide verification of participation)

 Full-time student households that are income eligible and satisfy one of the above conditions are considered eligible. If questions
         1-5 are marked NO, or verification does not support the exception indicated, the household is considered ineligible.
Under penalties of perjury, l/we certify that the information presented in this Annual Student Certification is true and accurate to the best of
my/our knowledge and belief. i/we agree to notify management immediately of any changes in this household's student status. The
undersigned further understands that providing false representations herein constitutes an act of fraud. False, misleading or incomplete
information may result in the termination of the lease agreement.

All household members age 18 or older must sign and date.


  Signature                                                 (Date)               Signature                                            Patel

  Signature                                                 (Dote)               Signature                                            (Date)




Annual Student Certification                                                                                     MN Housing 1/13
                                                                     Ex.A._044
  CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 103 of 129




                                                           Exhibit B
                                              Certification of Tenant Eligibility
                                                   (AGE CERTIFICATION)



 Project:
                         River North


                         1-)M,
 Owner:

   Unit:



      1.      I/We, the undersigned, being first duly sworn, state that I/we have read and answered
              fully, frankly and personally each of the following questions for all persons (including
              minors) who are to occupy the unit in the above apartment building for which
              application is made, all of who are listed below:

                            Name of                               Relationship to           Age
                     Members of the Household                   Head of Household


                  &Kam II1ff
                          -




       THE UNDERSIGNED HEREBY CERTIFY THAT THE INFORMATION SET FORTH ABOVE IS TRUE AND
CORRECT. THE UNDERSIGNED ACKNOWLEDGE THAT THE LEASE FOR THE UNIT TO BE OCCUPIED BY
THE UNDERSIGNED WILL BE CANCELLED UPON 10 DAYS WRITTEN NOTICE IF ANY OF THE
INFORMATION.



                                                                     Head of Household




                                                                     Co-Applicant



Subscribed and sworn to before me this _1)(day of

(Notary Se
                               Stacy Lynn Galvin
                                  Notary Public                      Notary Public in and for the!
                                     Minnesota
                          My Commission Expires
                                           January 31,2022           State of
                                                                     My Commission Expires: I        2)[


EQUAL ROOM
OPPORTUNITY                                                                                                OPPM 8.1 5.1 7


                                                             Ex.A._045
                 CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 104 of 129



                                                       INSTRUCTIONS and FUNDING REQUESTS
 Workbook Version: 09/24/2014 v1.1.1

 Please complete the Funding Request section below and then click on the "Continue" button. Additional Workbook tabs will appear based on your funding
 request. Please complete all of the tabs that appear. Additional instructions can be found below the Funding Request section.


                                                                   FUNDING REQUEST


Indicate the type(s) of funding you are requesting by placing a checkmark next to the desired funding type(s). The applicable tabs will become available
based on the type(s) of funding checked.

1.     ~ixowtwolak
           Minnesota Housing First Mortgage
           Minnesota Housing Tax Exempt Bonds- Long Term
           Minnesota Housing Tax Exempt Bonds - Short Term
           Deferred Loan(s) (includes Minnesota Housing, Family Housing Fund, Greater Minnesota Housing Fund, and DEED resources)
           Rental Rehabilitation Deferred Loan - Project Specific (NOTE: Applications for RROI ineligible for other types of funding)

ptAh-Oulti-Ok400,                                              monallar
                                                                                     SZTOWitirgie                                         10,1
Type of Tax Credits requested from Minnesota Housing:              Tax Credit Pool                   Request Status:                    Issuance Date:
     EJ Housing Tax Credits - 4%                                          Metro                            Reservation
           Housing Tax Credits - 9%                                       Greater MN                       Carryover
           This is part of dual 4% / 9% application                       N/A                         F;   8609
                                                                                                           Qualified Contract
Tax Credit Request Type:                                           Tax Credit Set-Aside                    42 MI. Letter
           First Request                                                  Nonprofit                        NA
           Supplemental Request                                           Rural Development
           Repeat Request - not selected                                  N/A
           N/A

Are you also applying to a Suballocator for Tax Credits? Select Suballocator
Who are you applying for bonds from, if other than Minnesota Housing?                               City of Coon Rapids

Previously Awarded Tax Credits:
   Allocator                                                                            Amount
   Allocator                                                                            Amount
   Allocator                                                                            Amount

                                       ',7,M,4040<rinfig*,.,AtitPtr;f•'n-51.9-77'                                           Wr5lg,l'etvl*.A4,94N;
The following types of Rental Assistance are available through the Multifamily Consolidated REP. In order to be considered for project based vouchers you
must make a selection below. This will activate the applicable Workbook tabs. Be sure to complete the 'Proposed Rental Assistance and/or Operating
Subsidy Funding' section on the Sources tab where you will indicate the source of assistance, term, number of units and amount of subsidy requested.
           Metro HRA Project Based Vouchers
           St. Paul PHA Project Based Vouchers
           N/A

Other Rental Assistance Request for Proposals: Refer to Request for Proposals information on Minnesota Housing's website. Your selection of a rental
assistance type will activate the applicable Workbook tabs. Be sure to complete the 'Proposed Rental Assistance and/or Operating Subsidy' section on the
Sources tab where you will indicate the source of assistance, number of units, and amount of subsidy requested,
            Housing Opportunities for Persons with AIDS (HOPWA)
            Housing Trust Fund (HIP) Rental Assistance
            Section 811 Project Based Rental Assistance (811 PRA)
            N/A


                                                              ADDITIONAL INSTRUCTIONS

The current version of the Workbook must be used when applying to Minnesota Housing for housing tax credits, first mortgages, deferred loans, rental
assistance, operating subisdies, and Rental Rehab Deferred Loans (RRDL).

A completed workbook aiong wits toe required documentation and exnibits comprise a complete application package. ilease rotor to
www.mnhousing.gov for complete instructions on submitting an application.

Waf0- .         '4,141101PtillailatiMeNANZWAOSSIMitmil-c402.:,,gromp„.
Light blue cells indicate where information is required from the applicant. In some cases, incomplete data entry will result in other required fields being
left unpopulated.

               Light blue cells indicate where information is required from the applicant.
               White cells indicate standard text or formulas that are locked from editing.


1907,9**74:7,11,444F-,.:7070,MOiffMM                .:0,13.60,MIMMOZNEMI.W.EVASSAMENNMSZ:;;M::,..i'
Many cells have imbedded comments, indicated by a small red triangle in the upper right hand corner. These comments contain important information
related to populating the Workbook and the cell.

                                                                                                                                                                    EXHIBIT
Some cells and sheets have inputs and limits that if not completed, exceeded or not met, will generate an error message or warning in red text. If a
warning pops up in any cell, justification is required.




Workbook                                                                                 Instructions - Page 1 of 26                                          Ex.B._001   9/16/2019
              CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 105 of 129



                                                                              SUMMARY PAGE                                                                       Print

                                                                                 ACTIVITY TYPE ••• :                    App Date         6/16/2017
Development Name           River North                                                                                  Dev #
Primary Address            10940 Crooked Lake Blvd. NW                           Acquisition                            Project #
City                       Coon Rapids                                           New Construction                       HTC #
Zip Code                   55433                                                                                        HDO
County                     Anoka                                                                                        HMO
                                                                                                                        Architect
                                                                                                                        SHO

DEVELOPMEPT TEAM                                                                                    STRATTGIC PRIORITIES

Developer                  Coon Rapids Leased Housing Development IV, LLC                           New Affordable Housing
Owner                      Coon Rapids Leased Housing Associates IV, LILP
Management Co              Dominium Management Services, LLC
Service Provider           Not Applicable
Architect                  BKV Group




tvW,       17,4*
   167     Elderly




                   Dettli4d Loan R-e0er,st                                                          'Hawing rixxr,001,:,   •


                                                                                                     Type of Tax Credits requested from Minnesota Housing:
     TYPE                                                        AMOUNT                                 O Housing Tax Credits - 4%
   ElMinnesota Housing First Mortgage                                                                  O Housing Tax Credits - 9%
   O Minnesota Housing Tax Exempt Bonds - Long Term                                                    O Dual Application
   O Minnesota Housing Tax Exempt Bonds - Short Term                                                HTC Request Amount                                           841,228
   0 Deferred Loan(s)
     RRDL                                                                                              Tax Credit Pool                         Request Status
                                                                                                       6:: Metro                                C Reservation
                                                                                                       C Greater MN                             C Carryover
                           Wciun                                                                                                                C 8609
Rental Assistance                               0                                                                                               C Qualified Contract
Operating Subsidy                                                                                                                               C 42 M1 Letter

                                                                                                       Tax Credit Request Type                 Tax Credit Set-Aside
VOITT                                                                                                  r..; First Request                       C Nonprofit
                                                                                                       C Supplemental Request                   C Rural Development
mi*Ty g -•,: ' - ,                                                                                     C Repeat Request - not selected          6:: N/A
OBR/SRO                             0        HTC                                167
1BR                               105        HOME                                 0                    Application to suballocator
2BR                                43        LTH                                  o                    Bond issuer if not IVIHFA               City of Coon Rapids
3BR                                19        Market Rate                          0
4BR                                 0        Employee Occupied                    0                    Previously Awarded Tax Credits:
5BR                                 o        Owner Occupied                       o                       Allocator 0                          Amount 0
6BR                                 0        Rent Assistance                      0                       Allocator 0                          Amount 0
TOTAL UNITS                       167        Operating Subsidy                    0                       Allocator 0                          Amount 0




Workbook                                                                    Summary - Page 2 of 26                                            Ex. B.002                  9/16/2019
                  CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 106 of 129



                                                                                                 SUMMARY PAGE                                                                            Print


RENT. GRip.                 ..                                                                                                           :INCOME St.EXPENSE              .

                                                                                                                                                           .                                            . .. ,.,.
                                                                 •   •                                        Program lype               ,in.mme .             .                                 .Amount..'.,,,
                                                       •                                                                                  Housing Income                                             2,035,572
       •  .                                     Monthly      Monthly                                                                      Covered Parking                                              104,400
        . .       :              dVprox .       Contract      Gross                                                                       Surface Parking
Unit Type         If of uoft§     Sq Ft          Rent      . *P.t                                                                         Commercial                                                         0
1BR                       105         815              939     1,017              60%          60%
2BR                         2         915            1,126     1,221              60%          60%     LI             LJ                  Gross Potential Rent                                     2,139,972
2BR                        26       1,198            1,126     1,221              60%          60%     12j LfLJ                           Total Other Income                                          73,741
3BR                        19       1,350            1,297     1,410              60%          60%     LI     U                           Total Rental Loss                                                 0
2611                       15         915              991     1,086              60%          60%     LI U Li                            Net Rental Income                                        2,092,587
                                                                                                           0 0000
                                                                                                                                                                                                      . . . ,
                                                                                                                                          4x0mt.i..        :..,..,-,,
                                                                                                                                                - ,`..i',':::::::-                              ::-Amount:-.
                                                                                                           Do nrno                       Administrative                                              340,884
                                                                                                       ii Li ii I( )1 .1t 1              Maintenance                                                  98,253
                                                                                                       Li     LI                         Utilities                                                   127,197
                                                                                                              Li SLJLJLJi                Unique Operating Expenses
                                                                                                           Li .)                         Insurance                                                      52,772
                                                                                                           Li Liii I              1
                                                                                                                                         Total M & 0                                                   619,105
                                                                                                           D El                          Reserves & Escrows                                            217,814
                                                                                                       El ED                             Effective Gross Expense                                       836,919
                                                                                                       Don                               14.0.0Per4tititineUrne. '';'                              AbTO.fitkg
                                                                                                                                         NOI                                                       1,255,668
                                                                                                       LID
                                                                                                       LI LJLI
                                                                                                          0 D. ocino                      Total expense per Unit(5)                                      5,011
                                                                                                          JU U Li Li'                     Total expense per Unit(% of Revenue)                             40%
                                                                                                       Li ii Li LJ                        M & 0 Per Room                                                   917
TOTALS                    167                   $2,035,572                                                                                M & 0/Unit/Year                                                3,707

                         Yttn9WailibiailDATNMIE:gga]K.:1:MISITR74211PF.... lEtSET.41021FAVY?
Residential Vacancy                           5.0%             Income Inflator                       2.00%        OCR Year 1                    1.20               Loan Rate                   4.33%
Parking Vacancy                              15.0%             Expense Inflator                      3.00%        OCR Year 15                   1.44               MIR                         0.00%
Commercial Vacancy                            0.0%             Cap Rate                              7.00%


                                                                                                                                                                                  VIIMP.MtfaitT4,
Permanent Capital Funding Sources                                                                      Uses


First Mortgage                                      18,980,000       113,653            0              Acquisition or Refinance                           958,750                5,741          3%
General Partner Cash                                                          0         0              New Construction                                19,806,549                    0          63%
Syndication Proceeds                                 8,496,403           50,877         El             Rehabilitation                                           0              135,206          0%
State Historic Proceeds                                                       0         0              Contractor Fees and Contingency                  2,772,917                    0          9%
Federal Historic Proceeds                                                     0         0              Environmental Abatement                                     0                 0          0%
Deferred Loan Request                                                         0         0              Professional Fees                                2,380,374               14,254          8%
City of Coon Rapids. EDA Loan                          300,000            1,796         0              Developer Fees                                   2,879,882               17,245          9%
Series BT1F Mortgage                                 1,443,000           8,641          0              Syndicator Fees                                    88,750                  531           0%
Deferred Developer Fee                               2,185,791           13,089                        Financing Costs                                  1,625,929                9,736
                                            .
                                                                                        0                                                                                                       5%
GP/SLP Equity                                                210              1 a                      Total Mortgageable                              30,513,151              182,713         97%
                                                                              0 2                      Reserves and Non -Mortgageable                    892,253                 5,343          3%
                                                                              o         Li             Total Development Cost                          31,405,404              188,056         100%
                                                                              0         El
                                                                              0         LI
                                                                              0         Li
                                                                              o         Li
                                                                    0                    11
                                                                    0                   Li
 Deferred Developer Fee
 Total Permanent Financing
                                                                    0                   n
                                                 ' 11,05,46%.` 188 056)3/
'FUNDING GAP REMAINING                                     0        0

 Construction Sources                                                                                  Subsidy Funding Sources
:r.0..0.0..g.:;-.,-•::::.:•,...:::' ' ."1•:,!,iii.Atik!.; ':',=4.44ikentit,VVO                                              :.        ..,-.*,igiot ,     mount.:
 U.S. Bank, N.A.                                            24,816,000  148,599         Ltd                                                                                                0           Lf
 Syndication Proceeds                                         1,356,548   8,123         1::]                                                                                               0           [11
 City of Coon Rapids - EDA Loan                                 300,000    1,796        E                                                                                                  0           li
 SIP Equity                                                         210        1        0                                                                                                  o             !
                                                                                        L.             Total of Subsidy Funding                                    0                       0       igA'','VN
Total of Construction Financing                    26,472758         158,520       101WINS




Workbook                                                                                       Summary - Page 3 of 26                                                  Ex.B. 003                  9/16/2019
             CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 107 of 129



                                                AFFIRMATIVE ACTION STATEMENT


  The Minnesota Human Rights Act states that any person or organization having 40 or more employees in the last 12 months in the
• State of Minnesota and involved in any transaction of $100,000 or more with state agency must have Affirmative Action Plan
  approved by the State Department of Human Rights. Therefore, no applications for $100,000 or more will be accepted unless they
  include either:

             A.          A Certificate of Compliance from the State Department of Human Rights (For information call 651-296-5663)
                         (for organizations with 40 or more employees); or

             B.          A notarized statement stating that the applying organization has had less than 40 employees in the State
                         of Minnesota in the last 12 months.

             C.          Provide information on how you intend to make opportunities available for women-owned or minority-
                         owned business enterprises.

  This application is submitted by the undersigned with the full knowledge and consent of the governing body and is accurate in all
  details, to the undersigned's best knowledge.

                                                                                                 6/16/2017
             Signature                                                  Date

  The Minnesota Housing Finance Agency does not discriminate on the basis of race, color, national origin, sex, religion, age, or
  disability in employment or the provision of services.

                                     Equal Opportunity Housing and Equal Opportunity Employment




  Workbook                                              Affirmative Action - Page 4 of 26                        Ex.B4O04             9/16/2019
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                       TAX CREDIT STATEMENT AND CERTIFICATION OF APPLICANT/OWNER

Individually, or as the general partner(s) or officers of the applicant entity (hereinafter referred to as "Owner"), we are familiar with the
provisions of the Tax Reform Act of 1986 and subsequent revisions with respect to the Low Income Housing Tax Credit (HTC), and to the
best of our knowledge and belief, the applicant entity has complied, or will comply with all of the requirements which are prerequisite to
issuance of the HTC by Minnesota Housing Finance Agency (Minnesota Housing). We understand that the HTC Program will be
governed and controlled by rules and regulations issued by the Internal Revenue Service (IRS). We also understand that we must comply
with the Minnesota Statues 462A and Housing Tax Credit Program Procedural Manual and Allocation Plan of Minnesota Housing
concerning Low-Income Housing Tax Credits.


I (We) hereby make application to Minnesota Housing for allocation of HTC. The undersigned hereby acknowledges that the making of an
allocation by Minnesota Housing does not warrant that the project is deemed qualified to receive such allocation. I (We) agree that neither
Minnesota Housing nor any of its directors, officers, employees, and agent will be held reponsible or liable for any representations made to
the undersigned or its investors relating to the HTC. I (We) assume the risk of all damages, losses, costs, and expenses related thereto
and agree to indemnify and save harmless Minnesota Housing or any of its directors, officers, employees and agents against any and all
damns, suits, losses, damages, costs and expenses of any kind and of any nature that the Minnesota Housing may hereinafter suffer, incur,
or pay arising out of its decision concerning the application for HTC or the use of the information concerning the HTC Program.


I (We) also understand and agree that:
(1) The information requested on this application and any attachments hereto are being collected to determine eligibility of the project
under Section 42.
(2) Minnesota Housing may request additional information in order to evaluate this application.
(3) An applicant who fails to complete all information requested will not be eligible for a reservation of HTC.
(4) Certain provisions of Internal Revenue Code (IRC) Section 42 and regulations thereunder and Minnesota Statute Chapter 462A may
change and as a result of said change may require the submission of additional documentation to Minnesota Housing.

(5) Information requested in this application is public data which is accessible to the public pursuant to Minnesota Statutes, Chapter 13.


I (We) hereby certify that the information contained in this application is true, correct and complete. I (We) understand that any
misrepresentations and/or fraudulent information made in this application may result in the termination of HTC by Minnesota Housing and
may bar me(us) and related parties from future program participation, and reporting of such misrepresentation and fraudulent information
to the IRS.

                Signature of General Partner

                by:

                of:     Coon Rapids Leased Housing Associates IV, LLC

                its:    General Partner

                Print name          Mark Moorhouse
                of signatory,
                Date                                                     6/16/2017

               The foregoing instrument was acknowledged before me this                day of                , 20

                by                                                       ,the
                                (name)                                                          (title)
                of                                                a
                          (Name of corporation)
                Notary Public




Workbook                                               HTC Owner Cert - Page 5 of 26                                Ex.B._005       9/16/2019
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                       TAX CREDIT STATEMENT AND CERTIFICATION OF APPLICANT/OWNER

                Signature of Nonprofit Partner (if applicable)

                by:

                of:

                its:

                Print name
                of signatory,
                Date

           SS


                The foregoing instrument was acknowledged before me this             day of             , 20

                by                                               , the
                                (name)                                                        (title)
                of                                       a
                          (Name of corporation)
                Notary Public




Workbook                                             HTC Owner Cert - Page 6 of 26                             Ex.B._006   9/16/2019
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                                                                             PROJECT DESCRIPTION

DEVELOPMENT LOCATION !
                                                                                             MI-IFA USE ONLY:
                                                                               Date
   Application Date                                     6/16/2017              Dit
                                                                               Protect
                                                                               HTC II




Development Name                    River North
Primary Address                      10940 Crooked Lake Blvd. NW
City                                Coon Rapids
                                                                                                                             Enter Primary Address above. If multiple buildings
Zip Code                            5543                                                                                     check box below.
County                           1 Anoka.                                                                                                   Check if Multiple Buildings
Latitude                            #VALUE!                                     Provide Latitude if no current address.
Longitude                           #VALUE!                                     Provide Longitude if no current address.


                                                                               -.v444W54q
                                                                                A
                   Acquisition                                                     El    New Construction
                   Refinance                                                                   Conversion/Adaptive Re -use
       El          Rehabilitation                                                              Stabilization
                   Historic Pres/Renovation                                                    Scattered Site Development
       El          Demolition                                                                  Other:
       El          Rental Subsidy                                                              Other:

                                    7.1#40
             ,07                                                            Itot
                   Preservation of Federally Assisted Housing                         El       Preservation of Existing Housing Tax Credits
                   Long Term Homeless                                                          Foreclosure
       El          New Affordable Housing                                               El     Critical Need (Critical needs are determned annually. Refer to RFP Guide.)


**10- ' W                                     ,
                                                  ,,4    .,:st* • .,.,
   b.- Wit Pe
 167 Permanent Rental
MEI Permanent Supportive Housing
IIIIIIIIIEZIZEMMIIIIIIMMIIIIII
MEM Transitional (up to 24 months)

                                                                                                                                                                                  •


                      :tiir"a•
                                                                                                                                                                            • ""4.0'..**'N
                                                                                                                                                                                       , A
                   General Occupancy                                                           At Risk of Homelessness
                   Families                                                                    Homeless (not LTH)
                   Single Head of Households with Minor Children                               LTH Family
                   Individuals and Households of Color                                         LTH Single Adults
                   Youth                                                                       LTH Unaccompanied Youth
                   Single Men                                                                  Drug Dependent
                   Single Women                                                                Permanent Physical Disabilities
       167         Elderly                                                                     Developmental Disability
                   Disabled Individuals                                                        Brain Injury
                   Persons with HIV/AIDS                                                       Serious Mental Illness
                   Other:                                                                      Serious and Persistent Mental Illness




Multifamily Workbook                                                     Project Description - Page 7 of 26                                         Ex.B._007               9/16/2019
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                                                                                                                       PROPERTY INFORMATION

     PAPPRINV            :::                                                                                                 .. .. ....    ,
Acres                                                                               4.73                                  Project located in:                                                              Census Tract Number
Total Site Area Sq. Footage                                                      206,039                                    O            Qualified Census Tract                                                         . 27003050605
Density (units/acre)                                                               35.31                                    O            Difficult Development Area                                        ff scattered site enter it for primary bldg
                                                                                                                            O            State Designated Basis Boost

Unusual Site Features (Check all that apply and complete Form "Applicant Certification of Environmental Issues.")

       Li          Within 1000 ft of railroad                                                          Li                Towers (Power, TV, microwave)                                                                              Li          Creek, lake, etc.
       Li          Within 3000 ft of airport                                                           Li                Industrial/environmental hazard (REC & HREC)                                                               Li          High water table
       Cl          Wabin 5 miles of civil airport                                                      Li                Rock formations                                                                                                        Poor drainage
       Li          Within 15 miles of military airport                                                                   Steep ravines or grades                                                                                                Unstable soil
       Li          High-tension wires                                                                  0                 Floodplain                                                                                                             Fill




                                                                                                 Number of
                                                                                                 Residential                   Number of                                                   GrOes Sq ."
                                                                                                  Buildings                     Storips                                                      Feet
New Construction                                            Elevator                                  1                            .4                               167                    234,802


                                                                                                                                                             :.!,•:....,•••••••!,,,,- •               •
TOTALS                                                                                                   1                              4                           167                    234,802


                                                                                                 Number of                Number
                                                                                                                                   ParkinPurkiegcg
                                                                  Type                                                   4.5.paces /Unit-    Gr.54 54f
Covered Parking                                             Underground                                116                      0.69           46,230
Surface Parking
TOTALS                                                                                                 116                           0.69                        46,230

          'Male
Administration/Programmatic
Commercial
Storage Lockers
Club House
Swimming Pool
Community Service Facility
Office
Other                                                                                                                              30,274
TOTAL Non-Hsg Gross Sq Ft                                                                                                          30,613

                       Wftwotvpv. 'AcQ9  13,4V.AMPARfeatiaillatik.
Will the property be acquired front a related party?                                                                                                                      y•!ts•(F,,
                                                                                                                                                                                  No
Has the property been acquired from a related party?                                                                                                           • • C.; Yes            •f, No                              If yes, when?
Has the property been acquired from an unrelated party in the last three years?                                                                                    C Yes               € No                               !f yes, when?

Existing indebtedness on the Property/Building
                                                                                                                                                                                           Date of
                                                                                                                                                                                           Unpaid         :     Date of                                             Kin thl,
                                                                  deal Lqan Amount               Interest Rate                                           •ih1P9151:46hce-                                                                                                      Lin'tits




                                                TOTAL                                       0   004,1-M5Afgeralb                                                                  0       otaose,                             wage,Itasemati3stex
Existing Federal Subsidies
Federal Subsidy              :-..                           ':!!'• ':.' 'i-of?iiiiiis ..-:..:     E4i;;NirtZIP, Ares the                               sA04/1..f.6,114;ii:.irriiti'at if ik‘Of 4oist-,..:

                                                                                                                                                                                               .. :,........•••., .•


                                                                                                                                                                                                                                                    ...•. •.••••


Existing State and Local Subsidies
Stt.e.O't'!.:461 .5.4ii.SdY,,!:,:;::.''...              i         SubsidYIYOe.:::::',..:         r1/ of Otijtjs',.:.:.:.. :'".-;:t)tiri..:bite....i: !.::,        :.tikiiiio:If Oti4i:;::,,;,:':',:,,":


                                                                                                          •        -




Workbook                                                                                                                               Property Information - Pages of 26                                                                                  Ex.B. 008                      9/16/2019
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                                                                                    HOUSING INCOME

   TENANT PAID UTILITY ALLOWANCE
   004             . 0.itiiiictitki0 ii.BIVI,Oti:      1BR               28R         38R        481,:!:-..     .i -       ,-..613R:-::..
   Heating                     Natural Gas                   34                38          43
   Cooking                     Electric                       7                10          13
   Water Heating               Natural Gas
   Electric                                                  37                47          57
   A/C
   Water/Sewer
   Service Fee
   Other
                                              0        78                                                             0               0
                                                                  ,a9imitti.4414:.
   1:44).4.1i4,Piii6f:          :. 4V                                ,         95       113               0
    i'AiikeliaiiiiMetro Housing and Redevelopment Authority                                 . 12/1/2016

                                                                                                                                     -'1AAVY,V;iegValiiiiittanisUkasov-I,E4422



                                                                    s101t ,
                                                                     1,183,140
                                                                          27,024
                                                                         351,312
                                                                         295,716
                                                                         178,380




                                                    Rental Hsg
                 Total Units            167          Potential      2,035,572                                                                                Total Rooms   675




Workbook                                                                       Housing Income - Page 9 of 26                                       Ex. B._009          9/16/2019
                 CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 113 of 129



                                                                                                                             INCOME
,..               :'.(,,.:1.:!'',1;,:,:i',:.•,:.;,.;,::•:::,:-::„..        . .:-...,: :.,               .,,.....Total                             Per Unit ..:' : 'Per Roon:i...: Comments .:.:..;
                                                                                                  Itgifftiiiii,:iin.i0)6Q '.yW.:A:-:,                  ;.,...„; ,
                                                                                                                                                 , .::::,'           .. -         ,,:    .         :.,:, •,, ,.•.:.
                                                                                                                                                                                                                 -     ,
GROSS POTENTIAL -RENT..e.; '                                          li:.;40:3,0.-10,                                                                                                                                      .,-,z,


Rental Housing Potential                                                                                                           2,035,572          12,189             3,016
Parking / Garage Rent Potential
   Covered Parking                                                # of spaces               116     Mo Fee              75            104,400            625                155
   Surface Parking                                                # of spaces                 0     Mo Fee
Commercial Rent Potential                                         Not Applicable
Gross Potential Rent                                                                                                               2,139,972          12,814             3,170
OIHER INCOMEF' 7,100K:                 1:0.6rT '
Tenant Fees                                                                                                                            35,075            210                 52
Laundry Equipment                                                                                                                           0              0                  0
Other            Storage Locker Income & Pet Income                                                                                    37,831            227                 56
Other
Forfeited Security Deposits                                                                                                                 0              0                  0
Interest Income                                                                                                                           835              5                  1
Total Other Income                                                                                                                     73,741            442                109         .
gtiStAtiVAP,                                        k,,,-4';Z
                                                            ' - ---'                '        ' - ir        •WfatifireA; , VISeizrettaittliktgte•Vrao , .fotitka 4.-iz.6„.„, -reat
Rental Housing Vacancy                                                                        Vacancy Rate          •5.0%             105,466            632                156
Parking! Garage Vacancy                                                                       Vacancy Rate         •15.0%              15,660             94                 23        •
Commerical Vacancy                                                                            Vacancy Rate           0.0%
Other                                                                                                                                       0                0                 0
Other.




Total Rental Loss                                                                                                                     121,126            725                179
        tAiCOM
Net Rental Income I Total Revenue                                                                                                  2,092,587 1        12,530             3,100

                                   ,                                                         :MANAGEMENT .& OPERATING EXPENSES (Mat?) . s
-, '',:m , .:''''). '''' i'4730g:'&:"4',;;P.';:,,,--;19n1                                   %.•,,;:i:81A         .5.Total    Per Unnt P.'.iiiiii'                             -.:ijCommentsWOMEggat,.4
' OW
                                                    , ,•              V.,,,        ,/ '          r<?,",  •'''';'
                                                V,if 0,1'              h         ,P. A'       A 1'.
Advertising and Marketing                                                                                                              33,400             200                49
Property Management Fee                                                                            % Revenue 5/Unit/Mo                 83,703             501               124
   Percent of Total Revenue (OR)                                                                       4.0%      $41.77
     Per Unit Per Month .
Professional Fees (Specify in Comments)                                                                                                     0
Applicant Screening/Collection Expense                                                                                                  4,273         26         6
Site Office Expense (Specify in Comments)                                                                                              15,936         95        24
On -Site Management Payroll (Specify in Comments)                                                                                     192,050      1,150       285
Other Administration (Specify in Comments)                                                                                             11,522         69        17
Administrative Subtotal                                                                                                               340,884      2,041       505
                                .
                                                                                                                                    ,F401iFf'0:13,e00:4004' 40444* ;146594,t'MPAINVORA144
figniSS
Elevator Maintenance/Contract                                                                                                           4,192         25         6
Security                                                                                                                                1,187          7         2
Rubbish Removal                                                                                                                        14,753         88        22
Other Contract Services (Includes Exterminating)                                                                                        3,175         19         5
Maintenance/Janitor Supplies                                                                                                                0
Grounds Maintenance                                                                                                                     7,971         48        12
Snow Removal                                                                                                                            5,160         31         8
Heat & A/C Repair Services                                                                                                              3,759         23         6
General Repair Services                                                                                                                 7,945         48        12
Painting/Decorating Materials                                                                                                          23,319        140        35
Maintenance/Janitor Payroll (Specify in Comments)                                                                                           0                       Included in Payroll Above
Other Maintenance and Operating (specify in comments)                                                                                  26,792        160        40 Janitor/Cleaning contract
Maintenance Subtotal                           ,                                                       .    ,    _      ,              98,253        588       146
  .0.WIENKV.VV q,                                                     Nteataftakaw,.                                          ,,   W
Electricity                                                                                                                            32,060             192                47
Water & Sewer                                                                                                                          53,177             318                79
Gas and Oil                                                                                                                            41,960             251                62
Utilities Subtotal                                                                                                                    127,197             762               188
*,,.9,,-,.',,,--
      - .----                             '',4v#,A0AttiwittI*04,44,4:4,4V4.4taZy. ' ' m-.,,,.:--**„.:,                                                     z vaikal,-, 1---"''
                                                                                                                                                                          ' MitgatArt:Z                               • 111.0,0
Unique Operating Expenses (For supportive Housing) (Specify in comments)




Workbook                                                                                                        Income & Expense - Page 10 of 26                                        Ex.B._010                     9/16/2019
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                                                                      INCOME

#1:000,:kiW
 Property and Liability Insurance Expense                                       52,772         316      78
TOTALMANAG'EMENT AND OPERATING
 Total Management and Operating                                                619,105        3,707    917
'•REAL-,ESTATEVMES.AND:RESERVES
 Real Estate Taxes                                                             176,064        1,054    261
 Replacement Reserve                                                            41,750         250      62
 Miscellaneous Reserves
 Reserves & Escrows Subtotal                                                   217,814        1,304    323
iNglaGROSSEXPENSE'
Effective Gross Expense                                                        836,919        5,011   1,240
                                             Ittr,i4f4i0,4,.!4fti;04400414 NaNniggEr.
Net Operating income                                                         1,255,668                1,860
                fIC                       "0441,01-r:4":1414,410   4''NIP57TiAglggagtPt                           4,4are,;,
Specify          TIF Reimbursement - city of Coon Rapids                       118,329         709     175
Specify
Specify
TotalTemporary Income                                                          118,329         709     175




Workbook                                                   Income & Expense - Page 11 of 26                   Ex. B.._01 1    9/16/2019
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                                                    MORTGAGE CALCULATION

            i                                                      A"Mta,--1,74               qMitolIgiNg
                                                          Change on the Cash Flow tab:                                           .--. :1 .
                                                                                                                               Year                -.Year 15.. ...
Net Operating income                                          Income Inflator                2.00%                              1,255,668             1,532,774
Temporary Income (excluding TIF)                             Expense Inflator                3.00%
 Income Available for Debt Service                                                                                              1,255,668             1,532,774
                     0, er '4,1.141$       ,    . ..,                                  ,.>        ,,.,i,
SUBOR)t0
,     ..      ..,       . .,.1..          ' ,f. v.,-„,,,,-4-.„,                                                      :;*it         ,,,,,f44
                                    -           -..,:,                                                                                                 ' KW,Ifzi:K:.
                                                                                                          i -04., - A           '' .v.W.: • ,
                                                                                                                                                         r pe,x,
tOr) er , ti 6     .,              ' '    a'r ' 4 " * , . , ' ' „..'                  - -4' r             Arnort' D                ery              '
                                                                                                                    s',' ,         1.,   '-      ,""--    - '
                                         MN ,              ..:,...:
                                                                ,:
                                                          Principal
                                                                    --'           . : ,,,,  :g
                                                                                        (Years)
                                                                                                       - <'•,5
                                                                                                             .. „.,
                                                                                                             ears          -4 ,, .            , -
                                                                                                                                          i,--,.       r IS
City of Coon Rapids - EDA Loan             0             300,000       1.00%                 18                0                            0
                                           0
                                           i
                                               ii


                                           D
Total Subordinated Debt Payments                                                                                                            0                     0
Income Available after Subordinated Debt                                                                                        1,255,668             1,532,774
Minimum Debt Coverage Ratio                                                                                                         1.1500                1.1500
Net Income Available for Debt Service                                                                                           1,091,885             1,332,847



Lowest Income Available for Debt Service                                                                                                              1,091,885
Term                                                                                                                                                             15
Amort                                                                                                                                                            35
Interest Rate                                                                                                                                              4.33%
MIP                                                                                                                                                        0.00%
Debt Service Constant (including MIP)                                                                                                             0.055534065
Maximum Calculated Mortgage                                                                                                                         19,661,540
Maximum NOI Supported Mortgage (rounded)                                                                                                            19,661,000



Annual TIF Payment                                                                                                                                       118,329
Minimum Debt Coverage Ratio                                                                                                                               1.1500
Available TIF for Debt Service                                                                                                                           102,895
Amortization (Years)                                                                                                                                             25
Total Permanent Note Rate:                                                                                                                                 4.33%
Mortgage Insurance Premium:                                                                                                                                 0.00%
Debt Service Constant (including MIP)                                                                                                             0.065547290
Maximum Calculated TIF Mortgage                                                                                                                       1,569,777
Maximum TIF Supported Mortgage (rounded)                                                                                                              1,569,000


Combined Total Mortgage Based on Debt Coverage                                                                                                      21,230,000

                3
 „
Principal                                                Check if MN Housing                                          Revert to Original             18,980,000
                                                                                                                         .......      .
Amortization (Years)                                                                                                                                             35
Interest Rate                                                                                                                                               4.33%
MIP                                                                                                                                                         0.00%
Debt Service                                                                                                                                          1,054,037
First Year OCR - All Amortizing Debt                                                                                                                         1.30



Workbook                                             Mortgage Calc - Page 12 of 26                                                  Ex. B _012             9/16/2019
                                                                               CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 116 of 129



                                                                                                                                                                                                                                  CASH FLOW
       . .
 Developing. Name                            River North


Total Units                                                                          167
Cap Rate                                                                            7.00%
Vacancy Rate / Credit Allowance                                                     5.0%
Income Inflator                                                                     2.00%
Expense Inflator                                                                    3.00%
                                                                                                                                                                                                                                                                                                       ,, • .,...
                                  MqVg'73-f
                                   .. . . ..:          ,'.    '                                                          Ath6; :,-.7i,W, ::.T4•
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                                                                                     kifil,fut.fir          8ekrilic:. 1'woYnii 'On, 'Yeats 'Curterrt
 11C.9,RE ::::,._                                                        :             . i.,, ..,..11&N,1   '...,i,Y.4611.::,.:,    ,,,, 4           .149.,,,7: ;:,:',X4i0,;,i,,,:;:
                                                                                                                                                                          .;..,,,,la.:ara,..23-           .3, Nia7,21,3.          . , Year ,,31'..-... ,,,;.,:',Yea1,4,,.              ,..',T.eariS:           .;;;::Trter.6,              Ye.., 7 :.,..,;;;,•;
                                                                                                                                                                                                                                                                                                                                                          Tear.' :                         .,..,Year -.11,,,,; ,Nelor.1.0.::::., :',..,illear.1.1.: : •,:Tear12::                       ear 13 :           .„iTeir 14                     0e0r;15., .
Rental Income                                                                        2.00%                                                    .:.,   • .•      .                         2,035,572          2.076283                 2.117,809                   2,160,165                   2,203,369               2,247,436            2,212,335               7,3..232                    2 384 997                 2 432 697         2.48E. 95:                2,520972           2"% i 597               2,63 ,,22                  2.685.893
Parking Income                                                                       2.00%                                                                                                104.400              106,488                  108,618                    110,790                     113,006                 115,266                117,571                      119,973                 122,321                124,768           127,263        ,          129,806            132.404                  135.053                   137,754
Commercial income                                                                    2.00%                                                                                                        0,                     0                          0                          0                       0                        0                      0                         0                         0                      0               0                           0                    0                             0
Gross Potential Rent                                                                                                                            0              0              0      2,199,972;             2,182,771:'              2,226,427                   2,270,955                   2,316,375               2,562,702:           2,409,956:              2,458,355 :                 2907.318.                 2,557,465         2,608,614                 2,660,786          2,714,002               2,768,282                  2,823,648
Other Income from Operations (inel Laundry)                                          2.00%                                                                                                 73,741:               75,216                   76,720                     78,255                     79,820                  81,416                    83.044                   84.705                    86,399                88,127            89,890                    9/688             _53,521                  . 95,392                   57,300
 Other
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .          ..
 Other
 Other
Total Other Income                                                                                                                              0              0              0            73,741;               75,216:                  76,720:                    721,255 i                  79,820                  31,416                    83,044.                  84,705                    86,599               88,127.            89,890                   91,688              93,521                      95,392                 97,300
Rental Voro'--                                                    OIVI                 ,°-                                                                            :......             105,466              107,575                  109,726                    111.921                    114,159                  116,443                118,771                      121,147                 123,570               126,041            128,560                   131.133            133,756 .                106,431                   132,160
Parking Vacancy                            MIE3                                      200'                                                                    •...7', ....                  25,660                15,973                   16.293                     16.619                     16,951                  17,290                    17,636                    17,908                   18,348                18715             19,089                    19.471             19,861                      70,258                 20.663
Commercial Vacancy                         IIIIIIIIMEIIM                             •2 WA.,                                                                                                     .P:.                    o                          o                          0                       0                        e                      o                         o                         o                      o               o                           0                    o                             0                  0
Other         iiiiiiiiMMINIMi                                                        202%                                                                                                         0'                     0                          0                          0                       0                        0                      0                        0                          0                      0               0                           0                    0                             0                  0
  01h87       1111111111.11.1.1111M1111.                                             2.001,                                                                                                      0                       0                          o                          o                       0                        0             .        0                        0                          0                      0               0                           0                    0                             0                  0
  Total Rental Loss                                                                                                                             0              0              0           121,126 .            123,548                  120,019.                   128,540                    131,110                  133,733                136,407:                 139,135                     141,918.              144,756            147,651                   150,605            153,617                  156,689                   159,823
....
  Net Rental Intorno                                                                                                                            0              0              0      2,092,587:             2,134,439                2,177,128                   2,220,670                   2,265,084               2,310,386            2,356,593               2,403,725:                 2,451,800                  2,500,836         2,550,352                 2,601,869          2,653,90                2,706,985                  2,761,125
kronitmaitotaif,i.,!-!!i!,':!,,ii-,i,.0111,1t '                   Nrj.,.-::,;!.
Property Management Fee               I                       4.00361                2.00%                                                                                                 83,703                85,378                  8.7.4085..... .......„.......8.842.7,............     90,603 ...„....„...92.41.5._ .. _94,264                                     96:149           ...     98,072               100,033......      102,034                  104,075             106,156                  108.279                   110,445
Administrative E08e050.s.l1a9s Prop Mgmt Feel                                         3.0.7%                                                                                              257,180              264,836                 272,842                     282,028                    289,459                  298.142                307.087                  316,299                     325,798               335,562            345,629                  355,997             366.677                  377,6713                  389,008
Maintenance Expenses                                                                  3.007                                                                                                98,253              101,200                 104,236                     107,363                    110,584                  113,902                11/.319                  120,838                     124,454                178,197           132,043                  136,005             140,085                  144,287                   148,616
Utilities                                                                            3.00%                                                                                                127,197              131,013                 134,943                     138,992                    143,161                  147,456                151,880                  156,436                     161,129               165,963            170,942                  176,070             181,353                  185,793                   192,397
•Unique Operating Expenses                                                           3.00%                                                                                                       0                       0                          0                          0                       0                        0                      0                        0                          0                     0                0                           0                    0                                               0
Insurance                  M80/170/M0:1                        5309 i                3.00%                                                                                                 52.772                54,355                  55,986                      57.665                    59,395                   61,177                    63,013                   64,903                   66,850                68,855             70,921                   73,049 •            75,240                      77,497          .     .79,822.
Real Estate Taxes                                                                    3.00%                                                                                                176,064              181,346                 186,786                     192,390 •                  198,161                  204,106                210,230                  216,536                     223,033               229,723            236,615                  243.714             251.075                  250,556                   266.312
Reserves                  8esent0/WE                           5250                  0.00%        0.00%                                                                                    41.750.               41,750                  41,750                      41,750.                   41,750                   41,750                    41,750                   41,750                   41,750                41,750             41,750                   41,750              41,750                      41,750                 41,750
Effective Gross Expense                                      39.99% .......,.....                                                               0              0              0.          836,919              859,937                 883,629;                    908,015:                   933,114 •               958.949                 985,541,            1,012,912:                  1,041,085:                1,070,085'        1,099,935                 1,130,660          1,162,286               1,194,841                  1,228,351
Net Operating income                                                                                                                            0              0              0      1,255,668.             1,274,502               1,293,499                    1,312,656                   1,331,970               1,351,436            1,371,052               1,390,813                  1,410,714                  1,430,751         1,450,918                 1,471,210          1,491,620               1,312.144                  1,532,774
Temporary. Income                                                                                                                               C              0              0           118,329 .            118.329                 118,329                     118,329                    118;329                  118;929                118,329.                 118,329                     118,329               118.329            118,329                  218,329             118,329                  118,329                   118,329
Total income for Debt Servi                                                                                                                     00                            0      1,373,997.             1,392,831                1,411,87.8:                 1,430,985.                  1,450,293               1,469,765            1,489,381,              1,509,142                   1,529,043                 1,549,080         1,569,247                 1,589,538          1,609,949               1,630,473                  1,651,103
                                                                                                                           ,                                                                                                                                                                               .stmaiim'q,ii,y'                                                                                              ,s.-wf.:                                                      .,.--------5',",',7' ,,'7'7'.5,:,'                         ' ...I
First Mortgage                                                                                                                                                                       1.054,037.             8054,037                1,054,037:                   10.,037                     1054,037                1054,037.            1054,037'               1054,037'                   1.054,037                 1054.037          1,054,037             1,054.037              1,054,037              1,054.037                   1,054037
City of Coon Rapids - EDA Loan                                                                                                                                                                   0,                                                      '
                                                                                                                                                                                                                                                                                                           .                                                                         .                                                                                                                     ..... ..        .....
                                                                                                                                                                                                 0                                                                                                         '                                               .•                        :                                                                 .
                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                                                                                                           •                                                    :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ........ .       ..
                                                                                                                                                                                                 0.                           '                          .                         :                       .                                               •                         •.'                        •
                                                                                                                                                                                                                                                                                   ;                                                :                                                  .                        :
                                                                                                                                                                                                 0                                                       •                                                 !                                               :                           •                                              .
                                                                                                                                                                                                      .                                                  ..•
                                                                                                                                                                                                 0                                                                                                                                                         ..                        •                          .                     :                •                          '
                                                                                                                                                                                    .. ..94,585 :: • : •,..0..,58.5.
                                                                                                                                                                                                            ,                                          :•
Other         Pr Molragp   Deb, .50,ice                                                                                                                                                                              ..:.. ,..,14,..585 ... •. ..94.585... • • .....S4.585                                     ...      94%585 • • ..• .94.955' ......; ° 1.5Z-, . r.                             r. e,4.855.:...         s‘.:.‘;05 . ...    0.08', ,          ..     ,,..72e..... ,       • . •....                  ,
Other
Total Debt Service                                                                                                                              0              0              0      1,148,622              1,148,622               1,148,622                   1,148,622                    1,148,622               1,348,622            1,148,622               1,148,622                  1,148,622                  1,148,622         1,148,622             1,148,622              1.148,622              1,148,677                   1,146.622
Total Debt Service Coverage                                                                                                                  0.00           0.00       0 00                   1.20                   1,21                    123                         1.25                     126                      1.28                     130                      1.31                      1.33                  1.35              1.37                      1.38                 140                          1 42                 1.44
Cub Flow
              ..  .. .............                                                                                                 ...
                                                                                                                                                0              0          ..0       _ _220.375                 2,,4,,200,..,...        263,206                     282,363                    301,677                 321,144                 340,759             260,520_                         380,421               400,458            420,625                  440,917             461,328                 381051 .                  902,480
Funds from Debt Services Reserve                   Enter this amt in IDev Costs, ReseP0141            0J                                       0              0               0                  C                       0                         .-,                         0                       0                        0                     v                         3                          21                    0                C                           2                   0                              :,                0
Adjusted Cosh Flow                                                                                                                                            0.              0           225,375              244,200                 223,707                     282,363                    301,677                 321,144                 340,759                  360,520                     380,421               400,458            420,625                  440,917             461.323                 481.851                   502,481
Adjusted Debt Servi.ce Conrast        .... .... „...                                                                                         0,00       0.00           0.00                   1.20                  1.21                     1.23                        L25                      1.26                     1.28                     1.30                     1.33.                     1.33                  1.35              1.37                      138                  1.40                         1.42                1.44

Expenses to be paid from Available Cult:
                                                                                                                                                                                                                                                                                                                                                                                                                             . ..
Limited Partner Asset Management Fee                                                                                                                                                        5,000                 5.150                    5.305                      73464                     73628                    5,796                     5,970                    6,149                    6;334                 .6,524             6,720                    6,921               7,129                          7,343               7,563
Nlinnescita.Housing Compliance Monitoring Fee '                                                                                                                                             4,175                 43175                 . 4;175                 . .4.275                      •• 4,175                .. 4,175          . .        4,175          ..        4,175                    4,175               .. 4,175             4,175                    4,175               4,175                          4.175               4.175
General Partner 'Asset Management Fee                                                                                                                                                    -.10,020               10.921 ... •• 2:0,630                               .10,949              .:-.134278             ......:.11,610          ..s.,..11,964                      173323          . •      12,693                13,074             13,466                   13,870              14,296                      14,715                 15.156
Compliance Fee. Dorninium Management 5ervices.I.LC                                                                                                                        .          .. ....13,267         .:•••,....83514        .. ....Olt)                        .9019                      9,304                :.• : 9.583        .•:., . 9171                       10,167                 • 10472                 10,786             11109                    11443               11.786                      12,140                 12,504
Tar Returns and Audit - Partnership                                                                                                                                                         8250            •.::•.:::•8,498       ...: ••••• 8,752             ••:::::.: 90015         : . • •:.: 9,285                 .9364           .•:• : 9,851                   •   15.14.6                . •10,451..       .     10,764             11087                    11,420              11763                       12415                  12,479
Other Partnership Fxpenses                                                                                                                                                                 .7,100          ..,....73525           •:.......7,957                      8;195 .• •               ...0441                  ..8.695         .•:....,1,8,955 . ... ...9.224                              .9,502                 9,786             10,079                   10.382              10,693                      11,014                 11,344
Additional Capital ImProverrier                                                                                                                                                      .     90,514         ....,•::•:93,229         ,....96,626                      .9007              .•,•::10E874              .„ 164,931             ..:.,108;018            ••••••223,321                 .124,655                  .118,100            121,643                  125,293             129,051                 132,923                   136,911
Deterred Developer Fee                                                                                                                                                                   ...,93,650       ...,:•1063597           .,.:1213541                  ••••••136i625'            ....151697                  .066.704           ..:.:.:181;894           ''.0973024 . , . 2123536                           ,• 227,249              242,345                  257,414             223,727                   60,891
                                                                                                                                                                                                                                                                                                                                                                  .....•      ....,......., .


                                                                                            -                                                                                   .                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                  0,
Piet Cash Flow                                                                                                                                 0              0            0                     0                       0                         0                          0                        0                        0                     0                         0                         0                      0                                           0            48,718                 226,336                   ;02,339




Workbook                                                                                                                                                                                                               Cash Flow' Page 13 o028                                                                                                                                                                                                                       Ex.B._013                                                              7/36/2019
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                                                                                     DEVELOPMENT COSTS
                                                                       _
                                                                                                                                                                              Inter-
                                                                                                                        4%                   9%                 Historic      rned •
                                                                                                                              •
                                                                           Total Costs           Per Unit           Credit Basis         Credit Basis         Credits Basis ' Costs                    Comments
ACqV0111PN      óT.REFITANCEEX1STINDEBT.
Land                                                                            900,000                 5,389
Existing Structures                                                                   o                     o
Demolition                                                                            O                     0
Acquisition/Refinance Subtotal                                                  900,000                 5,389                      o                    o                     o
Special Assessments                                                                   o                     o
Other                 Acquisition - Legal                                        58,750                   352
Other                                                                                 0                     o
Holding Costs                                                                         o                     o                                                                         El
Holding Costs                                                                       . o                     o                                                                         3
Acquisition/Refinance Total                                                     958,750                 5,741                      o
                                                                                                                                       ..2).0
                                                                                                                                         .: o                                 0

New Construction
     Residential                                                           %19,016,343               113,870       ' .19,016,343
     Garages                          $ per stall:      $2,198.28              255,000                 1,527
     Accessory Structures                                                      192,697                 1,154                       o                                                           Laundry/Storage Lockers
     On Site Work                                                                                          0
     Off Site Work                                                                                         0
     Other             Builder's Risk                                           85,474                   512             •85,474
     Other             Performance Bonds and Building   Permit                 257,035                 1,539            '257,035
     New Construction Subtotal                                              19,806,549               118,602          19,358,852                        0                     o
Rehabilitation
     Residential                                                                                                    o
     Garages                           $ per stall          $0.00                                                   o
     Accessory Structures                                                                                           o
     On Site Work                                                                                                   o
     Off Site Work                                                                                                  o
     Other                                                                                                          o
     Other                                                                                                          o
     Rehabilitation Subtotal                                                                 o                      o                          o                    o                   o
New and Rehabilitation Subtotal                                             19,806,549                   118,602                  19,358,852                        0                   o
General Requirements                                    6.00%                1,188,393                      7,116,                     284,819
Contractor's Overhead                                   2.00%                   396,131                     2,372                      195,146
Contractor's Profit                                     6.00%                1,188,393                      7,116                      620,552
Construction Contract Amount                                                22,579,466                   135,206                  20,459,369                        o                   o
Construction Contingency                                0.00%                                o                      o                          o
Total Construction Costs                                                    22,579,466                   135,206                 20,459,369                         0                   0 _
                                                                     *I.VMEMMIROW";7 , '                                                 ' ,, • ' -      rr<At.,,, ,„Iii              2,,,,A..-Arr , -eg,kikgd,A*.wA'& 4;,, • .
Soil Abatement                                                                                                      o
Lead Abatement                                                                                                      o
Asbestos Abatement                                                                                                  0
Other                                                                                                               0
Abatement Contingency (Agency determined)                                                                           0
Abatement Total                                                                              o                      o                          o                    o                   o
 A            At FS           I&"Tian                   gga:FiER.1.1 ,,,41,"4'D:V3:i1,00A.,C0.42,g1,.,:MRIVAI,-A4W-44.
                                                                     %,-:,48A4,e,,lir',,,,-.FL:Ag,-0,41w.41'4„,,,,,,,,,,,s.:,..,,g,kt.:, te,,,,,,,,,,f.w., ,,,,,,,,,,, ,,,,,,,,, , --Am.., .s,,4 .-
                                                                                                                                                               ,044attifItgaMVadatrAgNittAIZA::,,,i;     , ,, - ...--, •,. - -,
Architect's Fee Total              2.9%                    645,697
      Architect's Fee - Design                                                 484,273                  2,900             .484,273                                                    D
      Architect's Fee - Supervision                                            161,424                    967              161,424                                                    I:3 .
Architect's Reimburseables                                                     . 23,288                   139             • '23,288                                                   El
Marketing                                                                       48,855                    293                     o                                                   El
Surveys                                                                          71,791                   430                71,791
Soil Borings                                                                      6,950                    42          •• • 6,950
Payment & Performance Bond Premium                                                                          0                     o                                                   0 •
Building Permit(s)                                                                                          o                     o                                                   .0
Sewer-Water Access Charge                                                    • .313,785                 1,879           . 313,785                                                     0
Other Local Fees         Redevelopment Fees - City of Coon Rapids              %500,000                 2,994              500,000
Appraisal Fee                                                                         .0                    o                     o                                                   I3
Energy Audit                                                                           o                    o                     o                                                    .0, .
Energy Consultant                                                                      o                    o                     o                                                   CI ..
Environmental Assessment                                                         10,547                    63                10,547                                               ,   El


Workbook                                                                      Development Costs - Page 14 of 26                                                      Ex.B4O14                                   9/16/2019
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                                                                                   DEVELOPMENT COSTS
                                                                                                                                                             Inter- :
                                                                                                                             9%              • Historic      med.
                                                                                                      s:Credit a.ejs:.   Credit Elasis       Credits Basis   Costs        Comments
Cost Certification/Audit                                                         9,000           54                  0
Market Study                                                                    14,400           86           14,400                                          2
Tax Credit Fees (% of credits)                                                  67,667          405                  0                                        El
Compliance Fees (1st year)                                                                        0                  0                                        El
Furnishings and Equipment                                                     241,413         1,446         241,413                                           Li
Legal Fees                                                                    201,221         1,205         144,873                                           2
Relocation Costs                                                                    0             0                 0                                         El
Other Fees              Park Dedication                                       225,760         1,352         225,7.60                                          El
Other Fees                                                                                        0                                                           El
Other Fees                                                                                        0                                                           El
Other Fees                                                                                        0                                                           El
Professional Fees Total                                                      2,380,374       14,254       2,198,504                      0               0
                                                                                                                                                                        130.35WM
Developer Fee                                                                2,879,882       17,245       2;879,882
Processing Agent                                                                                  0                                                           El
Owner's Construction Representative                                                               0                                                           El
Other Consultant Fees                                                                             0                                                           El
Other                                                                                             0                                                           El
Developer Fee Total                                       10.1%              2,879,882       17,245       2,879,882                      0
                                                          ,A4715;44,_
Organization Fees                                                               63,750          382                 0
Bridge Loan                                                                          0            0                 0                                         El
Tax Opinion                                                                          0            0                 0                                         El
Due Diligence Fees                                                             '25,000          150                 0
Other Fees                                                                                        0                                                           El
Syndicator/Investor Fees Total                                                  88,750          531              ytwc;
                                                                                                                   0                     0
MANOIMP0.§SAMMVPMESIWg' fig§r                                                                                                                   ,....4015-X,VAtZIO-AMria.jiWWJAMI`5,,
Construction Period Costs
Hazard and Liability Insurance                                                                    0               0                                           0.
Construction Interest at:                    2.67%                  3.   •    965,788         5,783         746,436                                           El
Builder's Risk Insurance                                                                          0                                                           El
Taxes During Construction                                                       36,584          219           33,469                                          El
MN Hsg Bridge Loan Origination Fee                                                                0                                                           El
Construction Loan Origination Fee                                            ...198,715       1,190         136,675                                           El
MN Hsg Inspection Fee                                                                 0           0                                                           El
Other Inspection Fee                                                                              0                                                           El
Other                   Construction lender - 3rd party costs & legal                                               0                                         El
Permanent Financing Costs
MN Hsg 1st Mortgage Application Fee                                                               0                                                           El
MN Hsg 1st Mortgage Origination Fee                                                                                                                           El
HUD/FHA MIP                                                                                       0                                                           El
HUD/FHA Exam Fee                                                                                                                                              El
HUD/FHA Inspection Fee                                                                            0
Other Permanent Origination Fee                                               179,376         1,074           12,161                                         El
Mortgage Insurance Premium                                0.25%                                   0                                                          El
Bond Issuance Fee                                                             123,309           738            3,851                                         El
Bond Counsel                                                                   56,500           338            3,507                                         El
Underwriter Counsel                                                                               0                                                          El
Trustee Fee                                                                      2,500           15              155                                         El
Rating Agency                                                                                     0                                                          El
Other Bond Fees                                                                                   0                                                          El
Title and Recording                                                          63,157             378           63,157                                         El
Other                                                                             0               0                                                          El
Other                                                                             0               0                                                          El
Other                                                                             0               0                                                          2
Financing Costs Total                                                     1,625,929           9,736         999,411                      0               0
TOTAL MORTGAGEABLE COSTS                                                 30,513,151         182,713      26,537,166                      0               0




Workbook                                                                     Development Costs - Page 15 of 26                                    Ex.B._01 5                       9/16/2019
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                                                                                  DEVELOPMENT COSTS
                                                                                                                                              —                   Inter-
                                                                                                             4%                           .
                                                                      .•       -      -.   .                                     9%                 Historic      /Tied •
                                                                           Total Costs -   Per Unit     'Credit Basis        Credit Basis         Credits Basis   Costs     -Comments
                                                                                                                                                                               . . ,.   ..
Operating Reserve                                                             499,025           2,988                   ()
Other                                  Property Tax and Insurance E           226,601           1,357                   0
Other                                  Lease Up Expenses                      118,627             710                   0
Other                                  TIE Reserve                             48,000             287                   0
                                                                                                    0
Non -Mortgageable Costs Total                                                 892,253           5,343                   0                 0 _                 0
7.1**3#8,g0004:tg.
Total Development Costs                                                     31,405,404        188,056
Total Basis for Tax Credits                                                                               26,537,166                      0                   0
Total Intermediary Costs                  % of total       18.60%            5,840,996
RRDL Total Soft Cost - Owner's Match
RRDL Eligible Construction Costs




Workbook                                                                     Development Costs - Page 16 of 26                                         Ex.B._01 6                  9/16/2019
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                                                                                                                              SOURCES

Total Development Cost from Development Costs tab:                                                     $31,405,404
-              •
CONSTRUCTION SOURCES
                                              •                                                                                                             •
                 roe'of;Sot#ce•:.; ---      .Term  " : Rate                                        :" Amount                           :Per Unit          CornnOtted             :                                  Notes .
U.S. Bank, N.A.                               36      2.67%                                                24,816,000                     148,599              0
Syndication Proceeds                                                                                             1,356,548                    8,123            Li

City of Coon Rapids - EDA Loan                                         18.25      1.00%                           300,000                     1,796            izi

SLP Equity                                                                                                                210                       1          Ld
                                                                                                                                                0              U
Total Construction Financing                                                                               26,472,758                     158,520

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                                    ,          4'4''
                            .r.0                                                                                  ... '92          ,.. .1. 41 ,
First Mortgage                                                          15        4.33%                     18,980,000                    113,653              -E3      ..           • 0
General Partner Cash                                                                                                                                0
Syndication Proceeds                                                                                             8,496,403                 50,877              0
State Historic Proceeds                                                                                                                             0          Li                        U
Federal Historic Proceeds                                                                                                                           0          U                         0
Deferred Loan Request                                                                                                                               0          O.                        U
City of Coon Rapids - EDA Loan                                         18.25      1.00%                           300,000                     1,796            LI                        L.,1
Series 4 TIF Mortgage                                                   15        4.33%                          1,443,000                    8,641             0                      .0
Deferred Developer Fee                                                                                           2,185,791                 13,089             - El                   . Li
GP/SLP Equity                                                                                                             210                       1          El                        0                                                                                    -       -
                                                                                                                                                    0          0                         0
                                                                                                                                                    0          0                         0
                                                                                                                                                    0          0                     •0                                                                                 •
                                                                                                                                                    00                                0
                                                                                                                                                    0 U                                  U
                                                                                                                                                    a          0                         0
                                                                                                                                                    0          0                         LI
                                                                                                                                                    0          U                         ii
Deferred Developer Fee                                                                                                                              0
Total Permanent Financing                                                                                  31,405,404                     188,056
FUNDING GAP REMAINING                                                                                               0

                                                                                  „sr,*


                                                                 _44
                                                                                                                                                                                                                                   0.
                                                                                                                                                                                                                                   0


Total Proposed Rental Assistance or Operating Subsidy Funding                                                                                                  0

            QNALCOSTS NOT INCLUDED IN TOTAL s'iFf2lt 7,143,Vek     ,                                                                                                                                                                                                                13,
              .7 .
     n      Vn'VV.iV*Vfiririe'Odi.ai'-*WirilgiS4A5VSitggSlitgVggt:Mt,
                                                                                                                   •
Working Capital Escrow
Rent Up Escrow                                                                                                                                     Rev art to Standard

Insurance Escrow
Tax Escrow
Other
Other


                                                                      ..... .,.....,.....-47':. ; A-"... •,.or                                                                           , ,Ask: ..........7,«                                          •vg. • . •,„,,,,, ,,, •;,,,,,, ,,
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Workbook                                                                                                           Sources - Page 17 of 26                                                                    Ex.B._01 7                                          9/16/2019
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                                                                   HOUSING TAX CREDIT INFORMATION


Credit Type (Check all that apply)
               Newly constructed and not federally subsidized
               Newly constructed and federally subsidized
               Rehabiltiation expenditures not federally subsidized
    0          Rehabiltiation expenditures federally subsidized
               Existing Building
              Allocation subject to non profit set aside under sec. 42(h)(5)

Minimum Set-Aside (At this time the Owner "irrevocably" elects one of the minimum set-aside requirements stated by Section 42 of the Internal Revenue Code)
              20% of the units serving households at 50% of the area median
              40% of the units serving households at 60% of the area median

                                                                                                                                                              4,--glP,0"41;441.1';
                                                                                  fewr                               ,              4
                                                                                                                                 14.0
.0„:01*. f4140.gg.v
Parking / Garages                                                                    46,230              75
Storage Lockers                                                                          0               25
Club House                                                                               0
Swimming Pool                                                                            0
Community Service Facility                                                              0
Office                                                                                 339
Other         I Lobby, Salon, Exam, Theater, Fitness, Card, Mail, Clubrc             30,274


                  e     LJ                            •                                          .f,t4 -51'3
                                                                                                      '
Will any of the project financing be treated as or considered to be a Federal Grant or Tax-Exempt obligation
    (Code Sec. 103)?                         (1:: Yes   C No
If yes, provide the following information:
Source of Funds:           City of Coon Rapids - Housing Revenue Bonds
Amount:                      24,816,000
                             Select one of the following:                                                            Select one of the following:
                                             N/A                                                                         •C          N/A
                                   E:        4% credit                                                                   •C     4% credit
                                   C         Subtract from basis                                                           C•Subtract from basis



Are tax exempt bonds to be issued?                                    '_Yes         No
If yes, complete the following:
Total Aggregate Basis                                          27,437,166
Total Tax Exempt Bonds                                         24,816,000
Name of Bond Issuer                                            City of Coon Rapids
Date of allocation of bond volume cap                          8/31/2015



Total Rehabilitation Expense                                                                                                                                                   0
Lowest average rehabilitation attributable qualified basis per low income unit/building
Average rehabilitation expense per low income unit per project                                                                                                                 0
Adjusted basis                                                     x 20% =                                                                                                     0




Workbook                                                                       FITC Info - Page 18 of 26                                              Ex.B._01 8    9/16/2019
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                                                           HOUSENG TAX CREDIT INFORMATION

BU WING GRID                                                                lurnn   3    --tOlugrtin.4   .-Column 5              Column -6     COluenn.:7.   •61urItt. 8 •

                                                                                                                     Number of                          •Average
                                                                                                                   Years Between                      rehabilitation
                                                                                                                   . Placed in                       : aftributabie.
                                                                                      Date of          Actual /    Service .(later                    qualified basis
                                                          Date of.. •   Pate of       Original   : :Proposed Date: of column 2;3. Is 10 year rule ; per-lowmcorne
                                                                                                                                         . _ , _.
                                                        .Substantiat Acquisiton by Certificate Of :                   or 4)        . vielatedlouthis   unit for this
                                                                                                     of:Rehab:byApplrcant   andRehab
Address of Bliildingyrif ciiipodi69$separately)        Rehab by Seller -1Seller . -• Occupancy:                                         :project?        hiridling
10940 Crooked Lake Blvd. NW




Total Buildings                                   1


If less than 10 years since last placed in service, is the projecteligible for a waiver under 42(d)(6)(8) or exemption under 42(d(6)(A) or 42(d)(2)(D)?
          • C Waiver C Exempt              C No           N/A
If eligible for waiver under 42(d)(6)(8),. what is the actual or proposed waiver date?                      ' •••" ••••"   •••




Workbook                                                             HTC Info - Page 19 of 26                                                Ex.B. 019       9/16/2019
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                                                                      DETERMINATION OF CREDIT

iPR  JE APPLICABLE RA                                                                                                      ,FAIMotout                    tlq
tilieiof Re:sitiOrttialltal.L.Inifs                                                                                                .>.
HTC Low Income Units                                                                                          167                      157,960
Market Rate Units / Non-HTC Units                                                                              0                          0
TOTAL # HTC LOW INCOME + MARKET RATE                                                                          167                      157,960
Unit and Area Fractions                                                                                     100.00%                    100.00%
APPLICABLE FRACTION (Lesser of Unit or Area Fraction)                                                                   100.00%
Employee / Common Space Units                                                                                  0                          0
Total # and Sq Ft of Units                                                                                    167                      157,960

                                                                 ,
                                         4-7.4gt.t.

Qualified Rehabilitation Expenditures                                                                                     0                          0
Applicable Percentage                                                                                         20%                        20%
Historic Tax Credits                                                                                                      0                          0
Investor Ownership Percentage
Investor Tax Credits                                                                                                   0.00                      0.00
Equity Factor
Historic Credit Syndication Proceeds                                                                                      0                          0




TOTAL BASIS                                                                                                   26,537,166                             0         26,537,166
Less federal grant(s) used to finance qualifying development costs                                                                                                     0
Less amount of nonqualifying nonrecourse financing                                                                                                                     0
Less nonqualifying excess portion of higher quality units                                                                                                              0
Less Historic Tax Credit (Residential Portion Only)                                                                                                                    0
Less Rebates                                                                                                                                                            0
                                                  Portion noteligforHigh CostAdjs
TOTAL ELIGIBLE BASIS                                    4%                 9%                                 26,537,166                            0          26,537,166
High Cost Adjustment                                                                                                    0                           0                   0
Total Eligible Basis Adjusted for the High Cost                                                                26,537,166                           0          26,537,166
Applicable Fraction                                                                                                1.0000                      1.0000

TOTAL QUALIFIED BASIS                                                                                         26,537,166                             0         26,537,166
Applicable Percentage                                                                                                 3.17%
TAX CREDIT POTENTIAL FOR PROJECT                                                                                    841,228                          0
ANNUAL TAX CREDITS FROM BASIS CALCULATION                                                                               841,228

                                                      n5C4.500207art
                                             „74C-41MOWS-VA.,
Applicable Sources will populate from the Capital Sources of Funding Grid
                                                                                         115W                 WORNILR1,,
                                                                                                                     1,44,         IN4,1,041,01.;,
ir 4,06,„                    fOjat,               $000Aa4t                      .0,,,                       10:,               .
First Mortgage                                                                                                 18,980,000




City of Coon Rapids - EDA Loan                                                                                       300,000
Series B TIE Mortgage                                                                                              1,443,000
Deferred Developer Fee                                                                                             2,185,791




Total Sources of Funds from above                                                                              22,908,791
Total Development Costs                                                                                        31,405,404
Funding Gap                                                                                                     8,496,613



Workbook                                                          Determination of Credit - Page 20 of 26                                Ex.B._02 0             9/16/2019
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                                                                        DETERMINATION OF CREDIT

Equity Factor/Syndication Rate                                                                                     1.0100
10 Year Credit Gap                                                                                              8,412,488
Annual Credit Gap                                                                                                 841,249
Annual Basis Credit                                                                                               841,228

Maximum Tax Credit Allowed
MN Housing Approved Maximum Tax Credit
Credit Amount Previously Allocated and/or Reserved                                                                                   Requesting waiver
Maximum Credit Requested at this time                                                                                                of limit per
Total Calculated Credit Allocation                                                                                                   development
Manual Credits Requested at this time

Ten Year Gross Tax Credits                                                                                      8,412,280
Equity Factor                                                                                                      1.0100
Investor Ownership Percentage
Gross Syndication Proceeds                                                                                      8,496,403
Manual Syndication Proceeds                                                                                    08,496,403

                                                                                                                        Ars'
If individual, attach a description explaining how the tax benefits will be used.
              Type of Offering: F.': Syndicated C. Individual/Pr ivate Placement




      1,356,548      15.97%        z8/1/201S         Closing   •                                                       .0
      3,798,333      44.71%         V1/2017          Construction Completion
      3,129,033      36.83%        1.0/1/2017        8609 Completion                           499,025            481,602
 '      212,489       2.50%                          Stabilization                                               -212,489




      8,496,403      100.00%                                                                   499,025            694,091

1-listoric Tax Credit"
                                   Anticipated                                        Required Reserve     Developer Fee
     :Amount
         . .             ceeds   -p#Ae.9tp.!y719::         estri       &stones           Amounts             Amount 40,




               0                                                                                     0                 0




Workbook                                                             Determination of Credit - Page 21 of 26                   Ex.B._021     9/16/2019
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                                                                                            DEVELOPMENT TEAM


           Project Sponsor /                                                                                                                                  Guarantors- Please list each below
           Parent Company Dominium Development & Acquisition, LLC                                                        .                                    Armand E. Brachman
                    Address 2905 Northwest Blvd., Suite 150                                                                                                   Mark S. Moorhouse
                         City                                                                 rPlymouth MN
                                                                                           :j—ST;;i"          '".            Zip Code 55441                   Paul R. Sween
             Federal Tax ID #                                                                                                                                 Dominium Holdings I, LIG
                                                                                                                                                              Dominitiin Holdings li, LLC
        Executive Director/
             CEO/President      Armand Brachman, Mark Moorhouse, Paul Sween
                     Phone                                          (763) 354-5500                Fax                                       (763) 249-8694
                      Email     mmoorhouse@dominiuminc.com
    Contact Person and Title    Ryan Lunderby     1 Vice President
                     Phone                                        ' (763) 354-5634                Fax,                                      (763) 249-8694
                      Email     rlunderby@dominiuminc.com

                  Developer Coon Rapids Leased Housing Development IV, LLC                                                Architect BKV Group
              Contact Person Ryan ,Lunderby                                                                          Contact Person Mike Krych
                    Address 2905 Northwest Eilyd., Suite 150                                                               Address 222 North Second Street
                                                                                                  .. I
                         City Pohlitz                                                             —I                            City Minneapolis
                       State     MS                     Zip Code 55441                                                          State MNI           zi!          Zip Code 55401
                      Phone (763) 354-5634 .                 Cell Phone                                                        Phone (612).373-9134                   Cell Phone
                       Email rlunderby@dominiuminc.com                                                                          Email mkrych@bkvgroup.com
                             Is Project Sponsor a Related Entity?                    Yes                                              Is Project Sponsor a Related Entity?



           Owner/Mortgagor Coon Rapids Leased.Hoosing Associates IV, LLLP ..                                 Management Company Dominium Management Services, LLC
             Contact Person Ryan Lunderby                                                                          Contact Person Jack Sipes
                   Address 2905 NorthwestBlvd., Suite 150                                                                 Address 2905 Northwest Blvd., Suite 150
                        City Plymouth         •-                                                  ....I1                      City Plymouth
                       State MN                 !        Zip Code 55441                                                         State MN                          Zip Code 55441
                      Phone (763) 354-5634 .                  Cell Phone                                                       Phone (763) 354-5500                    Cell Phone
                       Email rlunderby@dominiuminc.com                                                                          Email jsipes@dominiuminc.com
                                                                                 •
                              Is Project Sponsor a Related Entity?                   Yes                                               Is Project Sponsor a Related Entity?                 Yes



           General Partner 1 Coon Rapids Leased Housing Associates IV, LLC                                          Service Provider Not Applicable
             Contact Person Ryan Lunderby                                                                            Contact Person
                     Address 2905 Northwest Blvd., Suite 150                                                                 Address
                                                                                                       i1
                         City Plymouth                                       •                                                   City
                       State MN                         Zip Code 55441                                                          State                                 Zip Code
                      Phone (763) 354-5634        •Cell Phone
                       Email rlunderby@dominiuminc.com
                                                                                                                               Phone
                                                                                                                                Email
                                                                                                                                                                 J         Cell Phone

                             Is Project Sponsor a Related Entity?                    Yes                                                    Is Project Sponsor a Related Entity?
                             % of ownership                                          0.0100%

           General Partner 2                                                                                  Tax Credit Syndicator RBC Capital Markets
             Contact Person                                                                                         Contact Person Craig Wagner
                     Address                                                                                                 Address 2101 Rexford Road
                         City                                                                                                   City Charlotte
                       State                               Zip Code                                                             State NC            „L'j         Zip Code 28211
                      Phone                                     Cell Phone                                                     Phone (980) 233-6459        •          Cell Phone
                       Email                                                                                                    Email Craig.Wagner@rbccm.corn
                                Is Project Sponsor a Related Entity?                                                                  Is Project Sponsor a Related Entity?
                                % of ownership




Workbook                                                                              Development Team - Page 22 of 26                                                Ex.B._022                    9/16/2019
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                                                                               DEVELOPMENT TEAM


           General Partner 3                                                                         General Contractor Eagle Building Company, LLC
             Contact Person                                                                             Contact Person Chad Weis
                    Address
                                                            —                 .......                          Address 6636 Cedar Ave S. Suite 140
                        City                  ......,                                                              City Minneapolis
                                                                                                                            -,
                       State                 ..:-.J    Zip Code                                                   State MN            A            Zip Code 55124
                      Phone                          ICell Phone                                                 Phone 612-378-1115           1         Cell Phone'
                       Email                                                                                      Email chadweis@eaglebuildinglic.com
                               Is Project Sponsor a Related Entity?                                                     Is Project Sponsor a Related Entity?           No
                               % of ownership

           Processing Agent                                                                                   Attorney Winthrop & Weinstine
             Contact Person                                                                              Contact Person John Stern
                    Address                                                                                     Address 225 South Sixth Street, Suite 3500
                        City                                                                                        City Minneapolis : • .                                     •.

                       State                             Zip Code                                                  State   MN '':     ..z1          Zip Code 55402
                      Phone                                   Cell Phone'                                         Phone (612).604-6588                   Cell Phone'
                       Email                                                                                       Email jstern@winthrOp..com ••
                               Is Project Sponsor a Related Entity?     I                                                Is Project Sponsor a Related Entity?




Workbook                                                                    Development Team - Page 23 of 26                                       E x . B . _0 2 3         9n6/2019
             CASE 0:21-cv-00649-MJD-TNL Doc. 1-1 Filed 03/05/21 Page 127 of 129



                                                             IDENTITY OF INTEREST
The purpose of this tab is to show if any individual or entity for the Project is Controlled By, In Control Of, Affiliated With, a Related Party to, or has an
Identity of Interest with any of the other individuals or entities for the Project. The Project Sponsor/Parent Company column will be pre-populated
with checkmarks from the Development Team tab if the answer to the question 'Is Project Sponsor a Related Entity' is 'Yes'. Corrections to this
column must be made on the Development Team tab. Indicate all other applicable Identities of Interest on this tab by checking the applicable boxes.
Include a detailed description of any of the relationships having an Identity of Interest.




Developer
Owner/Mortgagor                                                     Company
                                                                    Sponsor/Parent
                                                                    Project
General Partner 1
General Partner 2
General Partner 3
Architect
Management Company
Service Provider
Tax Credit Syndicator
Processing Agent
                                                                                                     Company
                                                                                                     anagement
General Contractor
Attorney                                                                                                 Provider
                                                                                                         Service
Other                                                                                                         Syndicator
                                                                                                              Credit
                                                                                                              Tax
                                                                                                    Agent
                                                                                                     rocessing
Explanation of identified Identities of Interest:
                                                                                                         Contractor
                                                                                                         General
The two owners of Dominium Management Services, LLC are also members of the General Partner and Developer entities.




Workbook                                                    Identity of Interest - Page 24 of 26                              Ex. B._024           9/16/2019
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                                                                                                         BUILDINGS



    Complete the following information for all buildings in the Project.           Enter Primary Address on Project Descri tion Tab.
        Buildingi                                    V *" '''''     ,                                -                                   ,     •,•   ,, ",si 4%..'                     .,   . ...
                            ,        ,                                        ."           .4.-,       , - , ,,. , - -', 4 A ,4 '»: , '"'          -                                   Year
                                                                                                                                                              4 ' 4,,. tiolOot.:- .. -.;-':    ;.::-..- Construclion
                                                        .- ..-..                            ,.....-.. ,-,',.... '       ,, _sv•
                                                                                                                             0,,      -, ; •,..:
                                                                                                                                             ,- -..
       ,Niliit
          ._                       iiiireS
                                        ,      , ,           '•           .         •                             ,., , Off:     ,'                s,LoitUce,           :Pnifi::.       Built ,...      .... Type .-   Occupied?.
    Primary      10940 Crooked Lake Blvd. NW                  Coon Rapids                 55433             Anoka                    #VALUE!         #VALUE!                167              2016 New Construction     Yes
               2
               3

               5                                                                        -
               6
                                                          '                                                                                                             ...
               7
               8
               9
              10
              11
              12                                                                                                                                                                                                       -
              13
              14
              15
              16
              17
              18




Workbook                                                                                        Buildings - Page 25 of 26                                                                    Ex.B._025                 9/16/2019
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                                                                                                                         PRESERVATION

       NOTE: This lab must be completed ONLY if you ale requesting AFP resources for Imminent or HO Risk Preservation. All              fields represent noershokedfrem completed
       fields on other tabs. All Items highlighted in light blue require completion by the applicant. Additional documentation and narrative answers, as required per the Application
       Checklist, must adequately support aruwers below.

           fl•
Development Name            R er North                                                                                                                 Dee Number                                                       at,II.;.;:umpniarmum
Development City            Coon Rapids                                                                                                                Census Tract Number              27003050605                  General Occupancy          0
Developer                   Coors Rapids Lv ed tic us ,ng Develoo ,ent iV          C                                                                                                                                 Single
Total Units                 167                                                                                                                        Jobs Growth Area                                              Family
First Lease-Up Year                                                                                                                                    HA Growth Area                                                Elderly                    167
                                                                                                                                                       Rent Burdened Area                                            LTH
                                                                                                                                                                                                                     Disabled
                                                                                                                                                                                                                     Supportive Housing




                                                                                                                                                           Imminent Risk?                      Stabilization Plan?                 Dulotln Su. II ?
                                                            0%                                                                                             High Risk?                           of Affrdble Units
                                                            0%                                                                                               HTC Units               167       % of Total Units           0%      1115120111111101
                                                            0%                                                                                             % of Total Units         100%
                                                    0
                          "'ttnettaltW,;:,                         Etsellest Eirgible
       Opt-Out                                                                                                 Begin Date
       Pre.Payment                                                                                             Expiration Date
       Mortgage Maturity                                                                                       Most Recent Renewal Date
       Qualified Contract Eligibility (SITC Only)                                                              Renewal Type



ageWrall                    a 04,,                                                                           411*.Mii
LMIR First Mortgage                                                                     TDC                                                                                                        Acquisition Price
Deferred Loans                                                                          Total Rehab                                                                                                Outstanding Debt                                        $O
tiTC                                                          $641,228                  Total of "Immediate Physical                                                                               Estimated Proceeds to Seiler                            $0
       Agency Allocation                                                                Needs" as defined In                                                                                       As-is Appraisal
       Suballocator                                                                     Narratives                                                                                                 Income-Based Value                              317.938,116
                                                                                        Property Cash and Reserves                                                                                              7.0%ICap Rate
Rental Assistance                                                   SO                  Available as defined in
Operating Subsidy                                                   Sc)                 Narratives
TOTAL FUND REQUEST                                            $PA1.128

                                                                       • -                                             k4'aa.:41""          „AfilaivA012                                 ISairfa 1114,4
                                                                                                                                                                                        Avg Contract Rent Char ed
                                                                                                                                                                                        Less Avg Tenant Portion
                                                                                                                                                                                        Equals Avg Subsidy
                                                                                                                                                                                        Times B of Subsidized Units
                                                                                                                                                                                        Times Months
                                                                                                                                                                                        Equals Annual As Subs(                                $o
19:13111111111111311MMIEIMEIEWINIM11111 IMEEE:121IIIIINEJmnaaeitswei                                                                                                                    Applicable Federal Rate (AFR)
11111E13111111011IIIIIIMEEM             MOM IMIIIIIIIIMIEBEI 111111211LTIMINIMI                                                                                                         Times Years Presenred                                 30
1213111111111ED 11123•111113011111111MI =CM IIIIIIIIIIMEIGINIEZMPIIIIIMIEMI                                                                                                             Eq Value of Subsidy Preserved                         SO
01111M=IME=M1261111•1111521                 IIIIIIIIIIIIII1 IIIMEMIIIMEINIMILIMILIMI                                                                                                    Present Value of Subsidy Pmts                         $0
                                                        o                                                                                                                       1
                                                        o                                                                                   111111111                                          .      titd.ektAX
                                                        o
                 I                                      o RIM                                                                                          • '                  S           Rent Silfrrertial                                    $1,016
                                                                                                                                            NM AMA                 EMU                  Tirnes a of Assisted Units                              0

                                                                                                                                                       •  '• Pr•
                                                                                                                                                              •• •
                                                                                                                                                                                        Times Months/ Year
                                                                                                                                                                                        Equals Estimated Add'i
                                                                                                                                                                                        Annual Revenue Generated
                                                                                                                                                                                                                                               12

                                                                                                                                                                                                                                              so
                                                                                                                                                                 •                      by Market Conversion

Mill1111111                                                                                                                                               4
                                                                                                                                                       anima
TOTALS            127                       $1,016                $O         .$1,016          2,035.572
                                             Avg                 Avg           Avg




Workbook                                                                                                                                                                     Preservation • Page 26 of 26                                                        Ex. B.026   9/!6/7019
